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                  EXHIBIT N
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  1                 UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF CONNECTICUT
  2
                                         :
  3      VERONICA-MAY CLARKE             :
                                         :
  4                   Plaintiff,         :
                                         :   CASE NO.
  5      VS.                             :
                                         :   3:19-cv-575-VLB
  6      ANGEL QUIROS, DR. GERALD        :
         VALETTA, RICHARD BUSH, and      :
  7      BARBARA KIMBLE-GOODMAN          :
                                         :
  8                   Defendants

  9

 10
                REMOTE DEPOSITION OF: STEPHEN B. LEVINE, M.D.
 11

 12                               March 9, 2022

 13

 14                            DEPONENT LOCATED AT:

 15                       6415 Gates Mills Boulevard
                        Mayfield Heights, Ohio 44124
 16

 17

 18

 19

 20                Reporter:    Victoria L. Germani, CSR, RPR

 21

 22

 23                         Cassian Reporting, LLC
                                 21 Oak Street
 24                      Hartford, Connecticut 06106
                                 860-595-7462
 25


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  1       ALL PARTIES APPEARED REMOTELY:

  2
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  3
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                DAN BARRETT, ESQ.
  7

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 11              KELSEY POWDERLY, ESQ.
                 MATTHEW B DANZER, ESQ.
 12

 13        REPRESENTING THE DEFENDANTS ANGEL QUIROS, DR. GERALD
           VALETTA, RICHARD BUSH, and BARBARA KIMBLE-GOODMAN:
 14
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 17        BY: JAMES BELFORTI, ESQ.
                JANELLE MEDEIROS, ESQ.
 18

 19
           ALSO PRESENT:
 20
                Ms. Grace Sinnott, Paralegal
 21             Ms. Linda Hawes, Paralegal

 22

 23

 24

 25


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  1                               STIPULATIONS

  2              It is stipulated by counsel for the parties that

  3       all objections are reserved until the time of trial,

  4       except those objections as are directed to the form of

  5       the question.

  6              It is stipulated and agreed between counsel for

  7       the parties that the proof of the authority of the

  8       Notary Public before whom this deposition is taken is

  9       waived.

 10              It is further stipulated that any defects in the

 11       Notice are waived.

 12              It is further stipulated that the reading and

 13       signing of the deposition transcript before a Notary

 14       Public is not waived.

 15                                    ---

 16

 17

 18

 19

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 21

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 23

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 25



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  2    2

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  2    5


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  1                (The deposition commenced at 9:34 a.m.)

  2                                       ---

  3                THE REPORTER:   Usual stipulations?

  4                MS. BILDNER:    Yes, the usual stipulations

  5          are fine with us, assuming we have the same

  6          understanding, Jamie?

  7                MR. BELFORTI:   Yes, same understanding from

  8          us.

  9                MS. BILDNER:    Okay, same understanding as in

 10          the Burns' deposition, meaning that's fine with

 11          us.

 12                MR. BELFORTI:   Yes.

 13                THE REPORTER:   All right.   I will do a short

 14          reading and then administer the oath.

 15                All counsel participating in this deposition

 16          proceeding acknowledge that I am not present in

 17          the deposition room with the witness and that I

 18          will be reporting this deposition remotely.

 19          They further acknowledge that in lieu of an

 20          in-person administration of the oath, it will be

 21          administered remotely.

 22                The parties also agree to have the

 23          stenographer administer the oath understanding

 24          that she is a Notary in the State of Connecticut

 25          and not the State of Ohio.




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  1              The parties and all counsel consent to this

  2          arrangement and waive any objections to this

  3          method of reporting.

  4              Counsel, please state your name, whom you

  5          represent, as well as your agreement to this

  6          method of reporting for the record.

  7              MS. BILDNER:    Good morning, I'm Elana

  8          Bildner, counsel for the Plaintiff.         I'm from

  9          the ACLU of Connecticut.

 10              I'm accompanied on this Zoom deposition by

 11          my colleague Dan Barrett from the ACLU of

 12          Connecticut, my colleague Grace Sinnott from the

 13          ACLU of Connecticut, and our colleague from Finn

 14          Dixon and Herling, Dan Noble.

 15              THE REPORTER:   And do you agree?

 16              MS. BILDNER:    Yes, we agree with this method

 17          of taking the deposition.      Thank you.

 18              MR. BELFORTI:   Good morning, James Belforti

 19          for the Attorney General's office for the

 20          Defendants accompanied by Terrence O'Neill, also

 21          Assistant Attorney General for the Defendants.

 22              I believe we will be joined later by

 23          Assistant Attorney General Janelle Medeiros.

 24              And I agree.

 25                                   ---




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  1                STEPHEN B. LEVINE, M.D., having been first

  2          duly sworn remotely by Victoria L. Germani, CSR,

  3          RPR, and Notary Public within the State of

  4          Connecticut, testified upon his oath as follows:

  5       EXAMINATION BY MS. BILDNER:

  6          Q.    Good morning again, Dr. Levine.   How are you

  7       doing?

  8          A.    I'm fine, thank you.   Good morning.

  9          Q.    Good morning.   I introduced myself a moment ago,

 10       but I'll do it again for the sake of the record.      My

 11       name is Elana Bildner.     I represent the Plaintiff in

 12       this case, Veronica-May Clarke.     I work at the ACLU of

 13       Connecticut.

 14                And I have some colleagues on the phone as

 15       well -- or on the Zoom as well.

 16                So, Doctor, I know you've been deposed before; is

 17       that correct?

 18          A.    Yes.

 19          Q.    About how many times have you been deposed

 20       before?

 21          A.    I'll just guess six.

 22          Q.    Given that you've been deposed six times, I'm

 23       sure you've heard a recital of ground rules for

 24       depositions previously; right?

 25          A.    Yes.




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  1          Q.   Okay.    So maybe I'll turn the tables on you in

  2       that case and we can discuss some ground rules together.

  3               First of all, you mentioned that you have some

  4       trouble hearing; right?

  5          A.   I have hearing aids in.     And, yes.

  6          Q.   Okay.    So what will you do if you don't hear my

  7       question?

  8          A.   Oh, I will hear your question.     I may not be able

  9       to discern each word that you said.      And I will

 10       certainly ask you to repeat.

 11          Q.   Excellent.     So if there's any issue with your

 12       hearing or discerning the words in my question, you'll

 13       ask me to repeat it and I will.     That's fine.

 14               What about if you don't understand a question

 15       that I'm asking you, what would you do?

 16          A.   I will feel free to tell you I don't grasp the

 17       meaning of your question and would you please make it

 18       clearer.

 19          Q.   Perfect.     So if you don't understand the

 20       question, please ask me and I would be more than happy

 21       to clarify.

 22               As in previous depositions, if you need a break,

 23       please let me know; we can go off the record.      The only

 24       exception to that is if a question is pending.        In that

 25       case I'll ask that you answer the question before you




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  1       take a break.

  2                 How does that sound?

  3          A.     Sounds fine to me.

  4          Q.     Okay.    Is the volume currently loud enough for

  5       you to hear my questions?

  6          A.     Yes.

  7          Q.     Okay.    As you know from previous depositions,

  8       there's a court reporter here to transcribe what we're

  9       saying.

 10                I found it is much better for everyone involved

 11       if we give each other the space to talk and don't try to

 12       talk over each other.       In that case, if I interrupt

 13       you -- I'll try my best not to -- but if I do, let me

 14       know.    And please don't interrupt me.     And I think we'll

 15       proceed smoothly.

 16                How does that sound?

 17          A.    I'll give it my best.

 18          Q.    Okay.     Can you think of any issue why you would

 19       not be able to give complete and truthful testimony

 20       today?

 21          A.    No.

 22          Q.    Okay.     Do you understand everything that we've

 23       gone over so far?

 24          A.    Yes.

 25          Q.    Great.     How long would you like to go before we




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  1       take our first break?

  2          A.   Well, I would say no more than 90 minutes,

  3       preferably closer to 60.

  4          Q.   Okay.    Assuming that we're at a good point to

  5       stop, that sounds fine to me.

  6               And again, if you need a break, please do let me

  7       know.   I know Zoom is difficult -- especially hours of

  8       Zooms are difficult for everyone.

  9               Okay.    Any questions for me before we begin?

 10          A.   No.

 11               THE REPORTER:    Excuse me.

 12               Did you want to explain to him about read

 13          and sign?

 14               MS. BILDNER:    Oh, yes.   Sorry.   We didn't go

 15          over it earlier.

 16       BY MS. BILDNER:

 17          Q.   Okay.    When the deposition is over, as I

 18       mentioned, it's going to be typed up by our court

 19       reporter.

 20               Would you like to see it and review it before it

 21       is finalized?

 22          A.   Can I answer that question at the end?

 23               MR. BELFORTI:    We'll -- we're going to read

 24          and sign, Elana.     We'll talk about it.    But I

 25          imagine he'll read and sign.




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  1               MS. BILDNER:     Okay.   That sounds good to me.

  2       BY MS. BILDNER:

  3          Q.   So, Dr. Levine, how did you prepare for this

  4       deposition today?

  5          A.   I re-read my report on Sunday evening, and last

  6       night I skimmed through Dr. Brown's report and I read a

  7       few articles -- the Almazan article.      And I think that

  8       was it.   Maybe another article -- oh, yeah, I skimmed

  9       the -- I refreshed my memory about the Bränström and

 10       Pachankis article and Dr. Kalin's criticisms of it.

 11          Q.   The first article you mentioned, I believe you

 12       said it was the Almazan article.      Did I hear that

 13       correctly?

 14          A.   Yes.

 15          Q.   Would you mind spelling that author's name?

 16          A.   A-L-M-A-Z-A-N.

 17               And I think the second author was Kor -- it will

 18       be hard to pronounce this -- Keuroghlian.       It was the

 19       article in JAMA Surgery.

 20          Q.   Was the title of that article?

 21          A.   Well, I can look it up if you want.      But it's --

 22       it was about surgery.

 23               I'll get it for you.

 24               (Off the record.)

 25               THE WITNESS:     The name of the article is,




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  1          The Association Between Gender-Affirming

  2          Surgeries and Mental Health Outcomes.

  3       BY MS. BILDNER:

  4          Q.   Thank you, Dr. Levine.

  5               And for the sake of the court reporter -- and

  6       this might be a common theme today -- would you mind

  7       spelling the name of that first author and, I believe,

  8       the second author of the article?

  9          A.   Sure.

 10               THE WITNESS:    So, Vicky, it's Anthony

 11          A-L-M-A-Z-A-N.

 12               And the second name is Alex

 13          K-E-U-R-O-G-H-L-I-A-N.

 14       BY MS. BILDNER:

 15          Q.   Thank you, Dr. Levine.

 16               You also mentioned that you reviewed the

 17       Bränström and Pachankis article; is that correct?

 18          A.   Yes, yes.

 19          Q.   Okay.    You might have to spell Bränström and

 20       Pachankis for the record as well, if you don't mind.

 21          A.   Well, it's B-R-A-N-S-T-R-O-M, but there are these

 22       vowel sounds over the -- the A and the O.

 23               And Panchankis is P-A-N-C-H-A-N-K-I-S [as

 24       stated].

 25               And Kalin is Ned Kalin, K-A -- K-A-L-I-N.




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  1          Q.   Okay.    And you're referring to an article in the

  2       American Journal of Psychiatry from August of 2020; is

  3       that correct?

  4          A.   Yes.    It was originally published in 2019, but

  5       online.   But it was -- yes, you have corrected the --

  6       your citation is correct.

  7          Q.   Thank you.    Why did you choose those two articles

  8       to review?

  9          A.   Well, they're seminal articles in the argument

 10       for -- that sex reassignment surgery -- genital surgery

 11       improves people's mental health.

 12               And I presume that you are aware of those and you

 13       will bring them up.     And if you aren't aware of them,

 14       I'll be happy to bring them up and discuss them with

 15       you.

 16          Q.   Thanks, Dr. Levine.

 17               In preparation for today's deposition did you

 18       meet with attorneys for the Department of Correction?

 19          A.   Well, if by telephone you mean did I meet with

 20       them, I had a half-hour conversation with them last

 21       week.

 22          Q.   Okay.    Did you talk to anyone else about your

 23       deposition today?

 24          A.   My wife.

 25          Q.   Did you talk to your wife about the substance of




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  1       the deposition today?

  2          A.   No.     I just told her I'd be home today.

  3               She's not that interested.

  4          Q.   Fair enough.

  5               Okay, Dr. Levine, I'd like to talk to you

  6       about -- a little bit about your CV and who you are.        So

  7       unless I've got the wrong person here, you are a board

  8       certified psychiatrist; is that right?

  9          A.   Yes.

 10          Q.   When did you complete your residency?

 11          A.   1973.

 12          Q.   Have you been practicing psychiatry since 1973?

 13          A.   Nonstop.

 14          Q.   Are you currently practicing psychiatry?

 15          A.   Yes, I am.

 16          Q.   Okay.     And you have a psychiatry -- or you had a

 17       psychiatry practice of your own in Ohio; is that right?

 18          A.   That's an ambiguous question, so I will try to

 19       take the ambiguity out of it for you.

 20               I've -- I am now an employee of the practice that

 21       I owned with a co-worker for over 20 years.       So even

 22       within my employee status I have a practice of my own.

 23       I just -- I'm just officially an employee.     I no longer

 24       have to make executive decisions about the practice.

 25          Q.   What is the name of the practice group?



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  1          A.    It's called DeBalzo -- capital D-E capital

  2       B-A-L-Z-O, Elgudin, E-L-G-U-D-I-N, Levine, Risen; and

  3       sometimes they put an LLC on it.

  4          Q.    Do you work full-time at the practice that you

  5       just mentioned?

  6          A.    Yes.

  7          Q.    Okay.    Do you treat patients at the practice you

  8       just mentioned?

  9          A.    Yes.

 10          Q.    How many patients are you currently treating?

 11          A.    I think I can easier answer that question by

 12       saying that I work five days a week, and mostly from 9

 13       to 6 with a ten-minute break for lunch.

 14                And the number of patients in my practice is very

 15       unclear to me.      I never count them up.   But I'm pretty

 16       much seeing 30 to 35 hours of patients a week.

 17          Q.    So you have no sense of how many patients --

 18          A.    Oh --

 19          Q.    -- currently --

 20          A.    -- I have hundreds of patients.     You know, I stop

 21       seeing someone, and then they come back to me a year

 22       later.    And so it's hard to know how many active

 23       patients I have.

 24                I have more patients who consider me their

 25       psychiatrist than I consider to be active patients.




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  1          Q.   What do you mean by "active patients"?

  2          A.   That is I see them on some regular basis.

  3          Q.   So would you agree with me -- I guess is your

  4       testimony that you have hundreds of patients that you

  5       currently see on a regular basis?

  6          A.   No.    I would say I -- I don't see hundreds of

  7       patients on a regular basis.    But I certainly have

  8       hundreds of people who consider me their psychiatrist

  9       even though I haven't seen them for two years or so.

 10          Q.   As a clinician do you treat people with gender

 11       dysphoria?

 12          A.   Yes.

 13          Q.   What proportion of the patients that you treat

 14       are people with gender dysphoria?

 15          A.   Oh, I would say 10 to 15 percent.

 16          Q.   Do you have any sense of how many people with

 17       gender dysphoria you are currently treating?

 18          A.   I spent six hours yesterday with a patient with

 19       gender dysphoria and his mother.

 20               And patients -- as you can tell, I'm -- I'm

 21       towards the senior end of one's career; and as such, I

 22       supervise a lot of people.     So whether you consider

 23       supervising therapists as treating patients, I consider

 24       that an indirect form of treatment of patients.

 25               So I would say there probably are four to six




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  1       people who come to see me periodically who have the

  2       diagnosis of gender dysphoria active in my practice in

  3       the last year, for example.

  4                And I certainly supervise more patients than

  5       that.

  6          Q.    Thank you.

  7                Dr. Levine, do you also teach?

  8          A.    I do.

  9          Q.    What do you teach?

 10          A.    I teach -- Well, my -- my career has been focused

 11       on human sexual life and its problems.      And so I teach

 12       about sexual dysfunction and I teach about sexual

 13       identity issues.

 14                I gave grand rounds frequently on the topic of

 15       gender dysphoria in the last few years -- the last five

 16       years.

 17                I write articles and I write books.    And so I

 18       would say that my subject is human sexuality.

 19                But after about -- about 30 years ago I began to

 20       realize that I was really specializing in -- in the

 21       problem -- the aspirations and the problems of human

 22       love and human connection.     And so many of my articles

 23       have been directly about love.

 24                And -- and so I try to teach primarily mental

 25       health professionals and physicians.      But every once in


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  1       awhile my teaching extends to the lay public.

  2               So the simple answer to your question is human

  3       sexuality.   But if we expand that, we get to talk about

  4       marriage, love, disappointment, loss, psychological

  5       intimacy and erectile dysfunction, you know, anorgasmia.

  6               You know, it's -- I could go on.   But I think

  7       that's enough.

  8          Q.   I'll ask you what -- I'll ask you both to spell

  9       anorgasmia and to tell me what it is.

 10          A.   Anorgasmia is the state in which a person may --

 11       can get sexually aroused but cannot achieve orgasm.      And

 12       so -- and the preface "an" means without.    So anorgasmia

 13       means without orgasm.

 14               And that can happen in males and that can happen

 15       in females as well.

 16          Q.   Are you currently teaching anything this

 17       semester?

 18          A.   Well, I am presenting at the American Psychiatric

 19       Association a one-and-a-half hour symposium on the

 20       treatment of gender dysphoria:   Is It Time to Reexamine

 21       Best Practices?   And so that's going to be a

 22       presentation with three of my colleagues.

 23               In June I am scheduled to give three grand round

 24       lectures at the Henry Ford Hospital in Detroit on gender

 25       dysphoria.




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  1               I just completed a month -- January 26th a

  2       four-hour seminar at the Harvard Student Health Service

  3       Faculty on gender dysphoria.

  4               And there are a few other things coming up or

  5       recently done.      So --

  6          Q.   Are you teaching any courses --

  7          A.   -- I'm --

  8          Q.   I'm sorry.     Go ahead.

  9          A.   I said so I'm pretty busy with teaching and

 10       writing, by the way.

 11          Q.   Are you teaching any courses currently at Case

 12       Western?

 13          A.   I don't teach courses.     I teach occasional

 14       seminars to residents.

 15               And what happens -- the primary mode that I

 16       teach -- and my primary mode of teaching when I'm not

 17       giving a lecture or seminar is that I have residents in

 18       psychiatry who rotate and see patients with me.

 19               So they spend a half-day a week with me usually

 20       for four to six months.      And occasionally they elect to

 21       spend a year with me.

 22          Q.   Great.   On your resumé, Dr. Levine, you also list

 23       a number of consulting activities for prison; is that

 24       correct?

 25          A.   The word "number" is confusing me.     Since 2007




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  1       I've been the psychiatric consultant to the

  2       Massachusetts Department of Correction.

  3               And while I periodically give continuing

  4       education seminars there, once a month I join the team

  5       that I established in 2007 and I am their consultant.

  6       So that's been a continuous process for 15 years.

  7               Occasionally, other states have asked me -- or

  8       organizations have asked me to evaluate one of their

  9       prisoners.

 10               And I think -- this may not be accurate -- but I

 11       think I've given six separate all-day seminars to

 12       Departments of Correction staffs across the country just

 13       giving them some orientations of the problem in

 14       addressing the needs of transgender inmates.

 15          Q.   And that's six seminars over the course of your

 16       professional life that you've given to prisons?

 17          A.   To -- well, I've given to the mental health staff

 18       of various states' prisons, yes.

 19          Q.   Okay.    Do you currently have a consulting

 20       contract for any prison or prison system aside from

 21       Massachusetts?

 22          A.   Well, I have a contract to do this work with the

 23       inmate in question today.

 24               So every time I do a consultation, I think I

 25       have a -- I have a contract for --




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  1          Q.   All right.

  2          A.   -- but it's a very specific, you know, one case

  3       kind of contract.

  4          Q.   To clarify, Dr. Levine, I'm not talking about

  5       specific litigation, so a case such as this one; I'm

  6       talking about a general consulting or general

  7       consultancy with a prison system similar to the one you

  8       have in Massachusetts.

  9               So my question is:   Do you have any general

 10       consultancy with a prison or prison system aside from

 11       Massachusetts?

 12          A.   No.

 13          Q.   Okay, great.

 14               Well, Dr. Levine, I'd love to discuss the topic

 15       of the day, gender dysphoria.    I have some questions

 16       about that.   First of all, a very basic one:   What is

 17       gender dysphoria?

 18          A.   A gender dysphoria generally is the presence of a

 19       sense that one's gender identity is not in consonant, is

 20       not incongruous with one's sex body.    And that usually,

 21       but not always, is a source of distress.

 22               And in psychiatric language, according to

 23       American standards, the distress has to be present to

 24       give the diagnosis of gender dysphoria; but the gender

 25       dysphoria has to interfere with some aspect of a




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  1       person's life besides the distress.

  2              In Europe the diagnosis has a different name.

  3       It's called gender incongruence, and it doesn't require

  4       distress.   It just requires the inherent incongruence

  5       between my sense of who I am in masculine-feminine terms

  6       and what my body tells me in terms of my sex.

  7              So there is a little separate confusion.     It's

  8       not a big deal, but there's a lot of -- there's some

  9       confusion about how the Europeans currently use their

 10       diagnostic criteria and how the United States uses --

 11       American people use the diagnosis.

 12              It's very important to note that there can be

 13       varying degrees of incongruence.   That is I, for

 14       example, could feel that I'm a feminine man, but I am

 15       not upset that I have a male sexual body -- a male

 16       sexual body.

 17              I can have incongruence without having -- with

 18       acceptance without having to attack my body with the

 19       wish to change.

 20              So when there is discomfort with -- with the

 21       incongruence, we recognize that that's a source of

 22       subjective distress and so we give it a diagnosis.

 23              So if a person is not distressed or does not want

 24       to change their body in a certain way, we generally call

 25       those people transgender people.




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  1                And nowadays, you -- Let me back up for a minute.

  2                There's very little constancy in our concepts of

  3       gender dysphoria.    It has been something that we are

  4       aware of for about 60 years.    But the vocabulary and the

  5       forms of gender dysphoria have been changing

  6       dramatically, particularly in the last 10 or 15 years.

  7                So now we separate gender dysphoria into those

  8       people who have dysphoria and have an aspiration to

  9       actually change their sex.

 10                And if they are male, for example, they want to

 11       live as a female and they want to convert their body to

 12       as feminine -- as female body as medicine can provide.

 13                And then there are now people at increasing

 14       numbers -- in fact, the majority of young people who are

 15       gender dysphoric today say they're gender nonbinary.

 16       They're neither male nor female, they want to be both,

 17       they want to be neither, or their -- recognize that

 18       they're evolving in a gender-fluid way.

 19                So we have -- don't ask me to specify this -- but

 20       there are over a hundred names of -- for various forms

 21       of gender dysphoria.

 22                So when gender dysphoria first came onto the

 23       medical scene, we had transsexuals and normal people;

 24       right.    And today we don't even use the term transsexual

 25       very much.    The vocabulary is changing, concepts are




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  1       changing.      And there is considerable controversy -- or I

  2       would say simply disagreement about how best to handle

  3       any particular situation.

  4          Q.   Dr. Levine, you had quite a lot in that answer.

  5       So I'd like to tease a few things out.

  6               First of all, let's stick to the United States

  7       for today given that this is a case about gender

  8       dysphoria in the US.

  9               So when I'm asking about "gender dysphoria," the

 10       clinical definition and anything -- treatment, etc. --

 11       I'm asking, to be clear, about the United States.      Do

 12       you understand that?

 13          A.   I do.     But I don't think we will be able to -- if

 14       we're going to ever talk about the -- what science knows

 15       about this, I don't think we'll be able to constrict our

 16       -- the knowledge as only coming from the United States.

 17               But I certainly understand what you said.

 18          Q.   Okay.     You also explained that some people are

 19       transgender but don't have the diagnosis of gender

 20       dysphoria.

 21               Did I understand that correctly?

 22          A.   You did.

 23          Q.   You mentioned some, I guess, historical terms

 24       that have been used such as transsexual; is that right?

 25          A.   Yes.




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  1          Q.   And we currently don't use the term transsexual?

  2          A.   No, it's -- it's used sometimes.    But it's used

  3       primarily for those who want to jump from one sex gender

  4       kind of coincident with sex to the opposite.

  5               So -- or sometimes it's used for those who have

  6       undergone sex reassignment surgery.

  7               But there's so much variations in terms here that

  8       I don't think you could probably find ten -- quote --

  9       experts in this field who use the terms in the same way.

 10          Q.   Okay.    For the purposes of today I think I'll use

 11       the term "transgender."     And will you understand what I

 12       mean by that?

 13          A.   I will understand that that does not imply that

 14       the person is distressed --

 15          Q.   Okay.

 16          A.   -- but just identifies as something other than

 17       the cultural convention that there should be, you know,

 18       a male body in a masculine -- some degree of masculinity

 19       -- acceptable masculinity.

 20          Q.   Okay.    I want to come back to the concept of

 21       distress.   When you use the word "distress," what do you

 22       mean by that?

 23          A.   Well, distress is the diagnostic term.    And so

 24       the distress means:     When I think about this, I'm

 25       uncomfortable, or I don't like a body part and it makes




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  1       me nervous.

  2                  Distress means -- sometimes in a courtroom

  3       distress is -- a different word for distress is used;

  4       it's called suffering.

  5                  But what it is, is that I feel uneasy that my

  6       gender identity doesn't match my body.

  7                  And that has various manifestations.   A common

  8       manifestation in a male -- and given the nature of

  9       today's case, I think I'll just be talking about males.

 10       So in the case of males a very common source of distress

 11       is:    I hate the hair on my body.

 12                  So I, for example, don't think I have gender

 13       dysphoria and I accept the hair on my body.

 14                  But someone with gender dysphoria often tells me

 15       -- or any other doctor:      I hate the presence of my

 16       beard.      I hate hair on my arms and my legs and my chest.

 17       I hate it.

 18                  So the intensity with which they say they hate

 19       this, I presume it means it's distress.

 20                  So a patient may not say I'm distressed, but we

 21       infer distressed from the language and the tone with

 22       which they express that -- those words:      So I hate my

 23       beard.

 24             Q.   I just want to be clear, Dr. Levine, you said

 25       you'll talk today about males.




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  1                Did I hear that correctly?

  2          A.    Yes, biologically sex males who aspire to live as

  3       women.

  4          Q.    If I used the term people who were assigned male

  5       at birth, will you understand what I mean by that?

  6          A.    Yes.

  7          Q.    Okay.    Are we saying the same thing albeit using

  8       different terminology?

  9          A.    Yes.    But you won't find me using your terms.

 10          Q.    Okay.    I just want to make sure that there's

 11       clarity that when I ask a question using a term, you

 12       understand what I'm talking about?

 13          A.    I will understand.

 14          Q.    Okay.    You also mentioned that the distress felt

 15       by people with gender dysphoria may come in different

 16       manifestations.      What do you mean by that?

 17          A.    Well, some people will say that they hate their

 18       body or they hate the particular body part.        For

 19       example:    I hate my penis.    I wish I didn't have a

 20       penis.

 21                Some people don't mention it.    But when they take

 22       a shower, they avoid looking at their penis; and they

 23       may sit to urinate because they think standing to

 24       urinate is a male feature.

 25                They may wish to be called a female name because




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  1       if someone calls them Max -- and Max is their name that

  2       they were assigned at birth -- that they feel that

  3       they're insulted.

  4                So these are all manifestations of the presence

  5       of a strong feminine gender identity.

  6          Q.    You also stated that, I guess, as part of the

  7       clinical diagnosis the distress that you're discussing

  8       must interfere with an aspect of the person's life.        Is

  9       that right?

 10          A.    That's -- that's the criteria -- one of the

 11       criterion for a psychiatric diagnosis.    It's not a

 12       specific criteria for gender dysphoria.    It's a general

 13       criteria -- criterion for almost every psychiatric

 14       diagnosis.

 15                It's not just the presence of the subjective

 16       state.     It's the sense that the subjective state

 17       interferes with their ability to work, enter into

 18       relationships, go to school, conduct ordinary processes

 19       of life.

 20          Q.    In your experience working with people with

 21       gender dysphoria these many years, what does that

 22       interference with an aspect of the person's life look

 23       like in the context of gender dysphoria?

 24          A.    Well, it varies from person-to-person.   And it

 25       varies with the age of the person.    It varies with the




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  1       education of the person.    It varies with the

  2       relationship status of the person.

  3               For example, my first patient with gender

  4       dysphoria -- who has written an article with me about

  5       themselves -- could not use his penis for marital sexual

  6       relationships.    And as a result of his impairment and

  7       functioning as a male, he and his wife adopted children.

  8               So if you consider, as I would, the ability to

  9       conduct sexual relationships in a marital -- in a

 10       marriage as one important area of function, his erectile

 11       problems or his sexual disinterest or his inability to

 12       use his penis in -- you know, for procreative purposes

 13       would be an impairment and important other aspect of

 14       function.

 15          Q.   So the kinds of interference you're talking about

 16       are interference in important aspects of life

 17       functioning.    Did I get that right?

 18          A.   Yes.   Yes, though it could be work relationship

 19       formation, relationship maintenance, relationships to

 20       children.

 21               You know, they're multiple facets of any person's

 22       life.

 23          Q.   I think you touched on this earlier.     But based

 24       on your experience can gender dysphoria be more or less

 25       severe?




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  1             A.   I hesitate to answer that question for the

  2       following reason:      If there are people who sense

  3       themselves as more feminine than masculine, who accept

  4       their body, and who have acknowledged that they have a

  5       degree of discomfort about their body, but they do

  6       nothing about it, they continue to be married and father

  7       children and function as a lawyer or something; they

  8       have gender dysphoria.

  9                  If I talk to them, they suffer with it.     That's

 10       why they come to see me because they are suffering with

 11       it.    They call that severe; right.

 12                  If I see somebody who cannot -- who says that

 13       he's preoccupied day and night with this and he can't go

 14       to work, and he can't possibly do X or Y or Z, he says

 15       this is severe.

 16                  But what glibly happens is that if somebody wants

 17       surgery, the doctors assume they have severe gender

 18       dysphoria.

 19                  All this is subjective, you understand.     I have

 20       no way of measuring objectively.

 21                  It is true in psychiatry in general and it's

 22       particularly true in the area of gender dysphoria with

 23       prisoners and gender dysphoria period and gender

 24       dysphoria with inmates, it's self-report, you see.

 25                  And when people -- when people want something,




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  1       they're smart enough to know what -- what would make

  2       them sound like they have -- quote -- severe.

  3               I know many people feel that if someone considers

  4       sex reassignment surgery or applies for sex reassignment

  5       surgery or requests it, they must have severe gender

  6       dysphoria.

  7               So I -- I personally am a little skeptical

  8       because I know -- I recognize that gender dysphoria is a

  9       serious problem and -- but I've never been quite

 10       comfortable because of the lack of objectivity of this

 11       in saying:      This is mild, this is moderate, and this is

 12       severe gender dysphoria.

 13               I don't expect that everyone agrees with me.

 14               But I remember reviewing a paper about this, and

 15       I objected to the term "severe."      I said:   It's enough

 16       that these inmates have gender dysphoria.       You have no

 17       capacity to separate mild, moderate, and severe.

 18               And in response to my criticism they took out the

 19       word "severe" from their paper.

 20               So it's a debatable matter.

 21          Q.   Okay.    Again, there's a lot in that answer so

 22       I'll just tease a few things out.

 23               First of all, you said you recognize that gender

 24       dysphoria is a serious condition.

 25               Did I hear that correctly?




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  1          A.   Yes.

  2          Q.   Okay.    You also mentioned that people present to

  3       you with varying reports of the severity of their gender

  4       dysphoria.

  5               Did I get that right?

  6          A.   Well, no one says:    I have mild gender dysphoria.

  7       So you didn't get it right.

  8          Q.   Okay.    But in terms of reporting the symptoms of

  9       their gender dysphoria to you, people report different

 10       levels of impairment of their daily lives?

 11          A.   People report the similar degree of distress

 12       about their incongruence.    They have varying degrees of

 13       impairment in their social function and their vocational

 14       function and their intimate function.

 15               So I want to separate those two criteria;

 16       distress, which is subjective, from impairment and

 17       function.

 18               You see, many people with gender dysphoria work,

 19       you see; and some of them are very capable at their

 20       work.

 21          Q.   Okay.    Dr. Levine, can you tell me about the

 22       treatments for gender dysphoria.     What are they?

 23          A.   Well, there is a prolonged process of helping

 24       people to share the history of their gender dysphoria in

 25       a psychotherapeutic relationship where over time we come




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  1       to recognize the precipitance of -- we come to recognize

  2       the forces that shaped their gender dysphoria, the

  3       things that precipitated or crystalized their gender

  4       dysphoria, the things that maintain their gender

  5       dysphoria.

  6              And we help them to discern what they're going to

  7       do about their gender dysphoria in a psycho -- in a

  8       process -- in a human professional relationship that's

  9       respectful, that exists over time.    And we help them to

 10       discern what they want to do given the fact that they

 11       are -- here are the pluses, the benefits, and the risks

 12       and the minuses of this decision.

 13              But, that is not what the general public means by

 14       the treatment for gender dysphoria.

 15              And the treatment for gender dysphoria, of

 16       course, varies greatly based on the age of the patient.

 17              So I guess what we're talking about here is

 18       adults.   And I guess we don't really have to talk about

 19       the treatment of children or the treatment with

 20       adolescents.

 21              So in the adults what is generally known as the

 22       treatment of gender dysphoria is something referred to

 23       as affirmative care; which means that if you feel you

 24       have this and if you want to, you can certainly -- we

 25       would -- I will support you if you want to live your




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  1       life in the aspired-to gender based upon what your

  2       subjective sense of your gender identity is.

  3              So that is -- one treatment is the support -- the

  4       living as -- I'll just use living as a woman --

  5       presenting yourself as a woman even though you have a

  6       male body.

  7              So then -- then another branch of treatment is

  8       the administration of cross-gender hormones to help with

  9       the growing of breast tissue and the redistribution of

 10       fat and the decrease in muscle mass.

 11              And so then if that isn't enough to satisfy the

 12       person, if they still feel terribly incongruent and

 13       distressed, then they may want larger breasts.    And so

 14       they would go ahead and find a surgeon to build larger

 15       breasts for them.

 16              Or if they're unhappy with their face, they can

 17       go have surgery to remodel their face.

 18              The usual -- the usual thing that they want is to

 19       get rid of their -- excuse me -- their male genitalia

 20       and have their genitals restructured to resemble female

 21       genitalia.

 22              For some people they just want to remove their

 23       testes so that they don't need to take as much estrogen

 24       -- or they -- they say that's what they want.

 25              So the various things that patients want are




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  1       thought to be the treatments for gender dysphoria.

  2          Q.   Thank you, Dr. Levine.   You mentioned at the

  3       outset you consider treatment for gender dysphoria to

  4       involve a prolonged process of sharing and

  5       psychotherapy; is that right?

  6          A.   That's right.

  7          Q.   Why is that important?

  8          A.   Well, I'm hesitating because there are about --

  9       there are a number of ways I might answer your question.

 10               Well, it's important No. 1, to make sure the

 11       person is informed about the consequences of what he or

 12       she aspires to have done.   It is important to understand

 13       that so that when some of those consequences occur, they

 14       don't regret what they have done.

 15               As you, I hope, know, that after

 16       genital-confirming surgery the suicide rates of

 17       post-operative people are much higher than the general

 18       population suicide rates.   And so we recognize that in

 19       the long-term there is a very high risk that there will

 20       be psychiatric problems, depression, substance abuse,

 21       anxiety states, suicide attempts, and completed

 22       suicides.

 23               So we're really trying to prevent short-term

 24       happiness and long-term disaster.    And we want people to

 25       make a connection with us so that they can understand


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  1       the adversities in their lives that may have produced

  2       the repudiation of their maleness and we want them to be

  3       realistic about what they can and cannot achieve in the

  4       future by these -- quote -- treatments.

  5              And I think the major reason to have

  6       psychotherapy is this is a life-changing event.    It

  7       needs to be carefully considered.

  8              And it's ethical -- the doctor has an ethical

  9       responsibility to make sure the person is thinking

 10       clearly about this and understands the -- what we know

 11       to be the consequences.

 12              Now, there have been a number of studies that

 13       have documented that the life cycle of transgender

 14       people is significantly shorter than -- than if a person

 15       is not transgender to the point that it may be up to

 16       20 years shorter.   People who have been operated on and

 17       who have lived their lives as trans people seem to die

 18       of heart disease and of cancer and suicide at a much

 19       higher rate, you see.

 20              And so it seems very reasonable to me that people

 21       who are -- especially adults who are undergoing these --

 22       who request these things ought to have some thoughtful

 23       process of consideration of the difference between the

 24       fantasy that they have about having -- that this is

 25       going to make my life happy and -- and the reality based




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  1       upon the thousands of people who have undergone these

  2       surgeries in the past.

  3               I think I'll stop there.

  4          Q.   Does psychotherapy have a role in lessening

  5       gender dysphoria?

  6          A.   In some people, yes, it can have a role in

  7       helping them to accept the fact that they're a feminine

  8       man in many respects and that it's possible to live

  9       their lives and express their femininity without

 10       changing their bodies, per se.

 11          Q.   Does psychotherapy have a role in easing the

 12       day-to-day impact of gender dysphoria?

 13          A.   I can't say that it does in a scientific

 14       objective fashion.

 15          Q.   Sure.    What about in your experience?

 16          A.   But I need to tell you that there is a phenomenon

 17       called detransitioning.     And so when a person decides

 18       that this was a mistake and they return to their gender

 19       that -- and I'm trying to use your words now -- when

 20       they return to a gender consistent with the sex they

 21       were assigned at birth, you see, all of a sudden, their

 22       distress about gender dysphoria disappears.

 23               So the distress about gender dysphoria is based

 24       very heavily on the concept that I am a woman.     But when

 25       one no longer says I am a woman, then the distress




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  1       diminishes, you see.

  2                Then there's distress at the doctors who promoted

  3       this and distress at the foolishness of the self for

  4       having thought that I was a woman.

  5                So the idea of psychotherapy helping somebody to

  6       clarify their gender identity and help them not think

  7       that they have to change their body just because they're

  8       feminine in many respects diminishes the distress.

  9                So in that sense the answer to your question is,

 10       it is quite possible that psychotherapy for certain

 11       individuals helps them, you see, and diminishes their

 12       distress because their distress is based on the fact

 13       that they have this notion that they're really born into

 14       the wrong body and they're always been a female --

 15       they've always been a female.

 16                But if they give up that idea and they say:    Oh,

 17       I see now, I was -- I conceived of this as -- I took my

 18       feminine traits and I said -- I made that -- I'm a

 19       woman.    And now they view their feminine traits as

 20       something that happens in many men -- we're not all sort

 21       of stereotypic hyper-macho aggressive gorillas, you

 22       see -- then -- then psychotherapy can ease the distress.

 23                If you're talking about a thousand people --

 24       there's been no study to document that.    But, of course,

 25       the same problems we have in the lack of science in the




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  1       psychotherapy exists with -- with the treatments that I

  2       think Veronica-May is asking for.     So we're limited here

  3       in science.

  4               You're asking me my beliefs and you're asking me

  5       my experience, you see.     And so I'm telling you based

  6       upon my beliefs and my experience and my reading of the

  7       literature.

  8          Q.   I'm specifically asking you, Dr. Levine, based on

  9       your experience as a clinician treating with people with

 10       gender dysphoria for decades if you think psychotherapy

 11       can have a role in lessening that dysphoria?

 12          A.   Yes.

 13          Q.   Okay.    You referenced earlier detransition.   How

 14       many patients have you had who detransitioned over the

 15       course of your professional career?

 16          A.   You need to understand that in the United States

 17       as in elsewhere psychiatric care is a short-term or a

 18       long-term phenomenon.     And most of the doctors who see

 19       most of their patients -- most of the patients that most

 20       doctors see they lose follow-up on, you see.

 21               So I can only answer that question in the number

 22       of people that I am aware of who have detransitioned

 23       while they were seeing me.

 24               Now, you may know that I wrote a paper -- I

 25       published a paper about someone who detransitioned




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  1       30 years after I originally saw this person.

  2              And you may be aware that in the last four or

  3       five months two papers have been published out of the

  4       United Kingdom that have demonstrated that within six --

  5       in one paper within 16 months of being prescribed

  6       hormones that 10 percent stopped them and another

  7       20 percent were lost to follow-up.

  8              And another paper found that 30 percent of people

  9       given hormones within five years had stopped their

 10       hormones.

 11              So my own personal experience with detransition

 12       has been varied over the years.     It includes prisoners.

 13       It includes teenagers.     And so I -- and it includes a

 14       particular person who got our permission to have sex

 15       reassignment surgery and never had it and then

 16       detransitioned.

 17              So I would say probably I am personally aware of

 18       six people who have detransitioned.     But the vast

 19       majority of the hundreds of people I've seen over the

 20       years I've not had any follow-up on.

 21              And this is, America, and we don't have a way of

 22       keeping track of people.    So I don't know the answer to

 23       the question in any strong scientific sense except for,

 24       I should tell you, that on March the 12th there is going

 25       to be an international day devoted to -- this month




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  1       there's an international day devoted to detransitioning

  2       and -- because detransition apparently is an

  3       increasingly recognized phenomenon.

  4               So if you want, I can get you the link to this --

  5       to this program.

  6          Q.   So your answer to my question, Dr. Levine, is

  7       that you are personally aware of six people who have

  8       detransitioned; is that correct?

  9          A.   Yes.

 10          Q.   You also referred to, I guess, gender identity as

 11       a notion.      And I'm wondering what you mean by that.

 12       Specifically, I'm wondering, Dr. Levine, do you believe

 13       that people can be talked out of their gender identity?

 14          A.   No.     I just believe people can decide -- they can

 15       decide that they no longer want to do this.       I don't

 16       know how to talk someone out.

 17               In fact, trying to talk somebody out is a

 18       terrible mistake.      It is -- and probably -- especially

 19       if you're dealing with young people or desperate people,

 20       it probably makes them dig in further and interferes

 21       with the natural process whereby they may have

 22       ambivalence, and they recognize their ambivalence, and

 23       they may -- they recognize their fear, and then they

 24       decide to not do what they said they want to do.

 25               So the answer your question, do I believe I can




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  1       talk someone out or professionals can talk somebody out

  2       of this?    That's a misunderstanding of psychotherapy.

  3       And I do not believe we can talk people out of it.

  4          Q.   Okay.     Dr. Levine, we were talking kind of

  5       broadly about treatments for gender dysphoria.       In

  6       addition to psychotherapy you mentioned hormone therapy;

  7       is that right?

  8          A.   That's right.

  9          Q.   Okay.     And I think you used the term cross-gender

 10       hormones at one point?

 11          A.   Yes.

 12          Q.   Is that the same thing as --

 13          A.   No, cross-sex.

 14          Q.   -- hormone therapy -- I'm sorry, cross-sex

 15       hormones.      My mistake.   So you used the term cross-sex

 16       hormones at one point?

 17          A.   Would you repeat that question?      I talked over

 18       you.

 19          Q.   Sorry.     We'll try not to do that in the future.

 20               I believe you used term cross-sex hormones; is

 21       that correct?

 22          A.   Yes.

 23          Q.   Yes?     I'm sorry, was that a yes, Dr. Levine?

 24          A.   Yes, it was a yes.

 25          Q.   Okay, great.




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  1               Does the term cross-sex hormones mean the same

  2       thing as hormone therapy?

  3          A.   When we're talking about the treatment of gender

  4       dysphoria, yes.

  5               If we're talking about medicine in general, the

  6       answer is clearly no.

  7          Q.   Right.    When we're talking about gender

  8       dysphoria, the term hormone therapy means the same thing

  9       as cross-sex hormones; correct?

 10          A.   Yes.

 11          Q.   Okay.    So can you please tell me about hormone

 12       therapy as a treatment for gender dysphoria?

 13          A.   Can I ask you what you want to know about it?        I

 14       mean --

 15          Q.   Sure.

 16          A.   -- it's a rather general question.

 17          Q.   Well, what does it entail?

 18               Again, thinking of someone who was assigned male

 19       at birth and is a transgender woman.

 20          A.   So a transgender woman is an adult.     And so the

 21       hormone therapy is to provide a form of estrogen

 22       treatment.      And often it is also accompanied by a

 23       diuretic that has antiandrogen qualities to it.

 24               And so the -- quote -- hormone therapy is often

 25       the use of the female hormone in one form or another




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  1       plus a diuretic that is not a hormone but is -- has some

  2       antiandrogen quality to it -- property to it.     So that

  3       is usually spironolactone in various doses.

  4               And again, you can get injections of the

  5       estrogen, you can get patches, you can get various forms

  6       of pills; there's no one uniform scientific

  7       established -- one way of delivering hormones.      It's

  8       pretty much dependent upon the latest article that has

  9       been read or -- or the doctor's preference and so forth.

 10          Q.   Have you had patients who have been receiving

 11       hormone therapy while in psychotherapy with you?

 12          A.   Yes.

 13          Q.   You also mentioned as a treatment for gender

 14       dysphoria various kinds of surgery.      Was that right?

 15          A.   I did.

 16          Q.   Okay.     And I think we've used different terms,

 17       sex reassignment surgery and gender-confirmation

 18       surgery.

 19               Do you recall those terms?

 20          A.   Gender-conforming surgery.

 21               You know, the language in this field is rapidly

 22       changing.      What is politically correct changes from year

 23       to year.

 24          Q.   Okay.     Under the heading of gender-conforming

 25       surgeries -- well, what's under that heading?     What




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  1       kinds of surgeries are under that heading, again for

  2       someone who is assigned male at birth?

  3          A.   Ms. Bildner, anything -- any surgery -- any

  4       surgery may be under the term gender-conforming surgery.

  5               So if I feel my nose is too masculine, I will

  6       consider that and someone will consider this

  7       gender-conforming surgery to do a rhinoplasty.

  8               If my breasts on hormones are an A cup and I

  9       desire a B or C cup, then my -- the adding of a silicone

 10       implant to my breasts is called gender-conforming

 11       surgery.

 12               Historically, sex reassignment surgery referred

 13       only to the genital reconstruction.     But nowadays

 14       everything is called -- by some people everything is

 15       called gender-conforming surgery.     If I want it, it's

 16       gender-conforming surgery.

 17               The reason I want my forehead shaved is that I

 18       feel my forehead is too masculine, and so it will

 19       conform to my internal sense of femininity or femaleness

 20       or being a woman if I don't have such a prominent

 21       forehead.   And so the surgeon and I will consider this

 22       to be gender-conforming surgery.

 23               But historically it referred to the genital

 24       structures.

 25          Q.   Okay.    And what kinds of surgery for gender




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  1       dysphoria can be done that refer to the genital

  2       structures?

  3          A.   Well, one, the removal of the testis -- the

  4       testes, the two glands that produce testosterone in the

  5       scrotum; usually with preserving the scrotum because in

  6       the future that scrotum can be transformed into labia.

  7               It also includes the creation of a pouch called a

  8       neovagina or a vaginoplasty, and the construction of

  9       something that would resemble a clitoris anatomically.

 10               So to various degrees these surgeries are done.

 11       Generally, they're done all at once.

 12               But there are some people who feel very strongly

 13       that they want their testes removed and they're not sure

 14       they want anything else yet.   So they have a -- they

 15       remove their -- they have an orchiectomy in medical

 16       language.

 17          Q.   What is a good term to use, Dr. Levine, to refer

 18       to surgeries -- I guess, gender-confirmation or

 19       gender-conforming surgeries related to genitalia?

 20          A.   I'm sorry, what was the first part of your

 21       sentence?

 22          Q.   If I want to refer to the surgeries you were just

 23       talking about -- so -- I'm going to mess this up -- but

 24       the removal of testes, the creation of a neovagina, the

 25       construction of something that would resemble a




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  1       clitoris, I assume the removal of the penis is somewhere

  2       in there -- if I wanted to refer to all of those

  3       surgeries together, what's a good term for me to use?

  4          A.   Genital surgery.

  5          Q.   Okay.    So when I use the term genital surgery,

  6       that's what I'll be referring to, surgeries for gender

  7       dysphoria that relate to the genitalia.

  8               Would you understand that?

  9          A.   Yeah, I would understand that.

 10          Q.   Okay.    I just want to make sure we're on the same

 11       page.

 12               Okay, Dr. Levine, can gender dysphoria be cured?

 13          A.   I think no.

 14          Q.   Why not?

 15          A.   Well, No. 1, probably before -- up to about

 16       15 years ago many advocates for genital surgery felt

 17       that this was a cure of gender dysphoria.

 18               I think what is -- what I think people understand

 19       now is that if one has considerable genital dysphoria

 20       and one does genital surgery and constructs female

 21       genitalia -- female-appearing genitalia; that what

 22       you're curing is the distress of having testes, a

 23       scrotum, and a penis.      So that in a sense cures genital

 24       dysphoria.

 25               But gender dysphoria -- gender is a mental thing,


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  1       you see.   And if I have broad shoulders or thick

  2       knuckles or a prominent forehead or Adams apple, or my

  3       voice is low and I continue to be fearing other people

  4       will read me as a biologic male, then I -- although I

  5       have female genitalia that are sufficient for my

  6       purposes, I continue to have gender dysphoria.

  7              And if I feel inauthentic, if I am not exactly a

  8       man any longer and I'm not a woman, I still have an

  9       incongruity that I -- I have distress about the sense of

 10       self that I occupy a third sex, a third category; that

 11       may be gender dysphoria.

 12              So I think that people who are advocates of

 13       surgery no longer testify that it's a cure for gender

 14       dysphoria.

 15              And if they do testify that it cures gender

 16       dysphoria, then I think we ought to look at scans --

 17       that we should be critical of that kind of statement.

 18              So it's very helpful to people who have intense

 19       genital dysphoria to have their genitals removed and --

 20       or I should say removed and rearranged, reconformed,

 21       re -- into a different female-resembling form.

 22              But the idea of curing gender dysphoria -- the

 23       incongruence between the feminine traits that I perceive

 24       I have and the identifications that I have in my

 25       anatomy -- I think the -- the fact that every -- every




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  1       nucleated cell in the body and one's chromosomes

  2       indicate maleness, those -- those maleness features that

  3       are genetic remain.

  4               For example, balding -- frontal balding that

  5       happens in transgender females are as often a distress

  6       to these people because their pattern -- their male

  7       pattern baldness indicates to themselves and to other

  8       people they're still a male.     And so they have gender

  9       dysphoria about their -- it's not focused now on their

 10       penis, which doesn't exist; it focuses on their scalp.

 11               And so I don't think that most -- most people who

 12       have been close to this phenomenon no longer talk about

 13       curing gender dysphoria.

 14          Q.   Would you agree, Dr. Levine, that genital

 15       surgeries can cure genital dysphoria?

 16          A.   Yes, in the right person it certainly can.

 17          Q.   Okay.    Can gender dysphoria be lessened by

 18       treatment?

 19          A.   Well, if you've wanted to have your genitals

 20       removed for years, and your genitals are removed and you

 21       have female-acceptable -- female-looking genitalia, and

 22       you can urinate without problems sitting down, and you

 23       don't have chronic urinary distress or terrible

 24       discharges from your new -- new vagina; then I think

 25       that for a while you are very happy and will say:      I




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  1       have no regrets.

  2               But as time goes on and you're used to your new

  3       genitals and then you begin to experience life in terms

  4       of the other indicia of your -- of previous maleness,

  5       then the gender dysphoria is still there even though

  6       you're so glad that you have female genitalia now.

  7               So, you know, it depends on when you look at the

  8       person, how you measure this, how willing the person is

  9       to tell you about their feelings.

 10               So I think all of us ought to be a little

 11       skeptical if we use the word "cured."

 12               You know, in psychiatry we don't use the word

 13       "cure" like we do in internal medicine and in general

 14       surgery.   You can cure me of my acute appendicitis, you

 15       see.    But -- I can help people get over their

 16       depression.

 17               But in psychiatry we -- we rarely talk about

 18       "cure" of anything.   It's a high -- it's a high bar, you

 19       see.

 20               And I think the early advocates of gender

 21       dysphoria surgery used the word "cure."   I think they

 22       really mean amelioration, improvement, not cure.

 23          Q.   So genital surgery can ameliorate the gender

 24       dysphoria?

 25          A.   It can ameliorate the gender dysphoria that is




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  1       focused on the genitalia.

  2          Q.    And it can improve gender dysphoria?

  3          A.    To the extent I just specified.

  4          Q.    So that's a yes?

  5          A.    No.   It's a qualified yes.

  6          Q.    A qualified yes, okay.

  7                What's the best possible outcome then,

  8       Dr. Levine, for a patient who comes to you with gender

  9       dysphoria?

 10          A.    Who comes to me with gender dysphoria?

 11                Do you want to specify the age of the patient?

 12          Q.    Adults.   And to be clear -- thank you for noting

 13       that -- to be clear, Dr. Levine, at all times today I'm

 14       talking about adults.

 15          A.    Well, the best possible outcome is that I can

 16       form a lasting relationship with them and we can

 17       together over time consider their lives and we can weigh

 18       the possibilities of benefit and the possibility of

 19       disappointments.

 20                We can understand the harms, the risks that may

 21       infer.    We can understand the typical changes in family

 22       relationships that occur as a result of gender -- living

 23       in a new gender.

 24                And that I can help the persons think through and

 25       discern what they -- what they want to do informed about




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  1       what is -- about what is a high risk and what is a low

  2       risk to occur.    That would be to me the best outcome.

  3          Q.   If the person decides to continue with other

  4       treatments, what then?

  5          A.   As long as they're informed about the risks and

  6       the benefits and that they know that -- they know what I

  7       understand about -- that he and I can or she and I can

  8       grasp -- as long as they understand my concepts and I

  9       understand what they're saying, we have a meeting of the

 10       minds and we appreciate how serious a matter this is and

 11       that they get to choose.    This is their life.   They get

 12       to choose.

 13               I often -- I often try to caution people about

 14       who should give them hormones because some of them feel

 15       -- some of them are really naive and -- and they go to

 16       people who I consider to be charlatans who are grandiose

 17       people who think they've invented the ideal treatment

 18       for this.    So I try to warn them.   I try to get them to

 19       conservative, you know, substantial doctors.

 20          Q.   And who do you think those conservative,

 21       substantial doctors who should be administering hormones

 22       are?

 23          A.   Well, I would think that they are

 24       endocrinologists who -- who understand the limits of,

 25       you know, what hormones can do and what the dangers are.




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  1          Q.   Dr. Levine, you described this as a -- this kind

  2       of best outcome as a lasting psychological relationship

  3       with you.

  4               Do you recall using those words?

  5          A.   Yes.

  6          Q.   I'm curious what you mean by "lasting."    How long

  7       do people typically see you for treatment for gender

  8       dysphoria?

  9          A.   Well, it varies from person-to-person.    I have

 10       people who have seen me for years.

 11               I should remind you that in 2011 the Swedes

 12       published a 30-year follow-up of everyone who had sex

 13       reassignment surgery in Sweden, everyone -- which was

 14       the best, most complete study that we had about this.

 15       This was published in 2011.     And the six authors of that

 16       study said that patients after sex reassignment surgery

 17       should have lifelong psychiatric care -- lifelong

 18       psychiatric care.

 19               So that -- that is a pie-in-the-sky kind of

 20       recommendation.     I actually think that it's needed for

 21       many of them, but not all of them.     But it rarely

 22       occurs.     What happens is that when they have crises,

 23       they periodically come back.

 24               But doctors are so busy, you know, that we can't

 25       -- we actually don't have the time to see everyone for




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  1       the rest of their lives.    And patients don't want that

  2       either.

  3               But based on the data of what happened to those

  4       hundreds of people that this group studied in terms of

  5       the frequency of suicide attempts; the frequency of

  6       completed suicide; the presence of psychiatric care; and

  7       their mortality from heart disease, cancer, probably

  8       from HIV infection; there was a very reasonable

  9       conclusion that even after sex -- what they called in

 10       those days sex reassignment surgery people continued to

 11       have psychiatric difficulties.

 12               You see, there are two major reasons why people

 13       would undergo sex reassignment surgery or who would

 14       deliver sex reassignment surgery.    One is to decrease

 15       the gender dysphoria, and two is to improve the mental

 16       and social functioning of the patient.

 17               So the evidence of improved social and

 18       psychological functioning is what is the great

 19       contention here because there's not great evidence that

 20       is -- improves that.

 21               I think we should assume that genital dysphoria

 22       for the majority of people is improved, but not the

 23       psychosocial functioning.

 24          Q.   Dr. Levine, so I take it from your answer that

 25       you believe people with gender dysphoria would benefit




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  1       from lifelong psychiatric care?

  2          A.   I think a lifelong relationship with a mental

  3       health professional -- a trusted, knowledgeable mental

  4       health professional who has the capacity to understand

  5       their lives and -- and their struggles.

  6               This is -- I already told you the limitations of

  7       lifelong psychiatric care.   There are some patients who

  8       recognize that.

  9               But the other aspect of this is:    I've made the

 10       decision.   I'm now living as a woman.     I have certain

 11       new problems I have as a woman.     I don't need a

 12       psychiatrist to tell me what these problems are.     I only

 13       need a psychiatrist when these problems overwhelm me and

 14       I get depressed and I need to have a little, you know,

 15       tune-up, so to speak.

 16               So I have people come to me periodically for

 17       tune-ups.   What their tune-up is, you know -- like, I'm

 18       just thinking of one particular patient.     Their daughter

 19       has become psychotic.    And their daughter hasn't talked

 20       to him in 10 years since he's changed his sex.

 21               So they come to me during crises, you see --

 22       which is fine with me.   I mean, I think that's what my

 23       job is, to understand people's lives and to be -- to

 24       accompany them when they need me.

 25               But I don't need to see everyone once a week for




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  1       the rest of their lives.     Please don't misunderstand me.

  2          Q.   Right.    As I understand your opinion, Dr. Levine,

  3       it's that long-term therapy by -- and I'll use your

  4       words -- a trusted, knowledgeable professional who has

  5       the capacity to understand their lives and their

  6       struggles is something you would recommend for people

  7       with gender dysphoria.

  8               Did I get that right?

  9          A.   Yes, because gender dysphoric people are human

 10       beings.

 11               And I often recommend that for other people, too.

 12          Q.   Certainly.   But particularly given their

 13       struggles, for people with gender dysphoria; correct?

 14          A.   Well, that's what we're talking about today.

 15          Q.   Right.    Okay.

 16               I'm cognizant of your request for a break after a

 17       certain amount of time. So I will get there quite soon,

 18       I promise. Just a few last questions on this topic.

 19               Have you ever, Dr. Levine, in your professional

 20       work approved a patient for hormone therapy?

 21          A.   Yes.

 22          Q.   Okay.    How many times have you done that?

 23          A.   Ms. Bildner, I've been working in this field

 24       since 1974 -- 1973-1974.     I have written letters for

 25       hormone therapy in the 70s and the 80s and 90s and in


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  1       the 10's.

  2               Can I just answer it numerous times?

  3          Q.   Yes.    And I understand from your answer,

  4       Dr. Levine, that you approved many, many patients for

  5       hormones over the course of your career; right?

  6          A.   Yes.

  7          Q.   Okay.    Similarly, have you ever in your

  8       professional career approved a patient for genital

  9       surgery?

 10          A.   Yes.

 11          Q.   Okay.    And how many times have you approved

 12       patients with gender dysphoria for genital surgery?

 13          A.   If I told you 37, could you hear the

 14       tongue-in-cheek sarcasm?

 15               The answer to the question is the same:      Not as

 16       many times as hormones, but I work in a -- for many

 17       years I worked on a committee.     And it wasn't just I who

 18       approved it.     I was the head of the committee or the

 19       co-head of the committee.    And we anguished over this,

 20       and we approved people for surgery -- some of whom

 21       actually had the surgery, some of whom actually deferred

 22       and never had the surgery.

 23          Q.   Okay.    Thanks so much, Dr. Levine.   I think we'll

 24       take a break now.

 25               Let's see, it's 11 o'clock.    Maybe -- is a




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  1       ten-minute break okay with you?

  2          A.   Even a five-minute break would be fine.

  3          Q.   Okay.    I'm happy -- yeah, ten minutes if that's

  4       okay.

  5               MR. BELFORTI:   Ten --

  6               MS. BILDNER:    Yeah, that's fine, we can do a

  7          10-minute break.     So back at 11:10.

  8               (Recess taken at 11:01 a.m.)

  9                                   ---

 10               (Back on the record at 11:14 a.m.)

 11                                   ---

 12       BY MS. BILDNER:

 13          Q.   Dr. Levine, I'd like to talk now about WPATH and

 14       the standards of care.

 15               So what is WPATH?

 16          A.   It's a large international organization that has

 17       evolved since the late 1970s when it was known as the

 18       Harry Benjamin Gender Dysphoria Association.      It was an

 19       attempt to study this new phenomenon of what was then

 20       called transsexualism, trying to understand what is it,

 21       who are these people who are claiming to be transsexual,

 22       and what in the world can we do about them.

 23               It was primarily a study that a group of

 24       international people were -- some surgeons and an

 25       endocrinologist and mostly psychologists and




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  1       psychiatrists who were just trying to figure out what

  2       this new phenomenon was.      It evolved over the years.   It

  3       created brief standards of care and those standards of

  4       care have evolved.       And the current standards of care --

  5       which are quite out of date are the seventh.

  6                The -- it changed its name to the Harry -- to

  7       World -- to WPATH in early -- right after the turn of

  8       the century.

  9                And we're currently waiting for the eighth

 10       edition of the standards of care to be published.       These

 11       standards of care are probably three years overdue.

 12                WPATH has come into considerable criticism for

 13       being biased.       And it has ceased to be simply a

 14       scientific organization.      It is now a -- quote -- both a

 15       scientific and an advocacy organization.

 16          Q.    And WPATH stands for the World Professional

 17       Association for Transgender Health; is that correct?

 18          A.    Correct.

 19          Q.    And the previous name was the Harry Benjamin

 20       International Gender Dysphoria Association; is that

 21       right?

 22          A.    That's right.

 23          Q.    And were you involved with WPATH under its

 24       previous time from the 1970's?

 25          A.    Yes.   And I -- as you probably know, I was the




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  1       chairman of the writing group that created the fifth

  2       edition of the standards of care.

  3          Q.    You were the chairperson of the committee that

  4       offered the fifth edition of the standards of care?

  5          A.    Yes.

  6          Q.    And that was published in 1998?

  7          A.    I think it was 1999.

  8          Q.    Okay.    And the current edition is the seventh

  9       edition you said?

 10          A.    Yes.

 11          Q.    Okay.    And that was published, I believe, in 2011

 12       or so?

 13          A.    I think -- I think in 2013.       But you might be

 14       right.

 15          Q.    Okay.    You mentioned -- well, we've been

 16       discussing the standards of care.       What -- first of all,

 17       what are the standards of care?      Are they protocols?

 18       Are they guidelines?      What are they?

 19          A.    Well, they're guidelines.     And they're the

 20       product of consensus.      And they are -- the current

 21       standing edition I think is 121 pages.         In 1999 the

 22       fifth edition was 21 pages.      So obviously they have much

 23       to say.

 24                The standards of care have again undergone two

 25       very serious reviews, each of which have found them to




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  1       be lacking in scientific merit.

  2              WPATH standards of care are touted by Americans

  3       as -- as science and as what we should all follow.     But

  4       they're not followed, they're viewed with skepticism.

  5              And in part because when -- when medicine creates

  6       standards of care, it's understood that the people on

  7       the committee that create the standards of care have to

  8       be schooled in methodology; they have to be able to be

  9       expert in evaluating studies.

 10              And 30 percent maximum of the people who are

 11       writing standards of care are supposed to be -- or

 12       that's the limit of the number of people who

 13       actually earn their living by providing the care.     But

 14       close to a hundred percent of people who wrote the

 15       standards of care for WPATH earn their living.

 16              And so this is one -- this is only one of the

 17       criticisms of the standards of care.

 18              But so what -- what I'm saying is in lawsuits,

 19       the courts are often told that people are following the

 20       standards of care as though the standards of care are

 21       something chiseled in gold and are scientifically valid.

 22              And one of the criticisms of WPATH is that it's

 23       not scientific.   It's the precedent of how you should

 24       take care of people.   And it's not based on scientific

 25       outcome studies, it's based on what people think is the




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  1       best thing to do even though they don't have evidence

  2       that it's the best thing to do.

  3                So that's what I can tell you generally about

  4       WPATH.

  5          Q.    Okay.    Thank you, Doctor.   Actually, that wasn't

  6       my question at the time.      My question at the time was

  7       simply:    What are the standards of care?

  8                And I believe you answered that they are

  9       guidelines for the treatment of the care -- the

 10       treatment and care of transgender and gender

 11       nonconforming people?

 12                Is that an accurate description?

 13          A.    That's -- that's how they describe it.

 14          Q.    Okay.    You also mentioned that the standards of

 15       care are followed by -- I think you used the word

 16       Americans.

 17                Is it fair to say that Version 7 of the standards

 18       of care is endorsed by the major US medical and mental

 19       health associations?

 20          A.    Yes, it's fair to say that these --

 21          Q.    Okay.

 22          A.    -- larger institutions have trusted WPATH even

 23       though -- the answer to your question is yes.

 24          Q.    Yes, okay.    And is it fair to say that versions

 25       of the WPATH standards of care is endorsed by the




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  1       largest health systems in the United States?

  2          A.   Who are "the largest health systems"?     What do

  3       you mean?

  4          Q.   Sure.     Is it fair to say that Version 7 of the

  5       WPATH standards of care is endorsed by the Department of

  6       Veterans Affairs, for example?

  7          A.   I think -- I think that may be true only

  8       recently.      I'm not certain that's true, though.

  9          Q.   Is it fair to say that Version 7 of the WPATH

 10       standards of care is endorsed by the Federal Bureau of

 11       Prisons?

 12          A.   Again, I'm not absolutely certain about the

 13       answer, but I think the answer might be true.

 14               Lots of institutions, like, hide behind the fact

 15       that they follow the standards of care even though

 16       they're not exactly sure what the standards of care are.

 17          Q.   And is it fair to say, Dr. Levine, that Version 7

 18       of the WPATH standards of care is endorsed by the

 19       National Commission on Correctional Healthcare?

 20          A.   I'm not aware either way about that.

 21          Q.   Okay.     I gather that you have many criticisms of

 22       the standards of care; right?

 23          A.   Yes.

 24          Q.   And you mentioned, among other things, that you

 25       don't think they're based in -- Version 7 you don't




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  1       think is based in science; is that correct?

  2          A.   Insufficiently based on science.

  3          Q.   In your opinion was Version 5, the version that

  4       you chaired, based sufficiently on science?

  5          A.   Oh, no.   That's exactly the point.   You see, I

  6       was in the room where it happened.    I was writing the

  7       standards of care.    I know what the processes were by

  8       which things got written.

  9               They did not -- they did not -- we did not review

 10       critically current science.    We just thought what was

 11       the best thing that -- what could we say about this

 12       based on our clinical experience.

 13               We had a few studies that we never looked at in

 14       great detail that we sort of -- the committee of eight

 15       people thought that this study showed that.    And we --

 16       we never looked into the limitations of those -- of that

 17       work in any close way.

 18               And so I tell you based on the work that we did

 19       over those two years to produce that -- to produce that

 20       document, that this was not what I consider to be the

 21       result of careful examination of existing literature and

 22       recognition of what is missing from our literature.

 23               So I do not claim that my work on the standards

 24       of care -- and I want you to know I -- I approved and

 25       actually authored almost all the symptoms in the fifth




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  1       edition just because it's hard for eight people to write

  2       things.

  3               Anyway, it is not -- it was not -- it was a

  4       well-intentioned international group of different

  5       disciplines trying to put together guidelines that would

  6       be useful to families and useful to patients and useful

  7       for doctors, but it certainly was not based on outcome

  8       studies.    It certainly was not based on longitudinal

  9       follow-up of anybody.

 10               And so I need to tell you that when -- when it is

 11       represented as scientific, I always smile because not

 12       only have I read the standards of care at various times,

 13       but I was involved, as I said, in the room where it

 14       happened and I know it was not a -- is what I would call

 15       a scientific process.

 16               Now, please understand, this was almost 25 years

 17       ago.    And my understanding of what science is and

 18       what -- how science works is very different today.       I'm

 19       far more knowledgeable today about the methods of

 20       science than I was in 1997, 1998, 1999, as I'm sure

 21       everyone else is, too, hopefully.

 22          Q.   Again, Dr. Levine, let's tease out a few of the

 23       things that you said.

 24               So when it comes to the fifth edition of the

 25       standards of care, you said you authored nearly every




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  1       word of those standards?

  2          A.   Yes.    I was the editorial, yes.

  3          Q.   And you, therefore, approved every word of the

  4       fifth edition of the standards of care?

  5          A.   Yes.    It had to pass through my -- yes, it had to

  6       pass through me.

  7          Q.   And I assume you also facilitated the

  8       distribution of the fifth edition of the standards of

  9       care?

 10          A.   Well, I presented it to the Board of trustees of

 11       the executive committee, and they did that.

 12          Q.   Okay.    You never resigned your position as

 13       chairperson of the committee?

 14          A.   No, no.    I resigned several years later.

 15          Q.   And that was in approximately 2001?

 16          A.   Approximately.     I don't remember exactly.

 17          Q.   You resigned your membership in WPATH?

 18          A.   It probably was HBIGDA then, yeah.

 19          Q.   You resigned your membership in WPATH or --

 20          A.   Whatever it was.

 21          Q.   -- whatever it was.    Yes?

 22          A.   Yeah.

 23          Q.   Okay.     You stopped going to WPATH conferences?

 24          A.   I stopped -- Let's see, the last one I attended

 25       was in Galveston.     And that probably was 2002 or




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  1       something like that.

  2          Q.   So about 20 years ago you stopped going to WPATH

  3       conferences?

  4          A.   Yes.

  5          Q.   And you're not currently a member of WPATH?

  6          A.   No.

  7          Q.   And you haven't been for 20 years at least?

  8          A.   That's right.

  9          Q.   Okay.    You mentioned that the current -- you

 10       mentioned that the current version of the standards of

 11       care is Version 7?

 12          A.   Yes.

 13          Q.   Have you read Version 7?

 14          A.   Oh, probably -- not recently.

 15          Q.   When did you read Version 7?

 16          A.   Numerous times, but parts; you know, I didn't

 17       read 121 pages at once.

 18          Q.   So you've never read completely Version 7?

 19          A.   Oh, yes, I'm sure I have completely read

 20       Version 7.

 21          Q.   At various points --

 22          A.   At various points.

 23               THE REPORTER:    I'm sorry.   You can't speak

 24          over each other.

 25               THE WITNESS:    The answer is at various




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  1          points I've read -- I read Version 7.

  2       BY MS. BILDNER:

  3          Q.   Okay.    Do you use the standards of care in your

  4       own clinical practice?

  5          A.   Aspects of the standards of care.

  6               You see, the standards of care no longer require

  7       a mental health professional to evaluate a person.       This

  8       is deeply offensive to me.     This is against my

  9       understanding of what good care consists of.

 10               So in a sense there are a few ideas in the

 11       standards of care which I don't believe in.       And so the

 12       answer to your question is yes and no.

 13          Q.   You said you used aspects of the standards of

 14       care in your own clinical practice?

 15          A.   Yes.

 16          Q.   Aside from the WPATH standards of care are there

 17       competing or other standards of care for the treatment

 18       of transgender people?

 19          A.   Well, Sweden has just initiated a new standard of

 20       care.   Denmark within the last year has issued a

 21       different standard of care.

 22               There are organizations in Europe and the United

 23       States -- for example, there's something called US Path

 24       United States, you know, WPATH just for the United

 25       States.   And these various organizations and these




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  1       various countries have their own variations of the

  2       standards of care.     I'm not familiar -- I'm not familiar

  3       with each of those.

  4               But WPATH is not the only organization that

  5       proposes to create guidelines for the handling of these

  6       things.

  7               "Guidelines" really means that in general you

  8       should think about these things, Doctor, but you have to

  9       understand that people's individual lives are different

 10       from one another.      And so these guidelines are to be

 11       modified based on your clinical judgment, which is based

 12       upon the unique situations of this patient's life

 13       circumstances.

 14               So it's really important to understand the

 15       difference between a protocol and a guideline.      You see,

 16       there's a protocol for how to do heart surgery, step

 17       one, step two, step three.     A guideline is a looser

 18       concept about the doctor having an opinion based upon

 19       ideally science and an appreciation of the unique needs

 20       of the patient.

 21          Q.   Okay.    Dr. Levine, I'd like to move on now and

 22       just talk about your work -- your previous work as an

 23       expert witness.

 24               MS. BILDNER:    I think I'll share my screen.

 25               And I'd like to mark this document as




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  1          Exhibit 1.     So give me one minute to do that.

  2               (Plaintiff's Exhibit 1, CV of Dr. Levine,

  3          was marked for identification.)

  4               MS. BILDNER:    Is everyone seeing the CV on

  5          Stephen B. Levine, M.D. on their screens?

  6       BY MS. BILDNER:

  7          Q.   Dr. Levine, can you see that?

  8          A.   I do.

  9          Q.   And is that, in fact, your most recent CV?

 10          A.   Yes.

 11          Q.   Okay.    So let's mark this, please, as Exhibit 1.

 12               Dr. Levine, I'm on Page 4 of your CV.      Do you see

 13       that?

 14          A.   Yes.

 15          Q.   Okay.    And you have two sections here.   You have

 16       a section titled, Expert Witness, Appearances, and then

 17       a little bit later a section titled, Expert Witness

 18       Activities.

 19               Do you see that?

 20          A.   Yes.

 21          Q.   What's the difference between -- what's the

 22       difference, if any, between Expert Witness Activities

 23       and Expert Witness Appearances?

 24          A.   This is probably a reflection of my lack of legal

 25       sophistication.     Probably there is little difference.




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  1       It seems to me that when I testified at the Legislature,

  2       that was not the same thing as in testifying about a

  3       particular case, and so I separated that.

  4          Q.   Okay.

  5          A.   And in the interest of younger children, I was

  6       not talking about or advising The Court on how to take

  7       care of a particular child; I was advising The Court on

  8       the state of knowledge in this area.

  9          Q.   Okay.    Well, under Expert Witness Appearances,

 10       you list, I guess, five different cases in which you've

 11       appeared as an expert witness; is that right?

 12          A.   Yes.

 13          Q.   You list Kosilek, Battista...

 14          A.   Yeah, I know.    I see what you're talking about.

 15          Q.   Okay.    So those are cases in which you have

 16       appeared as an expert witness?

 17          A.   Yes.

 18          Q.   Okay.    But this isn't a complete list of your

 19       work as an expert witness, is it?

 20          A.   Well, it's incomplete in that there are some

 21       pending cases that I have not yet appeared in

 22       deposition.

 23          Q.   Okay.    And there are also some past cases that

 24       don't seem to be on this list; is that right?

 25          A.   I don't know if -- you know, you might be able t




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  1       correct me.

  2          Q.   Sure.    For example, there was a case called

  3       Norsworthy out of California that doesn't appear on this

  4       list, does it?

  5          A.   Oh, I don't know.    Does it?

  6               I may have corrected it.    I was -- I never -- I

  7       was not an expert witness in the Norsworthy case.       I

  8       submitted an expert opinion; but I was never a witness

  9       in a deposition, I don't believe.

 10          Q.   Okay.    You also were involved in a case called

 11       Fuller out of Massachusetts; right?

 12          A.   Oh, yes.    Was I deposed on that?

 13          Q.   Well, that case doesn't appear either in Expert

 14       Witness Appearances or activities, does it?

 15          A.   Well, if it doesn't, it doesn't.

 16          Q.   I think recently you were also involved in a case

 17       called Claire versus Florida Department of Management

 18       Services.

 19               Do you remember that?

 20          A.   I've been involved in several things in Florida.

 21       One did not involve an expert witness or even a

 22       written...

 23               So I think I've been involved in at least two

 24       things in Florida.     And I did have an expert -- I did

 25       have a deposition.     And I didn't -- I don't have that in




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  1       there?

  2          Q.    No.     So you recall being deposed in December 2020

  3       in a case called Claire v. Florida Department of

  4       Management -- or the Florida Department of Management

  5       Services?

  6          A.    I don't -- I don't recognize the name.    But I do

  7       recognize that I was deposed --

  8          Q.    Okay.

  9          A.    -- yes.

 10          Q.    Okay.

 11                MS. BILDNER:    Counsel, I'll just ask for a

 12          complete list of cases in which Dr. Levine

 13          testified or was deposed as a witness as

 14          required by -- in the previous four years as

 15          required by the rule.      I don't believe this list

 16          is complete.

 17       BY MS. BILDNER:

 18          Q.    Dr. Levine, I'm going to go to the -- a little

 19       bit later in your -- I'm sorry -- resumé.

 20                I apologize.    No, a little bit earlier in your

 21       resumé under the heading Consultancy.

 22                Do you see that?

 23          A.    Yes.

 24          Q.    And you list several evaluations of inmates.

 25                Do you see those?




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  1          A.   Yes.

  2          Q.   And so the Virginia Department of Correction

  3       evaluation of an inmate, that was Ophelia De'Lonta's

  4       case; right?

  5          A.   Yes.

  6          Q.   And that New Jersey evaluation of an inmate, that

  7       was Michelle Angelina's case?

  8          A.   Yes.

  9          Q.   Okay.    You then note that you were a -- well, you

 10       just say:      Expert witness reports to lawsuits in Idaho,

 11       Wisconsin, and the UK in 2020.

 12               Do you see that?

 13          A.   Can you scroll down to it?

 14          Q.   Sure.    It's under an X --

 15          A.   Oh --

 16          Q.   -- Consultancy --

 17          A.   -- yeah, Idaho.     So yes, I gave a workshop to the

 18       mental health professionals in Idaho.      And I support --

 19       I submitted an -- expert opinion reports in those

 20       states, yes.

 21          Q.   Do you recall what those lawsuits were?

 22          A.   Well, the UK was the Keira Bell case.     You are

 23       probably familiar with that case.

 24               The Wisconsin case involved a school where -- it

 25       had to do with the school board's policy of changing the


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  1       name of a child and not telling the parents.       That is,

  2       it was -- the parents brought suit about the fact that

  3       the school was making medical decisions and socializing

  4       their child in the opposite gender and they refused to

  5       -- without informing the parents.

  6                And the Idaho case had to do, I believe, with

  7       athletics.

  8          Q.    Okay.    I'm going to stop sharing my screen for a

  9       moment.

 10                Dr. Levine, a number of the lawsuits that you

 11       were involved in involved people in prison; is that

 12       right?

 13          A.    Yes.

 14          Q.    Okay.    More specifically, they involved people in

 15       prisons' access to treatment for gender dysphoria; is

 16       that correct?

 17          A.    Yes.

 18          Q.    Okay.    And, I mean, actually, I'll refer to the

 19       cases that you've done involving incarcerated people's

 20       access to treatment for gender dysphoria as prison

 21       cases; okay?

 22          A.    Okay.

 23          Q.    And in every prison case you've worked on behalf

 24       of a prison system; right?

 25          A.    Yes.    The Department of Correction hired me to do




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  1       an evaluation.

  2          Q.    Right.    You've always been hired by the

  3       Department of Correction in those cases?

  4          A.    That wasn't the question.    But I think I -- if

  5       that was the question, yes.

  6          Q.    Yes, okay.

  7                And in every prison case you have opined that

  8       social transition was not medically necessary; is that

  9       right?

 10          A.    No, that is not right.

 11          Q.    There are cases -- prison cases in which you've

 12       opined that social transition was medically necessary?

 13          A.    Notice your question is talking about "social

 14       transition."

 15                No, that really wasn't the question here in those

 16       cases.

 17          Q.    Okay.

 18          A.    So I mean --

 19          Q.    Have you ever had a case in which the issue of

 20       social transition was contested?

 21          A.    In the Virginia case the question is:       Could I

 22       provide a pathway for a sex reassignment surgery for

 23       this prisoner?

 24                The person had already socially transitioned.         It

 25       wasn't a question of social transition.




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  1               In the New Jersey -- Was it the New Jersey

  2       case? -- there was a very, extremely deteriorated human

  3       being who was violent and emotionally distraught and

  4       unable to function.     And the question is:     Could we ever

  5       get this man into a better mental state in order to

  6       consider his request to get special accommodations for

  7       what he says is his transgender state?

  8               But the man's behavior was so out of control that

  9       it made -- the real question is:     What could we do to

 10       help this man settle down a little bit and not have to

 11       be caged and being interviewed naked and being protected

 12       from violent -- having the staff being protected from

 13       violence?

 14               So just those two examples is just -- that's why

 15       I say it's not about social transition.        It's about --

 16          Q.   And so --

 17          A.   -- it's far more complicated than that, yeah.

 18          Q.   Okay.    In the Keohane case out of Florida did you

 19       testify that social transition was medically necessary?

 20          A.   That case was about hairstyle and --

 21               THE REPORTER:   Excuse me?   You said

 22          "hairstyle"?

 23               THE WITNESS:    Hair.   Yes, the length of hair

 24          that this young man was -- who was a

 25          trans person was allowed to have because of his




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  1          trans identity.

  2                And so, you know, medical -- medical

  3          necessity is not usually applied to the idea of

  4          the length of hair.    So I discussed and

  5          recommended that the person could.      You know, we

  6          had to examine the rules in -- in prison to

  7          accommodate these matters.

  8                I object to the term "medical necessity" for

  9          lots of different things.    I find it a

 10          rationalization that is not based upon the usual

 11          tradition of medical necessity.

 12                So I guess the answer to your question is:

 13          I don't know if I can answer your question.

 14       BY MS. BILDNER:

 15          Q.    So in other words, Dr. Levine, you said you would

 16       object to the definition of medical necessity, right?

 17          A.    Yes.

 18          Q.    It's just a yes-or-no question.   Do you -- you

 19       object to the definition of medical necessity in these

 20       cases?

 21          A.    We're only talking about this case, the Keohane

 22       case.    We're not talking about in general and in all

 23       circumstances.

 24          Q.    And in the Keohane case you did not say that

 25       social transition -- in this case hair -- was medically




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  1       necessary; right?

  2          A.   May I ask you to rephrase the question without

  3       using --

  4          Q.   Sure.

  5          A.   -- without using "social transition"?

  6          Q.   Okay.

  7          A.   This is not a case about social transition.     That

  8       person already was socially transitioned.      You see, it

  9       wasn't about social transition.

 10               I think you and I have different concepts of the

 11       meaning of that term.

 12          Q.   Okay.

 13          A.   And so I --

 14          Q.   Well --

 15          A.   -- it's really hard for me to answer your

 16       question because of that.

 17          Q.   What do you mean by "social transition"?

 18          A.   I would like to ask you what you mean by "social

 19       transition"?

 20               If a person is in prison and he's treated as

 21       though he's a trans person and is a trans female

 22       prisoner, that's social transition.

 23          Q.   Okay.     Dr. Levine, in all of your work on prison

 24       cases you have never said that hormones are medically

 25       necessary, have you?




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  1          A.   I have gone along with the staff who -- who uses

  2       that term.

  3               I have given my blessing to giving hormones to

  4       people.    I think it is -- it is useful for the person

  5       given what they want and given their consistency of

  6       their identity.

  7               And so when my staff -- or that I'm the

  8       consultant for uses the term "medical necessity," I

  9       explain to them my understanding that this may be

 10       helpful to the person; and, therefore, I agree that it's

 11       okay for them to use the words "medical necessity."

 12               I personally like to have a much more refined use

 13       of that.   I like to have -- to clarify what I mean by

 14       "medical necessity."

 15               And I don't accept the fact that anybody who

 16       wants anything for their trans state is -- is medically

 17       necessary, you see.    So I --

 18          Q.   Do you --

 19          A.   -- object to the glib use of the term "medical

 20       necessity."   And I substitute the judgment that in this

 21       particular case would -- for example, hormones -- be

 22       useful psychologically to this person.   And I often

 23       think it might be useful psychologically to this person.

 24               You must be aware that I am aware that in the

 25       long run there's no strong evidence that hormones




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  1       increases social and mental health.    But it is useful

  2       psychologically because the person wants it, because the

  3       person feels deprived of it, because the person feels

  4       better upon swallowing the first pill.    There is an

  5       improvement in their psychological state.

  6               So I just try to translate the concept of medical

  7       necessity into a more honest expression that I believe

  8       clinically as a doctor that this will be beneficial in

  9       the short run to the person.

 10               And I'm interested in benefitting people, you

 11       see.    I'm not a hard-hearted person who -- I'm trying to

 12       help people, you see.    And so I think this is

 13       psychologically beneficial.    And so I say yes.

 14               I just don't like the term "medical necessity."

 15       Because I --

 16          Q.   You prefer the terms useful psychologically or

 17       psychologically beneficial; is that right?

 18          A.   That's right.

 19          Q.   Is there any difference between the term useful

 20       psychologically and psychologically beneficial?

 21          A.   Not to me.

 22          Q.   So given your dislike of the term medically

 23       necessary you have never in a prison case said hormones

 24       were medically necessary, have you?

 25          A.   I think I just explained the answer to that




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  1       question.

  2          Q.   The answer is no?

  3          A.   No, the answer is yes and no.    It is not no.

  4               If I as the consultant say that yes, I agree that

  5       this is medically necessary, my people understand what I

  6       mean by that, you see.

  7               So I have assented to giving hormones as a

  8       medical necessity because in Massachusetts -- which is

  9       the most liberal place in the world for transgender

 10       treatments -- the people that I work -- who work in the

 11       gender team, they actually believe these concepts.

 12               I'm an educator there.   And I slowly help them

 13       establish a little more sophistication about -- about

 14       these matters.

 15          Q.   Dr. Levine, have you ever said that genital

 16       surgery was medically necessary for a person in prison?

 17          A.   The answer to that question is exactly the answer

 18       to the previous question.

 19          Q.   So you have never used the term "medically

 20       necessary" for a person in prison --

 21          A.   That is not true.

 22          Q.   I'm sorry, I didn't finish the question,

 23       Dr. Levine.

 24               My question was:    You have never described

 25       genital surgery for someone in prison as medically




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  1       necessary?

  2          A.   The answer to that question is yes and no.    It is

  3       the same answer to the question that -- about hormones.

  4               I believe genital surgery can be beneficial

  5       psychologically to select people.    It's because of that

  6       that I allow the letters to be written and I sometimes

  7       co-sign and that uses the term "medical necessity."

  8               I'm not fighting everyone in the universe about

  9       this.   I'm just trying to educate people about the

 10       psychological aspects of this very complicated subject.

 11          Q.   Let me use your term then.   Have you said ever in

 12       a prison case that genital surgery would be

 13       psychologically beneficial --

 14          A.   Yes.

 15          Q.   -- to a person?

 16               What case?

 17          A.   Kosilek.

 18          Q.   And Ms. Kosilek did, in fact, receive genital

 19       surgery; correct?

 20          A.   Correct.

 21          Q.   But you didn't say that Ms. Kosilek would benefit

 22       from genital surgery at the outset of that case, did

 23       you?

 24          A.   In 2006?

 25          Q.   In 2006?




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  1          A.   Yes.    I didn't exactly say that what you've

  2       quoted.   I opined that the treatment that she was

  3       receiving in prison was sufficient.

  4          Q.   Exactly, okay.     When was the last time that you

  5       worked on a case involving an incarcerated person's

  6       access to treatment for gender dysphoria other than this

  7       one?

  8          A.   Probably in November or December of 2021.

  9          Q.   Okay.    What case was that?

 10          A.   That was in Suffolk County, which is in the

 11       Boston area.     And I think the -- Am I allowed to tell

 12       you the name?

 13          Q.   Well, I can't answer that question for you,

 14       Dr. Levine.

 15          A.   Is that allowed?

 16          Q.   If you've been disclosed as an expert in that

 17       case, then -- then sure.

 18          A.   I mean, it's not -- it's not been a legal thing.

 19       There's no legal thing.     And, you know, I did this -- I

 20       was asked to evaluate an inmate, and I did.

 21          Q.   Is that in your role with the Massachusetts

 22       Department of Correction?

 23          A.   Well, that's a very complicated thing because the

 24       Massachusetts Department of Correction has farmed out

 25       its mental health care to a company called Wellpath.




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  1       And Wellpath is a national organization and works in

  2       many prisons.     And one branch of what they do is hire me

  3       to be the consultant that we -- you and I -- we've

  4       already discussed.

  5               And another branch of Wellpath hired me to

  6       evaluate this prisoner in Suffolk County jail.

  7               And there's another branch of Wellpath in

  8       California that is trying to figure out whether they

  9       want to have me come and evaluate one of their

 10       prisoners.     It's not the same branch of Wellpath.

 11       Although it's part of the national organization of

 12       Wellpath.

 13          Q.   Dr. Levine, aside from your prison cases, would

 14       you agree that some of the expert witness work you've

 15       done involves disputes about access to gender dysphoria

 16       treatment for adolescents and children?

 17          A.   Yes.

 18          Q.   And what side are you working on in those cases?

 19          A.   I'm working on presenting the basis of science.

 20       I don't really consider myself -- I mean, I -- you would

 21       consider myself on a side because I'm working for, you

 22       know, like, an Attorney General.    But what I consider

 23       myself to be doing is representing the state of science

 24       on -- in this field.

 25               I don't -- I don't actually feel like I'm against




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  1       this or for that.    I'm trying to represent what science

  2       knows and make a distinction between what practice is

  3       and what science knows.    In that sense, that's what my

  4       role is.

  5               And I think the Attorneys General know that's

  6       what my role is.

  7          Q.   Let me rephrase the question then, Dr. Levine.

  8               In your work in disputes about access to gender

  9       dysphoria treatment for adolescents who hires you?

 10          A.   I think -- I think a governmental agency hire me.

 11          Q.   And would you agree that others of your current

 12       cases or cases in which you've worked as an expert

 13       involved disputes about insurance coverage for gender

 14       dysphoria treatment?

 15          A.   Yes.

 16          Q.   And who hires you in those cases?

 17          A.   Well, again, sometimes an individual law firm

 18       hires me; but they are paid by an insurance company.

 19          Q.   Okay.

 20          A.   So I guess the answer is both the attorney and

 21       the insurance company, because I presume that the

 22       insurance company has to approve my being hired.

 23          Q.   So you're hired by insurers indirectly or

 24       directly, yes?

 25          A.   Yes.




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  1          Q.    Okay.    Now, let's talk about your work as an

  2       expert witness in this case.

  3                So you have been retained as an expert witness by

  4       the Connecticut Department of Correction here; is that

  5       right?

  6          A.    By the Attorney General's office.

  7          Q. Okay. And the Attorney General's office -- is it

  8       your understanding that the Attorney General's office is

  9       representing the Defendants in this case?

 10          A.    Yes.

 11          Q.    Okay.    Did you enter into a written agreement to

 12       provide services in this case?

 13          A.    Yes.

 14          Q.    And when?

 15          A.    I don't exactly -- I don't exactly remember.     But

 16       since my -- it probably was 2019.      Let me just go with

 17       2019.

 18          Q.    What were you hired to do in this case?

 19          A.    To evaluate the -- this prisoner because this

 20       prisoner was causing a great deal of distress in the

 21       system, and they wanted to know what I thought should be

 22       done about this particular problematic inmate.

 23          Q.    And when you say "this prisoner," what is the

 24       name of the prisoner in this case?

 25          A.    Well, now, the name of the prisoner is


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  1       Veronica-May Clarke.

  2          Q.   Okay.    Were there any particular questions you

  3       were asked to address in your work in this case?

  4          A.   Well, it was to create an approach to managing

  5       this person.     The person, I think, requested ten

  6       different forms of intervention in a very demanding way;

  7       and was submitting grievances left and right.

  8               And so I guess the simpler question, the most

  9       important question was:     Is this person a candidate now

 10       or in the future for a genital surgery or any of the

 11       surgeries that he requested -- or she requested?

 12          Q.   Dr. Levine, I noticed that sometimes when

 13       referring to transgender women, you used the pronoun

 14       "he."   Have I heard that correctly?

 15          A.   Yes.    This is a -- if you notice in my report, I

 16       -- unlike Dr. Brown, who wants to always refer to the

 17       currently trans-identified person in their current

 18       pronoun or preferred pronoun -- I believe that that's a

 19       distortion of reality.

 20               And I -- once a person has declared their trans

 21       identity, I try very much to refer to them respectfully

 22       -- as in this case a she or her.

 23               But I can't control entirely my -- my unconscious

 24       mind, and that I remember this person who's lived most

 25       of that person's life as a male; and sometimes my mind




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  1       -- my mouth -- the wrong pronoun comes out -- about

  2       which I apologize.

  3               But you need to understand that Dr. Brown and I

  4       disagree about the political correctness and the wisdom

  5       of referring to somebody as a three-year-old she when at

  6       age three the person acted like, was perceived of, and

  7       conceived of himself as a male.

  8               So that's just the difference between Dr. Brown

  9       and myself.     I know he always imputes me, imputes my

 10       knowledge and my competence because I sometimes slip.

 11               And if, in fact, if I write a 20-page report and

 12       I use the wrong pronoun sometimes; well, that's not

 13       evidence that I'm a barbarian in my view.        It is

 14       evidence that I -- I'm not a very good copy editor.

 15               So you are right, in answer to your question,

 16       that I sometimes slip up and use the wrong pronoun.

 17          Q.   But you noted that once someone announces a

 18       transgender or gender identity, you try to use the

 19       pronouns that that person requests; is that right?

 20          A.   Yes.    And I believe that you do too.

 21          Q.   Sure.    And why do you do that, Dr. Levine?

 22          A.   Well, because I know it hurts their feelings when

 23       they are -- quote -- misgendered.     So I try to -- I'm

 24       trying to be helpful to people.     I'm not trying to

 25       insult them.




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  1               So, you know, I think I -- I think my errors are

  2       primarily in deposition and they're primarily on the

  3       printed page.      As I said, copy editing is not my

  4       strength.

  5               And I try as best I can when I am talking to a

  6       person, to respect their current gender identity.

  7          Q.   Are you finished with your answer, Dr. Levine?

  8          A.   I'm finished.

  9          Q.   And when working with -- you said you often train

 10       younger mental health professionals; is that correct?

 11          A.   Yes.

 12          Q.   And when working with them, you try to train them

 13       to use the correct pronouns for people who are

 14       transgender today?

 15          A.   They know that.    I don't have to give a lecture

 16       on this.    I don't really -- they don't -- they don't

 17       often make a mistake.

 18          Q.   They already know to do that --

 19          A.   Yes.

 20          Q.   -- as knowledgeable mental health professionals;

 21       correct?

 22          A.   Correct.

 23          Q.   Okay.    We were talking -- my original question,

 24       Dr. Levine, was about what you were hired to do in this

 25       case.




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  1               Did you agree to treat Ms. Clarke?

  2          A.   No.     I think I agreed to outline a pathway of

  3       treatment for other people to do, to conduct.

  4          Q.   How so?

  5          A.   Well, you know, Ms. Clarke was a problematic

  6       inmate.   And they -- and they needed to know how to

  7       approach this problem of gender dysphoria and the

  8       request for surgery.

  9               And so at the end of my report I provided some

 10       guidelines.

 11          Q.   So you see yourself -- you see your function here

 12       in addition to providing an expert opinion to the

 13       attorneys as providing recommendations for a course of

 14       treatment for Ms. Clarke?

 15          A.   I gave some general recommendations for how they

 16       can approach this over time and eventually make a

 17       decision about what to do about the request for surgery.

 18          Q.   And you did that in the context of your expert

 19       report in this case?

 20          A.   I did.

 21          Q.   Did you do that outside the context of your

 22       expert report in this case?

 23          A.   I don't understand that question.

 24          Q.   Well, do you have an ongoing role --

 25          A.   No --




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  1             Q.   -- in recommending -- Sorry, let me just finish

  2       my question for the record.

  3                  Do you have an ongoing role in providing

  4       recommendations for the course of treatment for

  5       Ms. Clarke?

  6             A.   No.     I did a one-time report.   And I haven't been

  7       involved since.        No one has asked me to be involved

  8       since.

  9             Q.   Okay.    And aside from your expert witness role in

 10       this case have you ever been hired by the Connecticut

 11       Department of Correction to do any consulting work?

 12             A.   I don't think so.

 13             Q.   Okay.    So I'd like to discuss the records that

 14       you reviewed for your work in this case.         I'm going to

 15       go ahead and share my screen once again.

 16                  Are you able to see that, Dr. Levine?

 17             A.   Yes, I can see it.

 18             Q.   Okay.    This is a document that we received

 19       titled:      Dr. Levine List of Cases, Exhibits, and Fee.

 20                  MS. BILDNER:    I'd like to mark this document

 21             as Exhibit 2.     It's a two-page document.

 22                  (Plaintiff's Exhibit 2, Dr. Levin List of

 23             Cases, Exhibits, and Fee, was marked for

 24             identification.)

 25       ///




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  1       BY MS. BILDNER:

  2          Q.   Now, Dr. Levine, what -- well, first of all, did

  3       you author this document?

  4          A.   I don't recognize the document.      Obviously, it's

  5       mine.

  6               Can you scroll down?      What is this?

  7          Q.   Sure.

  8          A.   Is this the beginning of my report?

  9          Q.   No.     This is a separate document that we received

 10       from opposing counsel.     Again, it's titled:    Dr. Levine

 11       List of Cases, Exhibits, and Fee.

 12          A.   Oh, okay.    All right.   I forgot that I wrote

 13       that.   But I wrote it.

 14          Q.   You wrote this; okay.     So where it says,

 15       Respectfully submitted, Stephen B. Levine, M.D., you did

 16       write this document; right?

 17          A.   Yes.

 18          Q.   Okay.    And so what is this document?

 19          A.   Well, as of the date that I wrote that, it was my

 20       summary of all my legal involvements and of the things

 21       that I reviewed for the -- for the Veronica-May case.

 22          Q.   Okay.    I'm going to scroll back up to page -- I'm

 23       sorry, the beginning of Page 2 of this document.

 24               No. 10 says:    Jonas.lettocourt.pdf.

 25               Do you see that?




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  1          A.   Yes.

  2          Q.   What is that document?

  3          A.   I have no idea.    You need to understand that I

  4       have --

  5          Q.   And I --

  6          A.   -- I have not -- I have not reviewed what I

  7       reviewed to write that report in -- for many -- for a

  8       very long time.

  9               I could pull it up and I could answer questions

 10       about it, but right now I don't know, what it is.

 11          Q.   Okay.    I'm just going to go back up to the top of

 12       this document.     The date of this document is

 13       18 April 2021.

 14               Do you see that, Dr. Levine?

 15          A.   Yes.

 16          Q.   So I take it to mean that you wrote this document

 17       on April 18th of 2021?

 18          A.   I presume so.

 19          Q.   Going back to the heading, All Documents Read Or

 20       Referred to in My Report, do you see that on the bottom

 21       of Page 1, Dr. Levine?

 22          A.   Yes.

 23          Q.   Okay.    So there appear to be -- I'm going to

 24       scroll down -- 19 items in that list; is that right?

 25          A.   Yes.




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  1          Q.   Okay.    And of the 19 items under this heading

  2       many are records related to Veronica-May Clarke;

  3       correct?

  4          A.   Yes.

  5          Q.   For example, Clarke EHR, which is No. 2; Clarke

  6       Gender Management Plan, No. 4.

  7               Do you see those?

  8          A.   I see them.

  9          Q.   Okay.    And some of the items on this list are, I

 10       would say, external references to scholarly articles and

 11       the like.

 12               Do you see some of those?

 13          A.   Yes.

 14          Q.   Okay.    So I take it that these are the sources

 15       that you used in writing the expert report in this case?

 16          A.   I think these are the sources that I may have

 17       quoted in the report.

 18          Q.   Okay.    Did you rely on or consider any other

 19       sources in writing your expert report in this case other

 20       than the 19 items in this list?

 21          A.   That's a very difficult question to answer

 22       because, as you know, I've been involved in this subject

 23       material for many years and I can't -- I don't -- I

 24       can't recall at any given time many of the probably

 25       thousands of articles that I've read to influence my




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  1       opinions.

  2                  So in -- particular in writing the report I'm

  3       making a specific point.        And if there is a modern paper

  4       that supports that point or refutes that point, you

  5       know, I may quote it.

  6                  So I hope my answer has just explained why it's

  7       so difficult for me to answer your question yes or no.

  8             Q.   Okay.    So I take it from your answer this is not

  9       the definitive list of sources that you relied on or

 10       considered in writing your expert report in this case?

 11             A.   Again, the answer to your question is yes and no.

 12                  I'm sorry, I can't -- I can't simply agree with

 13       some of these terse statements that you're making just

 14       because I find that my knowledge base is not confined to

 15       four articles.        And -- and I don't always know exactly

 16       what article and when that article shaped my opinion.

 17                  That's the best I can answer your question.

 18             Q.   Okay.    So of the articles that you, I guess,

 19       chose to include on this list -- I see by my count six

 20       external references; is that right?

 21                  And I can list them if that's helpful.

 22             A.   Yes.    But No. 16 is, in fact -- say, 7, 8, 9 --

 23       is -- No. 16 has nine different references embedded in

 24       it.

 25             Q.   Sure.    So you considered in writing your expert




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  1       report your own article from the Journal of the American

  2       Academy of Psychiatry and Law from 2016.      You considered

  3       this Boyer article from 2021, the Kalin letter, and

  4       other letters involved in the correction to the

  5       Bränström and Pachankis article, the Dhejne article, the

  6       Swedish dataset, and then the CMS final decision memo

  7       from 2016.

  8                Am I correctly noting all of the external

  9       references you considered?

 10          A.    Yes.

 11          Q.    And I guess the CMS decision memo is listed

 12       twice, it looks like, in No. 9 and No. 19; is that

 13       right?

 14          A.    Oh, right, right.

 15          Q.    That's the same document; correct?

 16          A.    It's the same document.

 17                It's an example of my copy editing skills.

 18          Q.    So again, that looks like a total of six external

 19       references that you consulted in writing your expert

 20       report; right?

 21          A.    If you consider No. 16 to be one.

 22          Q.    Sure.    And then there are records specific to

 23       Ms. Clarke; correct?

 24          A.    Yes.

 25          Q.    Did you review any materials in preparation for




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  1       writing your expert report other than those listed here

  2       with regards to Ms. Clarke?

  3          A.   I don't think so.

  4          Q.   Okay.    And have you reviewed any additional

  5       documents related to this case since your report was

  6       written in June 2020?

  7          A.   June 2020 is a long -- was a long time ago.     And

  8       since that time I've been deeply involved in the

  9       literature of this whole field -- primarily with younger

 10       people -- in trans matters.

 11               And so the answer to your question is yes, I have

 12       reviewed many articles since that time.     To what extent

 13       they actually apply to this case is unclear.      But there

 14       are some in terms of understanding the limitations of

 15       what we know about the psychological benefits or the

 16       lack of knowledge of psychological benefits of gender

 17       reassignment surgery, it bears some kind of relationship

 18       to this case.

 19               So in terms of the rapidity of knowledge --

 20       acquisition of knowledge in this field, my report on --

 21       on Veronica-May Clarke is very old.     The field has

 22       advanced considerably since that time.

 23               And so perhaps some of the questions you will ask

 24       me I will have references to new information that was

 25       not available to me.




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  1               I already told you one piece of new information

  2       earlier today that was not available in June of 2020.

  3               So that's where we are.

  4          Q.   Okay, thank you.

  5               Dr. Levine, I think you're answering a different

  6       question than the one I asked.     The question that I

  7       asked was:      Did you review any additional materials

  8       specific to Veronica-May Clarke since writing your

  9       report in this case?

 10               I'm not talking about academic studies, external

 11       reference; I'm talking about material specific to

 12       Veronica-May Clarke.

 13          A.   Yes.    I reviewed a paper written by two -- by a

 14       number of authors, whose first authors' name is Boutros.

 15          Q.   Sorry, what was that paper?

 16          A.   B-O-U-T-R-O-S.

 17          Q.   What's the title of that paper?

 18          A.   Well, I could tell you the subject of the paper.

 19       I'm not sure I have the title.

 20               It's about -- it was a meta-analysis of 27

 21       studies looking at the regret rates for sex -- for

 22       gender-confirming surgeries of any kind.

 23          Q.   Okay.    Again, Dr. Levine, I'm not asking you

 24       about whether you reviewed new articles.     I'm asking you

 25       whether you've reviewed new materials specific to




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  1       Veronica-May Clarke?

  2               So let me give you some examples.    Have you

  3       reviewed updated medical records for Veronica-May Clarke

  4       since you wrote this report?

  5          A.   No.

  6          Q.   Okay.    Have you reviewed journal entries written

  7       by Veronica-May Clarke --

  8          A.   No.

  9          Q.   -- since you wrote this report?

 10               Have you reviewed updated legal filings in this

 11       case since you wrote this report?

 12          A.   No.

 13          Q.   For example, there's an Amended Complaint in this

 14       case since you wrote your report.     Have you reviewed

 15       that?

 16          A.   I'm unaware of that.

 17          Q.   Did you review any deposition transcripts in this

 18       case?

 19          A.   No, I have not.

 20          Q.   Okay.    So you haven't reviewed any materials

 21       specific to Veronica-May Clarke since you wrote this

 22       expert report; is that right?

 23          A.   With one exception.

 24          Q.   And that is?

 25          A.   There is a new hire at -- who recommended sex




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  1       reassignment surgery.      I think the social worker's name

  2       was Bachmann, B-A-C-H-M-A-N [as stated].     So I read

  3       that.

  4               And when I say I reviewed the Boutros article, I

  5       did in anticipation of this deposition today I read that

  6       article.

  7          Q.   Okay, thank you.

  8          A.   I also read the article -- again, I had

  9       previously read it, but not in relationship to this case

 10       because it wasn't published yet -- the Almazan

 11       Keuroghlian article that I referenced earlier this

 12       morning.

 13          Q.   Okay.    Dr. Levine, let's take a look at your

 14       report in this case.

 15               Once again I will share my screen.

 16               Okay.    Do you see a document on your screen dated

 17       June 18th, 2020?

 18          A.   I do.

 19          Q.   And that's with your letterhead?

 20          A.   It is.

 21               MS. BILDNER:    And I believe -- are we up to

 22          Exhibit 3 for marking purposes?

 23               THE REPORTER:    Yes.

 24               MS. BILDNER:    Okay, excellent.   So let's

 25          mark this as Exhibit 3.




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  1               (Plaintiff's Exhibit 3, Expert Report of

  2          Dr. Levine, June 18, 2020, was marked for

  3          identification.)

  4       BY MS. BILDNER:

  5          Q.   Is this your expert report in this case,

  6       Dr. Levine?

  7          A.   It looks like it.

  8          Q.   And did you, in fact, write this on June 18th,

  9       2020?

 10          A.   That was the date I submitted it probably.

 11          Q.   Did anyone help you write this report?

 12          A.   I discussed this report with a Mr. Davis, Thomas

 13       Davis, but I -- The question is:    What has helped me

 14       write the report?

 15               He helped me see what the issues he wanted me to

 16       address were.     And so in a sense I wrote this report;

 17       I'm the sole author of this report.    I wrote this report

 18       for him.

 19               And I think it depends on how you define "help."

 20          Q.   And to be clear, Jamie, and Dr. Levine, I do not

 21       want to know anything about your conversations with

 22       AAG Davis, or Mr. Belforti, or anyone else in that

 23       office.    And I don't think you did anything of that sort

 24       in that answer.     But please don't tell me anything about

 25       those conversations regardless.




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  1               I'm going down now to Page 17 of your report,

  2       toward the bottom of the page where it says:      Part 4,

  3       The Inadequate Scientific Foundation of Gender

  4       Confirming Surgery.

  5               Do you recognize that, Dr. Levine?

  6          A.   Yes, I do.

  7          Q.   And there's a date under that, February 11th,

  8       2021.   Do you see that?

  9          A.   Yes.

 10          Q.   So it's a different date than the rest of the

 11       report; correct?

 12          A.   Yes.

 13          Q.   And this section is also it looks like in a

 14       different font than the rest of the report; is that

 15       correct?

 16          A.   My eyes don't tell me that; but if yours do, I

 17       will accept your view.

 18          Q.   Okay.    Should I take that to mean -- the

 19       different date, the different font -- Dr. Levine, that

 20       this section was added after you initially wrote this

 21       report?

 22          A.   Well, of course you should take it that way.

 23          Q.   Okay.    Approximately seven months later?

 24          A.   Yes.

 25          Q.   Why did you add this section to your report seven




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  1       months later?

  2          A.   I'm not sure I can tell you that factually.     I

  3       don't recall.

  4               I had periodic discussions with Mr. Davis and --

  5               MR. BELFORTI:   Dr. Levine, I'm going to

  6          instruct you not to discuss anything you talked

  7          about with AAG Tom Davis, or with me, or AAG

  8          O'Neill, or AAG Medeiros for that matter.

  9               THE WITNESS:    Okay.

 10               Well, I guess the answer to the question is

 11          that it became apparent to me that what I

 12          previously wrote might be further substantiated

 13          by additional pieces of information.      And so

 14          that's why I added the additional report.

 15               I actually know the limitations of any kind

 16          of forensic evaluation.      And I know that new

 17          information can change one's opinion, and that

 18          new information can come from the -- about the

 19          inmate herself or it could come from published

 20          literature.

 21               And I've become aware of published

 22          literature that I previously was unaware of.

 23          And so it becomes relevant to me to strengthen

 24          my opinions so that people like you can

 25          understand my viewpoint.     So that's why I added




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  1          an addition to this.

  2       BY MS. BILDNER:

  3          Q.   Okay.    And I'm just going to go down to Page 18

  4       of your report.     So the additional published literature

  5       you became aware of, Dr. Levine, is that described in

  6       this first paragraph on Page 18?

  7          A.   Well, I was long aware of the 2011 study, of

  8       course.   And the -- I became aware of the more recent

  9       suicide rates published by Sweden.     And the Bränström

 10       Pachankis study certainly became a cause celeb since I

 11       originally wrote the report.     And this study is an

 12       example of what -- of the problem in the field.

 13               And I thought it was really important that if --

 14       when I'm deposed or if I ever go to court on this case,

 15       that I be able to explain to The Court and to you that

 16       what -- what the problems with this study are and what

 17       the bias inherent in this study actually is.

 18               And so that's why it was important to me to write

 19       the addendum.

 20          Q.   Okay.    So you were -- at the time of writing this

 21       initial report in 2020 you were long aware of the 2011

 22       study by Dhejne; correct?

 23          A.   I was certainly aware of the 2011 study.

 24          Q.   And you were also aware, I assume, of the 2016

 25       Medicare final decision letter; right?




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  1          A.    No, I don't think -- I'm not sure that I can

  2       answer your question definitively.       I'm not sure when I

  3       became aware of that.

  4          Q.    Had you read the 2019 Bränström and Pachankis

  5       article by June of 2020?

  6          A.    Yes.     I had not -- I had read it.

  7                I was actually considering writing a letter to

  8       the editor about its limitations, but I never got around

  9       to it.

 10          Q.    And none of those three is included in your

 11       initial report; correct?

 12          A.    I don't think so.    They couldn't have been, yeah.

 13          Q.    In putting together this report, Dr. Levine, you

 14       met with Ms. Clarke; correct?

 15          A.    I did.

 16          Q.    How many times?

 17          A.    Three times.

 18          Q.    When were those meetings?

 19          A.    Could you just scroll to the dates in the report

 20       and I can tell you definitively as opposed to guessing?

 21          Q.    Sure.    So I assume you are talking about the

 22       section titled, Interviews, which begins on the bottom

 23       of Page 8 --

 24          A.    Yes --

 25          Q.    -- is that right?




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  1          A.   -- right.    Those are the accurate answers to your

  2       question.

  3          Q.   Okay.    So you met with Ms. Clarke on May 21st of

  4       2020 by telephone?

  5          A.   Yes.

  6          Q.   And you met with Ms. Clarke again -- let's see --

  7       on May 27th, 2020, by telephone?

  8          A.   Yes.

  9          Q.   And then you met with Ms. Clarke a final time on

 10       June 3rd, 2020, by video conference; is that right?

 11          A.   Yes.

 12          Q.   Okay.    And each of those meetings was between one

 13       and two hours; is that right?

 14          A.   They're -- the exact times are recorded.

 15          Q.   Okay.    Have you met with Ms. Clarke since

 16       June 3rd of 2020?

 17          A.   No.

 18          Q.   Have you spoken with Ms. Clarke since June 3rd of

 19       2020?

 20          A.   No.

 21          Q.   In writing this report you also had psychological

 22       testing done on Ms. Clarke; is that right?

 23          A.   Yes.

 24          Q.   And what kind of testing was that?

 25          A.   That was -- Could you scroll to that and I can




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  1       talk about that?

  2          Q.   Do you have any recollection of what kind of

  3       psychological testing you had done?

  4          A.   It was the MMPI and MCMI.

  5          Q.   Okay.    And what are those?

  6          A.   Well, the MCMI is a question and answer,

  7       true-false short questionnaire about 70 questions that

  8       seems to get at the pattern of life, the characterologic

  9       patterns of a person's life.

 10               And the MMPI is a much more extensive true-false

 11       question self-administered test that gets at the current

 12       emotional state.

 13               And so between the two of them we get a

 14       semi-objective interpretation of the person's lifelong

 15       patterns and their current emotional state in terms of

 16       how they think and feel.

 17               And it's just -- it's something I like to have to

 18       see if my clinical impressions match or don't match the

 19       psychological impressions based upon these standard

 20       interpretations.

 21          Q.   Do you --

 22               THE REPORTER:    I'm sorry.    I didn't get the

 23          beginning.

 24       BY MS. BILDNER:

 25          Q.   -- do you administer those two psychological




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  1       tests to your own patients, Dr. Levine?

  2          A.   Often, yes.

  3          Q.   Okay.    And how did you do that testing for this

  4       report?

  5          A.   Well, I had the psychologist at the institution

  6       provide it.

  7          Q.   Have you spoken with psychologists from the

  8       Connecticut Department of Correction since that time?

  9          A.   No.

 10          Q.   Have you spoken with anyone at the Connecticut

 11       Department of Correction -- again other than attorneys

 12       or attorneys representing them -- since that time?

 13          A.   No.

 14          Q.   Okay, we'll go back there shortly.

 15                 But in the meantime I'd like to talk about

 16       Ms. Clarke and gender dysphoria.     First of all,

 17       Dr. Levine, you agree that Veronica-May Clarke has a

 18       diagnosis of gender dysphoria; correct?

 19          A.   Yes.

 20          Q.   You diagnosed her with gender dysphoria yourself?

 21          A.   Yes.

 22          Q.   Do you believe that Ms. Clarke suffers from --

 23       Strike that, please.

 24               Do you believe Ms. Clarke has genital dysphoria?

 25          A.   She claims she does.


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  1          Q.    In your report you reference Ms. Clarke's -- I

  2       believe you used the term allegedly incomplete

  3       transgender state.

  4                I can show that to you if that would be helpful.

  5          A.    It would be helpful.

  6          Q.    Sure.    I'll go back to share.

  7                Okay, so we're back on Page 1 of your report,

  8       Dr. Levine.      I'm looking at the first paragraph,

  9       approximately four lines down -- I'm sorry, five lines

 10       down.    And you say that Ms. Clarke filed a handwritten

 11       complaint.

 12                And you say that it alleges several things,

 13       including deliberate indifference to and psychological

 14       harm from her alleged incompletely treated transgender

 15       state.

 16                Did I read that correctly?

 17          A.    Yes.

 18          Q.    Okay.    Do you believe, Dr. Levine, that

 19       Ms. Clarke has received adequate treatment for her

 20       gender dysphoria since April 2016?

 21          A.    I believe that in -- it's far less than ideal.

 22       So I actually think that the treatment was insufficient

 23       and...

 24                But I am aware of prison life and prison culture

 25       and prison sensibilities and prison policies.        And




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  1       oftentimes many, many prisoners with gender dysphoria

  2       feel that they are inadequately treated.

  3               And the question is:   What is adequate treatment?

  4       When is the treatment to be done?       And -- and who should

  5       dictate it other than the patient?

  6               So if you asked me in a very simple

  7       straightforward way:   Was her treatment perfectly

  8       adequate?   I would say no.    There was room for

  9       improvement.

 10          Q.   You just described Ms. Clarke's treatment for

 11       gender dysphoria as far less than ideal and

 12       insufficient.    Can you tell me why?

 13          A.   Well, I've already testified what I think people

 14       need when they have gender dysphoria.       They need a

 15       relationship with somebody who is interested in their

 16       lives and their internal processes and their sense of

 17       reality.

 18               And prison systems -- mental health work in

 19       prison systems I think it's fair to say is

 20       crisis-oriented; it's not long-term, in-depth

 21       psychotherapeutically oriented.

 22               Prisons are prisons.   They have adequate -- they

 23       have excellent general care for crises, and they -- they

 24       are very good at preventing suicide; but they're not

 25       ideal care that Dr. Levine would have done in his




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  1       private practice given the same set of circumstances.

  2               But community-based care and private

  3       psychiatry-based care and prison care are two different

  4       cultural conditions.    And so if you're talking about how

  5       Dr. Levine might have treated Veronica-May once the --

  6       you know, the declaration was made, I would say that I

  7       would have been able to be -- I would have me be much

  8       more involved in the person's life in a regular way to

  9       investigate this with Veronica-May in the way I talked

 10       to you earlier this morning about investigation over

 11       time about understanding where this comes from, and what

 12       possibly can be done about it, and what can I do to take

 13       the desperation away.

 14               You know a trustworthy new relationship with a

 15       mental health professional gives people hope and takes

 16       away desperation.   But it's very hard to do that in

 17       prison systems -- not just in Connecticut, but in all

 18       the prison systems that I've ever heard about.      Mental

 19       health care in prison systems has to do more with crisis

 20       than in long-term self-understanding.

 21          Q.   Do you believe, Dr. Levine, that Ms. Clarke's --

 22       that Ms. Clarke has received adequate psychotherapy for

 23       her gender dysphoria?

 24          A.   Well, I recommended a plan of therapy for

 25       Ms. Clarke.   And as you've already established, I have




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  1       no idea whether that was conducted or not.

  2          Q.    You recommended a plan of therapy for Ms. Clarke

  3       where?

  4          A.    In prison.

  5          Q.    I'm sorry, where did you make that

  6       recommendation --

  7          A.    At the end --

  8          Q.    -- at the --

  9                THE REPORTER:    I'm sorry.    I didn't get the

 10          end of the question.        Did you say something

 11          after "make that recommendation"?

 12                MS. BILDNER:    No.

 13                THE REPORTER:    Okay, thank you.

 14                I'm sorry, Doctor.

 15                THE WITNESS:    It's my understanding that in

 16          the addendum to the report I provided an outline

 17          and approach to the therapy that might be

 18          useful.

 19       BY MS. BILDNER:

 20          Q.    I'm confused by what you mean by "addendum to the

 21       report," Dr. Levine.      Can you explain that?

 22          A.    Well, the February 11th thing that you --

 23       portion.

 24          Q.    Okay.    So your testimony is that in the

 25       February 11th, 2021, portion of this report you've




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  1       outlined a course of therapy for Ms. Clarke that you

  2       thought would treat her gender dysphoria?

  3          A.   I outlined a pathway to -- to further

  4       consideration of the possibility of some genital surgery

  5       in the future.

  6          Q.   Okay.    And what was that pathway?

  7          A.   Well, I said that she should have -- she should

  8       have two kinds of therapists; one, someone would see her

  9       every two or three weeks to talk about her life and how

 10       she got to prison and how she's coping with prison, to

 11       talk about every aspect of her life.

 12               And that she should have a gender -- someone

 13       assigned to be her gender therapist to talk not about

 14       the first subject the other therapist deals with, but

 15       just about her gender dysphoria and what she needs to

 16       make her comfortable.     And that that process should go

 17       on for at least a year.

 18               So that she should have two different kinds of

 19       regular therapy sessions.    And that was to determine

 20       whether or not she still wanted to be transferred to a

 21       women's prison.

 22               And then I said that it would be ideal that

 23       before she had any sex reassignment surgery that she

 24       could demonstrate that she lived comfortably without

 25       problems among female prisoners.




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  1               And if she ever changed her mind, if she didn't

  2       like not being around men, just being around women, or

  3       if she got into behavioral disturbances, or that her

  4       aggressive -- which characterized her pre-prison life --

  5       returned, then she could be returned to a male prison.

  6               And if, in fact, she got along well after a long

  7       period of time in a female prison and -- I'm blocking on

  8       the name of the female prison in Connecticut -- but then

  9       the chief psychiatrist of the female facility ought to

 10       take a look at this.

 11               And if the patient still wants sex reassignment

 12       surgery, then I think she should have an appointment

 13       with a local surgeon, someone who's very experienced,

 14       whose complication rates are -- might be likely to be

 15       lesser than a less-experienced surgeon, and we could go

 16       from there.

 17          Q.   Okay.    So am I to understand your testimony today

 18       as you believe that a pathway to genital surgery is

 19       appropriate for Ms. Clarke for the treatment of her

 20       gender dysphoria?

 21          A.   A pathway.    A pathway.

 22          Q.   Okay.    And you suggested among other things

 23       particular kinds of psychotherapy because Ms. Clarke had

 24       not yet received them; is that right?

 25          A.   I don't think -- I don't -- yes, I think that's




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  1       right.

  2          Q.    Okay.    And what else did you say that you

  3       suggested for Ms. Clarke?

  4          A.    I suggested two forms of therapy over the next

  5       year; and one was specifically to focus on her distress

  6       about her gender dysphoria and the other was to talk

  7       about her as a person.

  8          Q.    Prior to making that suggestion, Dr. Levine,

  9       Ms. Clarke had not received two forms of psychotherapy

 10       as you detailed; right?

 11          A.    No.     I don't think it's unique to Ms. Clarke.   I

 12       don't think that's the kind of work that is being done

 13       in most prisons.

 14                And so I was just -- see, I was just trying to

 15       also help the readers of this report understand perhaps

 16       a better program for people other than this particular

 17       inmate.

 18                Although this is about this inmate, I am mindful

 19       of the fact that in prison populations the prevalence of

 20       gender dysphoria is higher than the general population.

 21       And so I also have a mind, you know, in writing things

 22       that who's reading these reports and what influence they

 23       may have in a larger sense than Ms. Clarke.

 24                But that's my fantasy life, you know.

 25          Q.    So your testimony today, Dr. Levine, is that




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  1       Ms. Clarke is an appropriate candidate for various kinds

  2       of psychotherapy to treat her gender dysphoria; is that

  3       right?

  4          A.    To help her understand her gender dysphoria --

  5          Q.    Okay.

  6          A.    -- to help her make a decision without histrionic

  7       desperation.

  8          Q.    And in your professional opinion, that

  9       psychotherapy is warranted for Ms. Clarke?

 10          A.    I believe that kind of therapy is warranted for

 11       any human being who is suffering or represents themself

 12       as suffering from gender dysphoria.

 13          Q.    And it's your testimony, Dr. Levine, that based

 14       on that psychotherapy, Ms. Clarke may be an appropriate

 15       candidate for genital surgery; is that right?

 16          A.    And may not be.

 17          Q.    Sure.    May or may not be an appropriate candidate

 18       for --

 19          A.    Yes, I -- I can agree to may or may not be.

 20          Q.    Okay.    Let's take a look at that section of your

 21       report, Dr. Levine.      So I'm going to the section of

 22       your -- scrolling to the section of your report titled:

 23       Part 4, The Inadequate Scientific Foundation of Gender

 24       Confirming Surgery.

 25                Do you see that?




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  1             A.   Yes.

  2             Q.   Okay.    I'm going to give you a chance to just

  3       skim -- and please tell me when to scroll -- this

  4       section of your report.

  5             A.   Go ahead and scroll.    Scroll more.     Keep going.

  6       Keep going.

  7                  Where is the section that I'm making reference

  8       to?

  9             Q.   That's my question for you, Dr. Levine.       I don't

 10       see any of the course of treatment recommendations that

 11       you just described in this section of your report.

 12       Would you agree?

 13             A.   Could you scroll up again?    Maybe I -- See, when

 14       I submitted this, it was in an outline form.          So I don't

 15       -- I'm a little confused at the moment.           Maybe if you go

 16       back to the beginning and let me read -- just reread it

 17       rather than skim it.

 18                  Could you go up above that?

 19             Q.   Sure.

 20             A.   Okay.    All right, Scroll, please.

 21             Q.   Sure.

 22             A.   Next scroll.    Next scroll, please.     Next line --

 23       next scroll, please.       Keep going.

 24                  Well, I'm a little confused because in the

 25       material that I reviewed last night -- or the other day




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  1       in anticipation of this there is a section that I just

  2       summarized for you that you can't find.    And I can't

  3       explain why it's not there.    I just -- I don't have any

  4       explanation.

  5               It was my understanding that this was in my

  6       report.   Maybe I'm missing something, I'm not

  7       remembering something.

  8               This is perhaps part of the problem with having,

  9       you know, 21 months later after I wrote this report or

 10       -- or less.

 11               Anyway, what I told you is what I -- what I think

 12       that when prisoners need to be recognized as having a

 13       unique form of distress, they have rather characteristic

 14       complaints, and they can get very desperate; and

 15       addressing their complaints decreases their desperation.

 16               And the discernment whether or not they have sex

 17       reassignment surgery has to be a very careful,

 18       thoughtful process over time that makes sure that they

 19       have informed consent.

 20               So I don't -- I'm sorry, I can't explain why it's

 21       not in my report.

 22          Q.   Okay.    So the recommendations for Ms. Clarke's

 23       treatment that we just discussed, you would agree do not

 24       appear in this version of your report?

 25          A.   I'm sorry -- sorry to say, but I don't -- I can't




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  1       explain it, yes.

  2          Q.   Okay.    I might come back to that.

  3               Let's see, we're at 12:45.

  4               Well, I had asked you earlier, Dr. Levine, about

  5       Ms. Clarke's treatment.     We discussed psychotherapy, as

  6       you'll recall; and that's how we got onto this search

  7       for your recommendations.    Let me ask you a different

  8       question.

  9               Do you believe that Ms. Clarke has received

 10       adequate hormone treatment for her gender dysphoria

 11       since April of 2016?

 12          A.   She is a bit of a medical mystery in that her

 13       testosterone levels have been very high.      And so I -- I

 14       think initially -- initially she needed probably much

 15       more -- I mean, in the early years she probably needed

 16       much more testosterone suppression than she got from her

 17       estrogens.      I.

 18               Don't know where she stands today.     Of course, I

 19       don't know anything about her today.

 20               It's very hard to -- You need to understand the

 21       difficulties of inmates in getting hormonal treatment.

 22       Most of the physicians in the prison system are not

 23       experienced with this and this is not -- and they tend

 24       to farm out to outside endocrinologists -- at least

 25       initially.




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  1               And getting external consultations is a

  2       logistical problem for many prisoners -- for many prison

  3       systems.

  4               But I think the usual patient might have gotten

  5       much more testosterone suppression than Ms. Clarke got

  6       from her initial treatment.

  7               And this -- the presence of her erections I think

  8       was a source of stated distress for the patient,

  9       although the patient also values the person's capacity

 10       to have orgasm.

 11               And so there may be a little more ambivalence

 12       than meets the eye here because the patient's sexual

 13       pleasures are an important part of Ms. Clarke's life,

 14       and yet she's complaining about being inadequately

 15       estrogenized.

 16          Q.   So it's your testimony, Dr. Levine, in that case

 17       that Ms. Clarke should have received much higher doses

 18       initially of her hormonal medications than she did?

 19               MR. BELFORTI:   Objection as to form.

 20               Answer if you can, Dr. Levine.

 21               THE WITNESS:    I'm sorry, would you say that

 22          again?

 23       BY MS. BILDNER:

 24          Q.   You can answer --

 25               THE WITNESS:    Mr. Belforti, I didn't hear




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  1          what you said.

  2                MR. BELFORTI:    What I said was objection as

  3          to form.       But you can answer if you can,

  4          Dr. Levine.

  5                THE WITNESS:     Answer if I can.

  6       BY MS. BILDNER:

  7          Q.    You can answer, Dr. Levine.

  8          A.    Yes.     Well, if you repeat the question, I think I

  9       could point out to you that the issue is when should she

 10       have had more estrogen and how long should -- you know,

 11       how long should any dose be given before the results are

 12       thought to be inadequate?

 13                And this is really a question for

 14       endocrinologists.       I don't really represent myself as

 15       expert in the endocrine treatment of these individuals.

 16          Q.    And you've been involved with patients who have

 17       been on hormone therapy in your 48 years of practice;

 18       right?

 19          A.    Yes.     But I don't provide the hormones.   You

 20       know, I -- so I don't take responsibility for measuring,

 21       you know, various blood parameters and making decisions

 22       based on laboratory and patient complaints.        That's not

 23       my field.

 24          Q.    Right.     You don't take responsibility for making

 25       those decisions, Dr. Levine; is that right?




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  1          A.   That's right.

  2          Q.   But you have some awareness of the target ranges

  3       of hormone therapy; correct?

  4          A.   I have -- I have some, yes.

  5          Q.   Okay.    And as you were saying before,

  6       Ms. Clarke's initial doses in your opinion should have

  7       been much higher than they were?

  8               MR. BELFORTI:    Objection as the form.

  9               Answer if you can.

 10               THE WITNESS:    No, I think the problem with

 11          your question is the word "initial."

 12               Once -- a prudent physician starts with a

 13          low dose.     It's -- it's not -- we don't start

 14          with 6 milligrams, you know, of a particular

 15          thing when the basic dose is 1 milligram or 2

 16          milligrams.

 17               In other words we don't know the biologic

 18          system that we're dealing with.     We have to --

 19          we have to take time.

 20               MS. BILDNER:    Let's -- Well, it's 1:00

 21          o'clock, so I might take a quick break here; but

 22          I do want it to not be a very long break.

 23               How does 15 minutes sound to you,

 24          Dr. Levine.

 25               (Off the record.)




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  1              THE WITNESS:    Shall we consider this a lunch

  2          break?

  3              MS. BILDNER:    Yeah, I think we should

  4          consider this a lunch break.         But since you

  5          normally take ten-minute lunch breaks,

  6          Dr. Levine, I hope it won't be too much of an

  7          inconvenience if we do a quick one here.

  8              THE WITNESS:    If you want 15 minutes, I'll

  9          grab a bite to eat, yeah.         I'll be back.

 10              MR. BELFORTI:    Elana, is there any way we

 11          can make it 30?

 12              MS. BILDNER:    We need to keep plugging

 13          through, Jamie.     So can we compromise?

 14              MR. BELFORTI:    I mean, it's -- I imagine you

 15          have a lot more to get into and it's going to be

 16          a long day one way or the other.         So I think

 17          taking a little bit of time now probably isn't

 18          the worst idea.

 19              MS. BILDNER:    Sure.     In that case, let's

 20          take a 30-minute break now.

 21              Let's go off the record, please.

 22              (Off the record.)

 23              (Luncheon recess was taken at 12:57 p.m.)

 24                                      ---

 25




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  1                         AFTERNOON SESSION (1:33 p.m.)

  2       BY MS. BILDNER:

  3          Q.    Thank you, Dr. Levine.    Welcome back.   You're

  4       still under oath.

  5          A.    I am.

  6          Q.    Okay.    So before we took a break we were talking

  7       about Ms. Clarke's hormone treatment.

  8                Do you remember that?

  9          A.    Yes.

 10          Q.    So stepping back a moment, what are the typical

 11       physical effects of hormone therapy for transgender

 12       women?

 13          A.    Breast -- sort of breast budding and then breast

 14       development, softening of the skin, a diminished sexual

 15       drive, sometimes a re-contouring of the body with a

 16       decreased muscle mass, and depending on their weight

 17       their fat distribution changes a bit.

 18                That are physical changes in the laboratory.       But

 19       the patient is not aware of those until they -- you

 20       know, they're told; changes in their lipid profile.

 21                And those are in general.

 22          Q.    What about reduction of body hair?

 23          A.    That's a controversial thing.   At best there is

 24       a -- perhaps a little less body hair growth.       But if

 25       you're -- if you have hairy legs, you're going to still




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  1       have hairy legs.

  2               And so the idea that if I take estrogen my beard

  3       and my body hair will disappear is a longed-for wish,

  4       but it doesn't -- it's not a reality.

  5          Q.   And what --

  6          A.   As we are quite aware, women have body hair.

  7          Q.   -- what about a decrease in spontaneous

  8       erections?

  9          A.   Well, there probably is a decrease in spontaneous

 10       erections.      And that probably corresponds to the level

 11       of testosterone.

 12               So actually you have to have a pretty low

 13       testosterone -- total testosterone and free testosterone

 14       to totally get rid of that.

 15               The body has been designed to put blood into the

 16       penis at night three times a night in order to keep the

 17       tissues alive.      So when you talk about spontaneous

 18       erections, sometimes it's a morning erection and it's

 19       not really spontaneous; it's what's going on to preserve

 20       the tissues of the penis.     The body conserves itself in

 21       that way.

 22          Q.   Okay.    So is your testimony that there is a

 23       decrease in erections --

 24          A.   Yes --

 25          Q.   -- particularly in the morning?




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  1          A.   -- there's -- yes, there's a decreased frequency

  2       and perhaps turgidity of the erection with lower

  3       testosterone.

  4          Q.   And what about testicular shrinkage?

  5          A.   The testes itself over probably several years

  6       would shrink in size --

  7          Q.   What --

  8          A.   -- they won't disappear.

  9          Q.   -- about reduction in muscle mass or strength?

 10          A.   Both.

 11          Q.   And you mentioned breast growth.    What about

 12       softening of the skin?

 13          A.   I mentioned that too.

 14          Q.   You mentioned that as well, yes; okay.

 15               So breast growth, softening of the skin,

 16       reduction in muscle mass, decreased erection, possible

 17       reduction in body hair, and testicular shrinkage.

 18               Did I miss anything on that list?

 19          A.   Well, the increase in serum lipids you missed,

 20       sometimes high triglycerides.

 21               Anyway, that's generally true, what you said.

 22          Q.   Okay.     And there are -- am I correct that there

 23       are different combinations of medications given to

 24       transgender women for hormone therapy?

 25          A.   Is that a question?




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  1          Q.   Yes.    I can repeat it if you'd like.

  2          A.   Yes, there are -- there are different

  3       combinations.

  4          Q.   Do you know what medications Ms. Clarke is on for

  5       hormone therapy?

  6          A.   Today I don't know, no.

  7          Q.   At the time of your report do you know what --

  8          A.   I think she was --

  9          Q.   Strike that.    Let me -- Sorry.   Let me ask a

 10       clearer question.

 11               Do you know at the time of your report what

 12       medications Ms. Clarke was on for hormone therapy?

 13          A.   I think she was on Estrace and spironolactone.

 14          Q.   What is Estrace?

 15          A.   It's an estrogen compound.

 16               I don't know what -- what exactly you're asking.

 17          Q.   Is it the same thing as estradiol?

 18          A.   It's a brand name and I think it is for

 19       estradiol, yes.

 20          Q.   Okay.    And what does estradiol do in the context

 21       of hormone therapy?

 22          A.   For male -- biologic males what it does?    It does

 23       the exact things that you previously outlined.

 24          Q.   Okay.    What are the typical dosing ranges for

 25       estradiol for hormone therapy for transgender women?




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  1          A.   Well, that depends on the endocrinologist.       But

  2       generally speaking, up to 6 milligrams a day.     Many

  3       people don't need 6 milligrams a day.

  4               Many transgender people, if they were treated the

  5       way they wanted to, would probably take far more than

  6       that.

  7               But I think 6 milligrams is the usual upper dose.

  8          Q.   Six milligrams is the upper dose.     What's the

  9       lower dose?

 10          A.   Well, it depends on the patient's response.        I

 11       mean, I think it varies considerably.

 12               It depends also on the patient's risk of

 13       thromboembolic phenomena and their history of heart

 14       disease and so forth and so on.

 15          Q.   What's a typical starting dose for Estrace?

 16          A.   I think 1 or 2 milligrams.    It --

 17          Q.   Okay.    You --

 18          A.   -- depends on the conservatism of the doctor.

 19          Q.   Okay.    You mentioned that Ms. Clarke was also

 20       taking spironolactone; is --

 21          A.   Yes.

 22          Q.   -- that correct?

 23               What is spironolactone?

 24          A.   It's a diuretic, and it's thought to have some

 25       androgen and receptor blocking capacities so that it




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  1       doesn't change testosterone levels, but it changes the

  2       uptake of testosterone.     And --

  3          Q.   Do you --

  4               THE REPORTER:    I'm sorry.   I didn't --

  5               THE WITNESS:    It changes the uptake of

  6          testosterone into individual cells.      It's a

  7          receptor blocker.     It's a side effect of the

  8          medicine.

  9               THE REPORTER:    Thank you.

 10       BY MS. BILDNER:

 11          Q.   So same question as with Estrace.     What are the

 12       typical dosing ranges for spironolactone for hormone

 13       therapy for transgender women?

 14          A.   100 to 300 milligrams.

 15          Q.   Okay.    Should transgender women who are on

 16       hormones be monitored?

 17          A.   Yes, they should be monitored.     Of course they

 18       should be monitored.

 19          Q.   What for?

 20          A.   For their -- for lipids -- lipid abnormalities,

 21       for liver abnormalities, for blood clots, for anemia,

 22       and their general physical health.

 23               Really -- really, we need to worry about

 24       cardiovascular disease.     And so whatever the doctor's

 25       standards for measuring -- monitoring cardiovascular




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  1       disease -- whether it's by history, physical

  2       examination, by CT scan for calcium deposits in the

  3       heart.

  4                You know, I don't dictate these things as a

  5       psychiatrist.      But generally speaking, I want my

  6       patients to be in a -- at least twice a year -- minimum

  7       once a year if they're well-established -- visit to a

  8       primary care doctor or endocrinologist or internist who

  9       would measure their blood studies and take a look at

 10       their body.

 11          Q.    Okay.    And so am I understanding then that this

 12       monitoring is done through blood work?

 13          A.    Well, it's done by a combination of seeing an

 14       M.D. -- and not a psychiatrist, but an M.D. -- and blood

 15       studies.

 16          Q.    Okay.    How do you determine whether hormone

 17       therapy levels are effective?

 18          A.    Well, we have to ask what the outcome is that the

 19       patient and the doctor are looking for.      And then we

 20       just evaluate breast growth, for example, lipid levels,

 21       whether or not the patient's had any decrease in their

 22       libido.

 23                It's really hard to -- I mean, we could measure,

 24       but I doubt very much if people measure the calf -- the

 25       circumference of the calf or the circumference of the




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  1       biceps.     Or I don't think we measure strength, we don't

  2       test people's strength.

  3               People report to us they feel like their muscles

  4       are shrinking or their decrease in their arm strength or

  5       whatever.

  6          Q.   So in order to tell whether hormone therapy is

  7       effective you would look to those typical physical

  8       effects of hormone therapy that we discussed earlier; is

  9       that right?

 10          A.   Yes, but within the -- within the reasonable

 11       understanding about biology that -- you know, many

 12       people think that they're going to have very large

 13       breasts with estrogens and they think it's going to take

 14       six months.     And in fact, it doesn't take six months and

 15       many people do not get large breasts.

 16               And we have to point out to them that seems to be

 17       determined genetically by forces that we don't

 18       understand, and that cisgender women have all sorts of

 19       breast sizes.     And even though they may desire to have

 20       large breasts, they may never biologically be able to

 21       have large breasts depending on, you know, these

 22       mysterious genetic factors.

 23               But it's sometimes hard to explain that to

 24       somebody who has great -- has a desire to be

 25       hyper-feminine in terms of breast size.     So...




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  1          Q.   My question, Dr. Levine, was how you could tell,

  2       how you could determine whether hormone therapy was

  3       effective?

  4          A.   Well, I was -- what I'm trying to say, it depends

  5       on -- I'm going to just try to answer your question

  6       specifically here.     It depends on the outcome in

  7       question.

  8               So I -- I want to know what we're talking about.

  9       Is it effective for this or is it effective for that?

 10       Is it effective for psychological reasons or is it

 11       effective for physical reasons -- not that they're

 12       unrelated, you see, but I can separate those things.

 13          Q.   Sure.    So you would look to the physical effects

 14       that we discussed earlier and see if any of them are

 15       apparent, for example?

 16               If someone is developing breasts, would that be

 17       an indicator of the effectiveness of hormone therapy?

 18          A.   Well, one, if -- No. 1, I'm a psychiatrist.       I

 19       generally don't do physical examinations; and in

 20       particular, I don't examine patients' breasts.        So I'm

 21       asking questions about this.

 22               I really think the adequacy of breast growth is

 23       something they can talk to me about.    But they need to

 24       have had their breasts examined by a physical doctor

 25       who's equipped, you know, to gown people, and you -- I




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  1       don't think I have to explain further.

  2          Q.   Sure.

  3          A.   So my work in adjudging the adequacy from the

  4       patient's point of view of hormone therapy is to ask

  5       questions about the various parameters that you outlined

  6       before.

  7          Q.   Okay.    What are the target estrogen levels in a

  8       transgender woman who is undergoing hormone therapy?

  9          A.   Probably between 150 and 200 units of whatever

 10       the lab measures, micrograms per deciliter or something.

 11          Q.   Okay.    What are the target testosterone levels

 12       for a transgender woman undergoing hormone therapy?

 13          A.   I would say less than -- certainly less than a

 14       hundred and many people less than 50.

 15          Q.   When we talk about these target levels, would

 16       seeing estrogen or testosterone at these target levels

 17       be an indicator of the effectiveness of hormone therapy?

 18          A.   It's an indicator.    It's --

 19          Q.   So the answer is yes?

 20          A.   No.     The answer is, it's an indicator.

 21          Q.   Okay.    To make sure I understand, Doctor, your

 22       answer is that seeing estrogen and testosterone levels

 23       in these target ranges is "an indicator" of

 24       effectiveness of hormone therapy; is that correct?

 25          A.   That's my -- yes, that's correct.




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  1          Q.   Okay.     When did Ms. Clarke begin hormone

  2       treatment?

  3          A.   I don't have a specific date in mind.     I think it

  4       was several years before I saw the patient.

  5          Q.   Okay.     Let me --

  6          A.   The answer to that question is in my report.

  7          Q.   Okay.     Let me share my screen in that case.

  8       Sorry, I took down your report.      So hold on one second.

  9               Okay, do you see the report on your screen again?

 10          A.   I do.

 11          Q.   And we've marked this, this is Exhibit 3, I

 12       believe.

 13               So on Page 1 of your report in the second-to-last

 14       paragraph on the bottom of the page you have a note that

 15       says Ms. Clarke's endocrine therapy began in April of

 16       2017.

 17               Do you see that?

 18          A.   I do.

 19          Q.   Okay.     And then a little bit later on Page 6 of

 20       your report you have a section called, Medical History

 21       While Incarcerated.

 22               Do you see that on your screen?

 23          A.   Uh-hum.

 24          Q.   Okay.     And here, if you'll look down at No. 11,

 25       you have a note that says 2017 -- dash -- hormones




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  1       approved in August -- comma -- started in September.

  2               Do you see that?

  3          A.   I do.

  4          Q.   Do you know which date is the correct date,

  5       Dr. Levine?

  6          A.   At this moment I don't, no.

  7          Q.   Okay.

  8          A.   I think the correct day we could summarize is

  9       2017.

 10          Q.   Okay.    If I told you that Ms. Clarke began

 11       hormones on September 23rd of 2017, do you have any

 12       reason to dispute that?

 13          A.   I would trust you.

 14          Q.   Okay.    Do you know what Ms. Clarke's initial dose

 15       of hormones was?

 16          A.   I don't know with certainty, but I would imagine

 17       it was no more than 2 milligrams.      Perhaps it was

 18       1 milligram.

 19          Q.   That's 2 milligrams of what?

 20          A.   Estrace or estradiol.

 21          Q.   Okay.    And any sense of how much her initial dose

 22       of spironolactone was?

 23          A.   I don't recall.    It probably was not 300.

 24          Q.   Do you know when Ms. Clarke's hormone levels were

 25       first checked?




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  1          A.   I once did.    I don't recall.

  2          Q.   Okay.    Do you know if Ms. Clarke's dose was

  3       raised, if ever?

  4          A.   I don't recall.    I see item 12 says there's a --

  5       there's a lab result in front of me.     So I guess part of

  6       the answer is if in September she was started on the

  7       drug, then she had -- in three months she had a lab

  8       result, which seems to be a reasonable amount of time.

  9          Q.   Let's look at this again.    We're on page -- let's

 10       double-check that.     This says Page 6 of your report in a

 11       section called Medical History; right?

 12               You have a -- so as we discussed earlier, you

 13       have an item in here that says -- item No. 11 that says:

 14       2017 hormones approved in August, started in September.

 15               Do you see that?

 16          A.   What number is that?

 17          Q.   That's item No. 11 on this list.

 18          A.   Yeah, okay.

 19          Q.   Okay.    So would you agree that this means

 20       Ms. Clarke started her hormone therapy in September of

 21       2017?

 22          A.   Yes.    And I trust you.

 23          Q.   Okay.    And then item 12, which you just referred

 24       to, says 2018 -- dash -- January lab results 59 pg --

 25       slash -- ml estradiol -- comma -- testosterone equals




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  1       465 ng -- slash -- dL.

  2               And that last phrase, testosterone equals 465

  3       ng -- slash -- dL is bolded.

  4               Do you see that?

  5          A.   Yes.

  6          Q.   Okay.    Why is that bolded?

  7          A.   Because it's high -- surprisingly high.

  8          Q.   Is a testosterone level of 465 within the range

  9       that you would expect for a transgender woman on hormone

 10       therapy?

 11          A.   No.     It's a normal level for a cismale.

 12          Q.   Later on, Dr. Levine -- I'm going to scroll down

 13       a bit -- item 19 -- sorry, item 16 -- still on the

 14       bottom of Page 6 on this list -- there's a note that

 15       says:   2019 September -- or 2019 Sept -- dot -- I

 16       believe that stands for September; correct?

 17          A.   Yes.

 18          Q.   Okay.    Testosterone level 754 -- exclamation

 19       mark.

 20               Do you see that?

 21          A.   Yes.

 22          Q.   Okay.    Why did you put an exclamation mark after

 23       754?

 24          A.   No. 1, it's higher.     No. 2, it's very noteworthy.

 25       And No. 3 it represents the possibility of a lab error.




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  1       Because people on estradiol shouldn't have an increase

  2       in testosterone.

  3               And if they do have an increase in

  4       testosterone -- I mean, if you repeat the -- if you

  5       repeat the lab and it is still increased; and then you

  6       ask yourself -- or you ask the question and you ask

  7       yourself:      Is the patient actually taking the

  8       medication, the estradiol, that she says she's taking?

  9       Is she -- you know, is she actually taking it?

 10               It implies that -- it implies two things -- it

 11       implies three possibilities:      One, she's not taking the

 12       medicine; two, there is a lab error; and three, that

 13       there is something else going on medically that

 14       surreptitiously or abnormally is producing testosterone.

 15               For example, does she have a tumor in her adrenal

 16       gland producing testosterone?      Does she have a lung

 17       tumor that's producing testosterone?

 18          Q.   But as of September 2019, Ms. Clarke had been on

 19       hormone therapy for two years, right, since September of

 20       2017?

 21          A.   Yes.

 22          Q.   Okay.     So if you saw someone who had been on

 23       hormone therapy for two years with a testosterone level

 24       of 754, you said you would be concerned about that?

 25          A.   That's why there's an exclamation point.




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  1          Q.    Okay.    And what would you do?

  2          A.    I would repeat the testosterone.     You need --

  3          Q.    So -- Sorry.     Go ahead.

  4          A.    -- you need to understand that in medicine when

  5       we get an abnormal result, and if we repeat the result,

  6       it often is no longer abnormal.       There is a -- there is

  7       a five percent chance in any -- that any particular

  8       thing is a lab error.

  9          Q.    Okay.    So we saw that Ms. Clarke's testosterone

 10       in January 2018 was 465; was that right?

 11          A.    Yes.

 12          Q.    And now in September of 2019 it's 754; is that

 13       right?

 14          A.    That's what I reported.

 15          Q.    Okay.    Do you know if Ms. Clarke's dose -- doses

 16       of spironolactone and estradiol has been changed between

 17       September of 2017 through September of 2019?

 18          A.    At this moment I don't recall what happened.

 19       This was -- you know, I haven't reviewed these medical

 20       records for almost two years.

 21          Q.    Okay.    If you look at item No. 17 in that list,

 22       it says:    2020 Feb.

 23                Do you see it?

 24          A.    Yes.

 25          Q.    And then it says:     Estradiol doubled to decrease




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  1       testosterone.

  2               Did I read that correctly?

  3          A.   Yes.

  4          Q.   Okay.    Would that suggest to you that

  5       Ms. Clarke's hormone therapy had not been changed until

  6       February of 2020?

  7          A.   That's what it would suggest to me looking at it

  8       today, yes.

  9          Q.   So from September of 2017 through February of

 10       2020 Ms. Clarke's hormone medication was at least to

 11       your knowledge not changed?

 12          A.   To my knowledge.

 13          Q.   In your opinion, Dr. Levine, are these

 14       testosterone levels consistent with someone who is

 15       receiving adequate hormonal care?

 16          A.   If we only think narrowly about the range -- the

 17       expected range of estradiol levels and testosterone

 18       levels when treating these people, it seems like we're

 19       not being very successful.

 20               But as I said, the differential diagnosis for a

 21       doctor is:      Is the patient taking the medicine?   Is this

 22       a lab error?     And if I can't get the person's

 23       testosterone level down, is there some other source of

 24       testosterone in the body that's not responsive to

 25       estrogen?




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  1               These are the things that would occur to a

  2       physician.

  3          Q.   Dr. Levine, let me go back to page -- All right,

  4       let me see what page this is -- on Page 3 of your

  5       report, and I'm in -- So this is Page 3 of your report.

  6       I'm in the paragraph -- the large paragraph in the

  7       middle under the heading The Psychological Aftermath.

  8               Do you see that?

  9          A.   Yes.

 10          Q.   Okay.    It says -- I'm going to read:    14 months

 11       after receiving hormones she wanted an increased dose

 12       and more appointments with an endocrinologist -- period.

 13       The reason was that her daily erections traumatized her

 14       as did her truncal and extremity hair, the shape of her

 15       face (I need facial feminization surgery) and male

 16       pattern baldness.

 17               Do you see that?

 18          A.   Yes.

 19          Q.   She asserted that she has been pleading for

 20       trans care for three years before filing suit.       Nowhere

 21       in her many requests was the recognition that her

 22       surgical and endocrine requests were grossly

 23       unrealistic.

 24               Did I read that correctly?

 25          A.   Yes.




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  1          Q.    Is it your opinion, Dr. Levine, that Ms. Clarke's

  2       endocrine requests were grossly unrealistic?

  3          A.    I want sex reassignment surgery now.   I want what

  4       I want now.

  5                I don't know how the prison system actually

  6       works.    I don't know what the policies have been.

  7                I'm just saying that we are establishing that she

  8       did not have an ideal endocrine treatment and her

  9       request -- her request for immediate attention and her

 10       not going through the -- the avenues that she was

 11       instructed that she has to go through, these things are

 12       what is unrealistic.

 13                Her expectations that because she needs it,

 14       because she wants it, it should immediately happen, is

 15       what is unrealistic.

 16                I agree with you that she did not have an

 17       adequate early response to her endocrine treatment and

 18       she should have had much more careful medical attention

 19       than she was getting.

 20                But you see, she did not just talk about

 21       hormones.    She was talking about ten different things

 22       that she wanted and in a way that alarmed and put off

 23       the prison officials who were used to transgender

 24       patients.

 25                So, that's all I mean.   I'm not implying that --




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  1       that she was well treated in terms of the parameters

  2       that you and I have been discussing.    But she was

  3       linking this to other things, you know.

  4               Now, you see the word "trauma" that you read.     I

  5       hope you'll ask me about this.

  6          Q.   Okay.    Dr. Levine, I want to be -- I'm going to

  7       go back to my previous question.

  8               MS. BILDNER:    Actually, Vicky, would you

  9          mind just reading -- sorry, would you mind just

 10          reading back to me the question that I had asked

 11          Dr. Levine?

 12               (The reporter read back the requested

 13          testimony.)

 14               MS. BILDNER:    Thank you.

 15       BY MS. BILDNER:

 16          Q.   So I'd like you to answer that question.      I'm not

 17       talking about surgery.     I'm not talking about other

 18       aspects of her care.

 19               I'm simply asking:   Is it your opinion

 20       today, Dr. Levine, that Ms. Clarke's endocrine

 21       requests -- given all you've seen -- are grossly

 22       unrealistic?

 23          A.   Because you said the word "today," I would agree

 24       with you they were not grossly unrealistic, they were

 25       reasonable requests made repeatedly.




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  1          Q.   Dr. Levine, in your review of Ms. Clarke's chart

  2       did you take note of whether Ms. Clarke was monitored

  3       during hormone therapy?

  4          A.   I don't recall if I knew that or not.

  5               The fact that she had three months after starting

  6       hormones lab tests means that she was monitored.      And

  7       every -- every subsequent lab value represents a

  8       monitoring.

  9               Whether -- So I guess to some extent I was aware

 10       she was monitored.    I would -- she was monitored.

 11          Q.   So to some extent you were aware that -- Sorry.

 12       Strike that.

 13               So you are aware that at some points Ms. Clarke

 14       received blood work; is that right?

 15          A.   Yes.

 16          Q.   Are you aware of anything else related to

 17       monitoring during Ms. Clarke's hormone therapy?

 18          A.   I just presume that if someone drew blood to

 19       monitor her levels, that they were also talking with

 20       her, having a physical examination -- or at least -- at

 21       least a clinical encounter.

 22          Q.   You presume that, is that what you said?

 23          A.   Yes.   I don't think they just ordered blood tests

 24       and never saw her.

 25          Q.   So you don't know either way if they ever saw her




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  1       when ordering blood tests?

  2          A.   I would presume that someone saw her in the

  3       prison system, some -- either nurse practitioner or

  4       primary care doctor, someone who had -- who had the

  5       authority -- the medical credentials to order a blood

  6       test.

  7          Q.   And you would presume that, Dr. Levine, because

  8       that's what should happen?

  9          A.   It should happen.   And in my experience it

 10       often -- that's what -- in my experience in

 11       Massachusetts that's what happens, yeah.

 12          Q.   But you have no sense here in Connecticut whether

 13       that happened or didn't happen, do you?

 14          A.   Well, if you want me to be absolutely certain, I

 15       cannot be certain.

 16          Q.   I'm just going to take this down once again.

 17       Okay.

 18               I'm going to go back to something, Dr. Levine.

 19       Earlier -- way earlier now -- we spoke about

 20       Ms. Clarke's diagnosis of gender dysphoria.

 21               Do you remember talking about that?

 22          A.   Yes.

 23          Q.   And you agree that Ms. Clarke has gender

 24       dysphoria; is that right?

 25          A.   Yes.




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  1          Q.   You diagnosed Ms. Clarke with gender dysphoria?

  2          A.   She diagnosed herself with gender dysphoria and I

  3       agreed with her.

  4          Q.   What do you mean when you say "she diagnosed

  5       herself with gender dysphoria" --

  6          A.   Gender --

  7          Q.   -- and you agreed?

  8          A.   -- gender dysphoria is a self-diagnosis.       It's

  9       not like someone comes in with chest pain and the doctor

 10       diagnoses that they have gender dysphoria.       Gender

 11       dysphoria is something the patient tells you that she

 12       has.

 13               And oftentimes people know what the criteria for

 14       the diagnosis are and so they tell you that they have

 15       gender dysphoria.

 16               And if they forget a criterion, then the doctor,

 17       like me, asks:      What about this?   What about distress?

 18       You know, what about interference with your vocation,

 19       whatever?   And so then I make the diagnosis.

 20               But really -- really we have to recognize that

 21       this is a self-report diagnosis.       This is not a

 22       laboratory diagnosis.      This is not a physical

 23       examination diagnosis.      This is not a verification --

 24       this is not a diagnosis that usually gets verified.

 25               The patient tells us what she feels, what she




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  1       thinks; and we recognize that it's in a pattern that we

  2       call gender dysphoria and so we make the diagnosis.      We

  3       write the diagnosis down.

  4               But this is not like making a diagnosis of

  5       pancreatic cancer, you see.     This is a diagnosis of

  6       self-report.

  7          Q.   So Ms. Clarke reported to you that she had gender

  8       dysphoria; correct?

  9          A.   Correct.

 10          Q.   And then you said you agreed with that diagnosis;

 11       correct?

 12          A.   Given what she said, she falls in the category of

 13       gender dysphoria.

 14          Q.   Okay.    You're free, of course, to disagree with

 15       that self-report; right?

 16          A.   If I think someone's lying, if I think someone is

 17       exaggerating, if I think there's some benefit that she

 18       anticipates that she'll get if she has that diagnosis;

 19       then I -- you know, I'm not sure.     I might say she has

 20       gender dysphoria not otherwise specified, or I give some

 21       other explanation.

 22          Q.   Okay.    But here you didn't do any of that, did

 23       you?

 24          A.   I took her story literally that she suffers from

 25       the criteria of gender dysphoria.




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  1          Q.   And you agreed with the diagnosis?

  2          A.   I think I've said that to you several times.

  3          Q.   When you described gender dysphoria as a

  4       self-reporting diagnosis -- was that the correct -- is

  5       that the term that you used?

  6          A.   I said it's based upon self-report.

  7          Q.   Based upon self-report.

  8               Are other psychiatric conditions similarly based

  9       upon self-report?

 10          A.   Yes.

 11          Q.   What psychiatric conditions are also -- what

 12       psychiatric diagnoses, I'm sorry, are also based on

 13       self-report?

 14          A.   Panic attack, generalized anxiety disorder.

 15       There are some that are not based simply on self-report.

 16               But all psychiatric diagnoses generally -- almost

 17       all psychiatric diagnoses begin with self-report,

 18       several do not.

 19          Q.   So when you go about making a diagnosis,

 20       Dr. Levine, in your own practice, you begin often with

 21       the patient's self-report?

 22          A.   Of course.

 23          Q.   And from there you determine whether that

 24       self-report in your experience and your expertise is

 25       consistent with the diagnosis?




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  1          A.   I ask a series of questions.

  2               I consider what else it might be.    And I consider

  3       what dilemma the person is having and what symptoms are

  4       coming from that dilemma.

  5               And I make a diagnosis and I make a treatment

  6       plan based on my current understanding of the patient's

  7       life and the patient's presentation.

  8               That current tentative diagnosis is likely to

  9       change as I get to know the person over time.

 10          Q.   Earlier, Dr. Levine, we discussed genital

 11       dysphoria.

 12               Do you recall that?

 13          A.   I do recall.

 14          Q.   And I asked you whether Ms. Clarke has genital

 15       dysphoria; correct?

 16          A.   Correct.

 17          Q.   Okay.    So I'm not sure what your answer to that

 18       question was.      So I'd like to ask you that again:   Does

 19       Ms. Clarke have genital dysphoria?

 20          A.   As best that I can recall, that was part of the

 21       dysphoria -- of her gender dysphoria, that she didn't

 22       like the presence of her male genitalia.

 23          Q.   So that would be a yes, in other words?

 24          A.   I'm trying to be humorous about this rather than

 25       to be annoyed by the repetition of your questions.      I




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  1       hope I succeed.

  2          Q.   I'm not sure that was an answer.   But I -- I

  3       think your previous answer was as best you could recall

  4       that genital dysphoria was a part of Ms. Clarke's gender

  5       dysphoria.

  6               And I want to make sure I got that right.    Did I

  7       get that right?

  8          A.   You got it right.

  9          Q.   Okay.    One last thing I'd just like to revisit

 10       and that's the definition or concept of medically

 11       necessary.

 12               I'm sure you remember that we spoke about that

 13       earlier; right, Dr. Levine?

 14          A.   Right.

 15          Q.   So I want to be very clear.    What does the term

 16       "medically necessary" mean to you?

 17          A.   You mean in the conduct of treatment of gender

 18       dysphoria, I presume?

 19          Q.   No, actually -- I actually mean that as a broader

 20       question.    In the practice of medicine what does

 21       "medically necessary" mean?

 22          A.   It means an intervention that would either

 23       prevent death, prevent disability, or remove symptoms --

 24       symptomatic suffering.

 25               Sometimes it -- it means medically necessary to




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  1       prevent disease -- future disease like in vaccinations.

  2               So it's -- it's a combination of all of the

  3       above --

  4          Q.   Okay.

  5          A.   -- or any of the above.

  6          Q.   I just want to make sure I got that list right.

  7       You said "medically necessary" means something what

  8       would prevent death?

  9          A.   Yes.

 10          Q.   Something that would prevent disease, including

 11       future disease?

 12          A.   Yes.

 13          Q.   And then I believe you said something that would

 14       prevent symptomatic effects; is that correct?

 15          A.   I also said it would prevent disability; right?

 16       That's why we set a leg when it's broken; right.

 17          Q.   All right, disability.

 18          A.   And it would -- it would remove symptoms.     When

 19       we couldn't cure a disease, we give some anti-nausea

 20       agent for someone who's having nausea, even though we

 21       can't cure the underlying disease.    So symptomatic

 22       relief.

 23               So death, disability, dysfunction, and

 24       symptomatic relief.

 25          Q.   Disability, dysfunction, and symptomatic relief;




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  1       right?

  2          A.    Yes.

  3          Q.    Is that an accepted meaning of the term

  4       "medically necessary" in medical practice?

  5          A.    Oh, yes.

  6          Q.    Okay.     What about in the mental health context,

  7       what does the term "medically necessary" mean?

  8          A.    Well, that's a much more problematic matter

  9       because if we go back to the general meaning, it

 10       requires a qualified mental health professional -- a

 11       qualified medical professional to make the assessment

 12       along those parameters; right?

 13                And so when it comes to mental health

 14       professionals, we see that we have a wide variety of

 15       people who are mental health professionals with

 16       different levels of education, and different levels of

 17       clinical experience, and different levels of exposure to

 18       various mental problems.

 19                So "medically necessary" is not exactly a term

 20       that we throw around in medical -- in psychiatric

 21       language.       We think it is a therapeutic -- a reasonable

 22       therapeutic option rather than -- you know, I guess I

 23       could say that giving a profoundly depressed human being

 24       an antidepressant is medically necessary; right?       It is

 25       also psychologically necessary or -- but it's one of the




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  1       many treatment options that we have.

  2               So I'm just saying it's a little less clear in

  3       psychiatric terms as it is in medical and surgical --

  4       with medical and surgical problems.

  5               In part because I know some people want to say

  6       gender dysphoria is a medical problem.      But I consider

  7       it to be a developmental, psychological problem.      And --

  8          Q.   Going back to what you -- I'm sorry, Dr. Levine.

  9       Were you finished?

 10          A.   I think I'm finished.

 11               I'm not sure I answered your question to your

 12       satisfaction.

 13          Q.   Well, I guess going back to what you just touched

 14       on, are there mental health contexts in which something

 15       can be medically necessary?

 16               You mentioned antidepressants for a

 17       severely-depressed person.

 18          A.   Right.   Now, we make -- if I may speak for

 19       psychiatrists as a whole, we make decisions to give

 20       people various treatments.      We believe in good faith

 21       that there is a distinct likelihood that this will help

 22       them.

 23               And so for insurance purposes we probably will

 24       verify that this is medically necessary that they have a

 25       electroconvulsive therapy, for example; right?




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  1               So yes, there are times when I agree that a

  2       psychiatrist will say that a treatment is medically

  3       necessary.

  4          Q.   Okay.    What about in the context of gender

  5       dysphoria?      Are there treatments for gender dysphoria

  6       that you believe are medically necessary?

  7          A.   I've already explained the context in which I

  8       believe I can use the term "medically necessary."      I

  9       always want to qualify it.

 10               I don't want to use it the way I believe you want

 11       me to use it, you see.

 12               But I believe that when I ascertain after an

 13       extent of understanding of a person's life, that -- that

 14       hormone therapy or surgical intervention would

 15       psychologically benefit and the benefits are likely to

 16       outweigh the risks; and the patient understands the

 17       risks, you see; and the consequence -- the negative

 18       consequences and the benefits; then I will say it's

 19       psychologically beneficial and -- and it's medically

 20       necessary.

 21               I always want to qualify when you try to force me

 22       to say I believe this is medically necessary, and I

 23       always will object to a simplification of the symptoms.

 24               And so if you ask me three times, I think I'm

 25       going to make the same answer three times.




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  1          Q.    I understand, Dr. Levine.    I just want to make

  2       sure I am clear on what you mean.

  3                We just discussed that in the medical context you

  4       believe certain treatments, certain things can be

  5       medically necessary; correct?

  6          A.    Given what I've -- the preface, the answer is

  7       yes.

  8          Q.    And you also said that in the psychiatric context

  9       you are willing to say that some things can be medically

 10       necessary; is that correct?

 11                THE REPORTER:   I'm sorry.   I didn't get the

 12          answer.

 13                THE WITNESS:    Yes.

 14       BY MS. BILDNER:

 15          Q.    But in the context of gender dysphoria

 16       specifically, it seems you're reluctant to say that some

 17       things are medically necessary absent qualification; is

 18       that right?

 19          A.    I'm saying in the context of gender dysphoria the

 20       evaluation needs to be extensive before I'm willing to

 21       say it's medically necessary.

 22          Q.    And that's unique to gender dysphoria; is that

 23       right?

 24          A.    No, it is not unique to gender dysphoria.       It's

 25       the same with depression.




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  1               I would not say meeting a stranger or hearing

  2       about a stranger they should have deep brain stimulation

  3       or that they, you know, should have bariatric surgery.

  4       I want to know who this person is, what they're

  5       suffering from; and I want a chance to form a

  6       relationship with them so that I can make a prudent

  7       decision in their best interest given what I know and

  8       what I don't know about the science behind these

  9       treatments.

 10               I'm not -- I don't really think this is different

 11       than in gender dysphoria.

 12          Q.   Right.    I wasn't asking you a question about your

 13       approach to determining medical necessity.     I was simply

 14       asking whether your qualifications about the term

 15       "medically necessary" are unique to the context of

 16       gender dysphoria?

 17          A.   And I'm saying they're not unique.

 18          Q.   Okay.

 19          A.   Would you like some background on my answer, or

 20       should I just shut up?

 21               MR. BELFORTI:   Dr. Levine, why don't we wait

 22          until a question is posed and then answer --

 23               THE WITNESS:    I'm afraid --

 24               MR. BELFORTI:   -- the question.

 25               THE WITNESS:    -- they really will never pose




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  1          the question and it might make her questioning,

  2          but --

  3               MR. BELFORTI:    I think -- we'll, let's --

  4               THE WITNESS:    I can' keep quite.   I'm sorry.

  5          I am sorry.

  6               MR. BELFORTI:   -- Well, it's Counsel's

  7          deposition.    So why don't we just wait for her

  8          to pose a question.

  9       BY MS. BILDNER:

 10          Q.   Well, with an invite like that, Dr. Levine, it's

 11       hard to resist.

 12               What did you want to tell me about medical

 13       necessity and gender dysphoria that I didn't ask?

 14          A.   You didn't ask about where this started in the

 15       gender team -- in the gender NW and HBIGDA.

 16               Everybody knew that taking off healthy tissues

 17       was an ethical problem.    Everybody even today knows that

 18       removing the breasts of a 20-year old woman who says

 19       that she's a trans man, and removing the penis and

 20       scrotum of a 45-year old person who says who says he's

 21       transgender -- a healthy penis and a healthy un-diseased

 22       scrotum -- is -- is this above all do no harm.

 23               And so we needed to find out -- a group of us at

 24       HBIGDA needed to figure out how we can justify the

 25       treatment and not run into -- and not run into the




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  1       objection from ethicists and from the whole society that

  2       we are doing something against the fundamental ethical

  3       principle of medicine.

  4              And so the answer was:   We will declare that if

  5       you listen to the suffering of the patient -- that is, I

  6       hate my penis and I'm going to -- I don't know how long

  7       I can live with this kind of pain -- we are going to say

  8       this is not cosmetic surgery; this is -- this is an

  9       exception to the rule that we never, never, never remove

 10       healthy tissue or interfere with healthy physiology like

 11       menstruation, for example.    We will call it medically

 12       necessary.

 13              So a group of us agreed to call it medically

 14       necessary.    And from that point on -- and from 1977 on

 15       all these treatments were justified as not cosmetic, as

 16       not simply for the patient's benefit because they want

 17       it, it was because it was medically necessary.

 18              In other words, we wrapped our work around death,

 19       disability, improved function, compassionate symptomatic

 20       relief around this term that the general public

 21       understood.   If a doctor says it's medically necessary,

 22       it must be deeply medically necessary to justify taking

 23       away healthy tissues.

 24              And that's the origin of the term "medical

 25       necessity" in gender dysphoria.




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  1               Thank you for asking the question.     I appreciate

  2       the opportunity to enlighten you about the history of

  3       where this concept got applied to the issues that you're

  4       raising today.

  5          Q.   Okay.    With that, Dr. Levine, I'm going to turn

  6       back to your report and ask you some more specific

  7       questions about it -- which means I need to share my

  8       screen.   Hold on one moment.

  9               Sorry, for some reason it's not taking -- Okay,

 10       let me just try that again.

 11               Do you see your report, Exhibit 3, back on the

 12       screen?

 13          A.   It's on my screen.

 14          Q.   Okay.    I'm on page -- let's see, okay, Page 3 of

 15       your report.     This is up at the top where it says:   On

 16       April 12th, 2016.

 17               Do you see that?

 18          A.   Yes.

 19          Q.   Okay.    Your report says:   On April 12th, 2016,

 20       the inmate announced that she was ready to transition --

 21       period.

 22               Did I read that correctly?

 23          A.   Yes.

 24          Q.   Who did Ms. Clarke announce that she was ready to

 25       transition to?




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  1          A.   I'm sorry, what was your question?

  2          Q.   Who did Ms. Clarke announce that she was ready to

  3       transition to?

  4          A.   Oh, at this moment I don't know.     I presume to

  5       one of her either therapists or medical provider or to a

  6       -- or -- I don't know --

  7          Q.   Okay.

  8          A.   -- at this point.    I may have known, but I don't

  9       remember.

 10          Q.   And the next sentence says:    Ms. Clarke was

 11       disturbed by the prison policy to support transition

 12       only for those who came to prison partially

 13       transitioned.

 14               Did I read that correctly?

 15          A.   Yes.

 16          Q.   Okay.    Is it your understanding that the

 17       Connecticut Department of Correction had a policy that

 18       precluded new gender dysphoric people from

 19       trans healthcare?

 20          A.   I think about seven, eight years ago it was very

 21       common in many, many prisons -- in state prisons to have

 22       such a policy.

 23               I think that policy has pretty much disappeared

 24       over -- in the last eight years.

 25          Q.   That kind of policy was known as a freeze-frame




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  1       policy?   You've read that term?

  2          A.   Yes.

  3          Q.   So it's your understanding that Connecticut, in

  4       fact, had a policy precluding transition for those who

  5       had not yet --

  6          A.   Based --

  7          Q.   -- treatment --

  8          A.   -- based upon Ms. Clarke's frustration that she

  9       was told several times about that.

 10          Q.   Okay.    On Page -- Oh, sorry.   Actually, I should

 11       stay up there.

 12               On Page 3 where we were there's a sentence that

 13       begins on June 15th, 2016.     Do you see that?

 14          A.   Yes.

 15          Q.   Okay.    I'll read that sentence:   On June 15th,

 16       2016, the day that she was scheduled to discuss her

 17       gender dysphoria with the physician, the inmate incised

 18       her scrotum with a fingernail clipper, extruded her

 19       right testis, then alerted the guard to her bloody legs.

 20               Did I read that correctly?

 21          A.   You did.

 22          Q.   So this is a description of Ms. Clarke's

 23       autocastration attempt; is that right?

 24          A.   Yes.

 25          Q.   And you state here that this happened on June




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  1       15th of 2016; is that right?

  2          A.   There's what I wrote, yes.

  3          Q.   Do you know if that date is correct, Dr. Levine?

  4          A.   No.

  5          Q.   Okay.    Incidentally, on Page 2 you note that you

  6       reviewed -- this is Item 8 -- a 7/15/16 Incident Report

  7       for self-mutilation.

  8               Do you see that?

  9          A.   Yes.

 10          Q.   Okay.    So that's a July 15th, 2016, Incident

 11       Report that you looked at?

 12          A.   So this is a -- again, I don't think I could

 13       write any 30-page report that wouldn't have copy editing

 14       or inconsistencies.

 15               I think the important thing is that on the day

 16       that she was scheduled to talk to her physician she

 17       attempted to remove her testis.

 18          Q.   And she succeeded in excising a testis; is that

 19       correct?

 20          A.   No, she didn't really cut out her testis.    She

 21       removed her testis from the scrotum sac.

 22          Q.   Ms. Clarke removed her testis from the scrotum

 23       sac; is that right?

 24          A.   Yes.

 25          Q.   And that took place on July 15th of 2016; is that




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  1       correct?

  2          A.   Well, if you would like to tell me that's the

  3       date it happened, I would believe you.

  4          Q.   Okay.    Back to Page 3.    Okay, we looked at this a

  5       little bit earlier.     In the second paragraph here there

  6       is a sentence that starts with the words "14 months."

  7               Do you see that?

  8          A.   I'm sorry, what sentence is that?

  9          Q.   Well, actually I'll go --

 10          A.   I see it.    I see it.     14 --

 11          Q.   Yeah, 14 months.     So we read that before.

 12               If you go down a little bit later, there's a

 13       sentence that says:     Nowhere in her many requests was

 14       the recognition that her surgical and endocrine requests

 15       were grossly unrealistic -- period.

 16               Did I read that correctly?

 17          A.   I can't -- I remember you reading it correctly

 18       from the past, yeah.

 19          Q.   It's about midway down that paragraph.

 20          A.   Yes, I see it now.

 21          Q.   Okay.    Is it your opinion, Dr. Levine, that a

 22       gender dysphoric person who wants surgery is -- quote --

 23       grossly unrealistic?

 24          A.   Just that sentence alone, the answer would be

 25       yes.




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  1               But we're not talking about a gender dysphoric

  2       person -- some abstract concept of a person.     We're

  3       talking about a particular person who resides in prison,

  4       who has had a history that was very much problematic;

  5       and a person who is asking not only for sex reassignment

  6       surgery, but a whole other list of things that prisons

  7       nowhere in the United States or in the world have ever

  8       provided.

  9               So if you repeat the specific question you asked

 10       me, the answer is:   Of course, it's not totally

 11       unrealistic.

 12               If you ask me about this particular person

 13       because I know her style, you see, I know her

 14       manipulative nature; I would say it can be unrealistic.

 15               But, you see, I'm a doctor for individual

 16       patients.   And sometimes I'm more of an expert on the --

 17       on scientific literature.   And so when you ask me a

 18       question that somehow is in between those two poles, I'm

 19       a little confused about how to answer the question.

 20               So I would ask for a clarification of your

 21       question.

 22          Q.   You mentioned a few things in that response.     One

 23       of them was that of course it's not totally unrealistic

 24       for someone with gender dysphoria to want surgery.

 25               Did I get that right?




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  1          A.   You got that right.

  2          Q.   Okay.    And then you continued to say that for

  3       someone who resides in prison, you thought these

  4       requests were unrealistic.

  5               Is that what you said?

  6          A.   I'm recognizing that this particular inmate wants

  7       it now.    "Now" is an unrealistic matter.

  8               Sex reassignment surgery even in the

  9       community doesn't happen now.

 10          Q.   So the immediacy of Ms. Clarke's request -- of

 11       Ms. Clarke's desire for surgery is what you find to be

 12       unrealistic?

 13          A.   It's -- it's the immediacy of that, it's the --

 14       it's wanting that along with all other kinds of services

 15       now.

 16               It's with the idea that she is going to have her

 17       sentence reduced and she's going to be discharged in the

 18       -- and sent to Scotland or the UK for prison.

 19               There are lots of things about her that are

 20       unrealistic.     This is unrealistic.

 21               I was asked to see her because she was

 22       particularly demanding, unlike other trans inmates in

 23       the Connecticut prison.     She was a particular management

 24       problem.   She was -- she was in the view of the prison

 25       officials so unrealistic that -- that they didn't know




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  1       what to do with her.

  2          Q.   What's the basis for your statement that

  3       Ms. Clarke was more unrealistic than other transgender

  4       people in the Connecticut prison system?

  5          A.   Because I was -- I was told that.

  6               And I also have interviewed countless prisoners,

  7       inmates, and I've never seen anyone who made requests

  8       the way she did.

  9               And she explained to me that she knows -- at some

 10       time she explained to me that she knows she may not get

 11       what she wants, but she wants to continue demanding it

 12       because that's how she's going to get what she wants.

 13               This was -- this was designed by her to make

 14       herself heard in part to get what she wanted and in part

 15       to pave the way for her other transgender sisters so

 16       that they might have an easier time in the future.

 17               And that's one of the reasons why you are

 18       involved in this and -- according to her.

 19               So -- so she is a particular personality who

 20       understands about manipulation.    And -- and she was

 21       making her voice heard.   And she did not care that she

 22       was exaggerating.

 23               And she -- she maintained that she wanted all

 24       that list that's in the paragraph, you see, including

 25       she have wanted her scalp hairline restructured.




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  1               You see, for a prisoner to say I want the DOC to

  2       give me something to help me with my facial hair -- my

  3       scalp hair to me is unrealistic.

  4          Q.   Dr. Levine, as a general matter, is it your

  5       belief that people in prison should have different

  6       expectations for their medical and mental health

  7       healthcare than people on the outside?

  8          A.   I think if they're realistic, they would, yes;

  9       because a prison cannot provide the same level of

 10       quality care.

 11               They can provide adequate care and they can

 12       provide crisis care.   But they do not have the resources

 13       to provide the same kind of care that is available in

 14       the community.

 15          Q.   Is it your belief, Dr. Levine, that someone in

 16       prison should receive different medical or mental health

 17       care --

 18          A.   No, no.

 19          Q.   -- than someone in the -- Please let me finish

 20       the question.

 21               Is it your belief, Dr. Levine, that someone in

 22       prison should receive different medical or mental health

 23       healthcare than someone on the outside?

 24          A.   It is not my belief that they should receive

 25       different.




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  1               So the answer --

  2          Q.   But they --

  3          A.   -- to your question is no.

  4          Q.   -- but they do?

  5          A.   I think they often do, of course, because as I

  6       said, prison mental health interventions are primarily

  7       geared to crises.

  8          Q.   Dr. Levine, who told you that Ms. Clarke was

  9       particularly demanding -- was your word?

 10               MR. BELFORTI:     Dr. Levine, I'm going to

 11          instruct you -- you can answer that question to

 12          the extent it doesn't reveal any conversations

 13          you had with me, or Mr. O'Neill, or Ms.

 14          Medeiros, or Mr. Davis or any other lawyers

 15          involved in this case.

 16               If you can answer it outside of that

 17          context, please do.      If not, I'm going to

 18          instruct you not to.

 19               MS. BILDNER:    Thank you, Jamie.

 20       BY MS. BILDNER:

 21          Q.   And yes, as before, Dr. Levine, I don't know want

 22       to know about your conversations with attorneys.     So my

 23       question is aside from attorneys?

 24          A.   I think I prefer not to answer that question --

 25       or I can't answer that question.




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  1          Q.   Okay.    So I'll take it to mean that your answer

  2       to my question of who told you Ms. Clarke was

  3       particularly demanding would involve attorney-client

  4       privilege and thus you can't answer; is that right?

  5          A.   I read the notes.

  6          Q.   How did you -- Hold on a second.

  7               How did your conclusion that Ms. Clarke's desire

  8       for surgery was unrealistic factor into your assessment

  9       of her, if at all?

 10          A.   There are other aspects of her that are

 11       unrealistic.

 12               I want hip enhancement surgery is unrealistic.      I

 13       want breast augmentation is un -- surgical breast

 14       augmentation is not realistic.     I want total body

 15       electrolysis is unrealistic.    I want facial feminization

 16       surgery now is unrealistic.     I want cricoid cartilage

 17       surgery.

 18               The real issue is, is she ever going to be a --

 19       an inmate who can receive -- because it will be

 20       psychologically beneficial to her -- genital

 21       reconstructive surgery?     That part is a possibility.

 22               And that part is in keeping with what is commonly

 23       thought about by people who are transgendered, whether

 24       they have gender dysphoria or not.

 25               These other things are unrealistic given the




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  1       prison setting.   They are unrealistic in the community

  2       setting.   In order to have all those kind of surgeries,

  3       you probably need to be -- have a million dollars to --

  4       to spare; and you've got to find the right set of

  5       surgeons to do this.

  6               And so I'm saying that it's not just who I think

  7       sex reassignment surgery and inmates are unrealistic,

  8       it's -- it's what is packaged.

  9               It is the style of the patient and what the

 10       patient is demanding and the insistence with which she

 11       demands, you see; and the fact that she's quite aware

 12       that this is a manipulative process, including hiring a

 13       -- and getting eventually an attorney to help her get

 14       what she wants.

 15               There -- I -- So I think that's the answer to

 16       your question.

 17               MS. BILDNER:   Would you mind reading back

 18          the question, Vicky?

 19               (The reporter read back the requested

 20          testimony.)

 21       BY MS. BILDNER:

 22          Q.   Okay, I don't believe you answered that question,

 23       Dr. Levine, in all the things you told me.

 24          A.   Well --

 25          Q.   How did this conclusion factor into your




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  1       assessment of Ms. Clarke?

  2          A.   I think you're missing my answer.   I answered

  3       your question.

  4               If you re-read my question -- my answer, you will

  5       see that her request for ten different things or nine

  6       different things represents the why or how I decided she

  7       was unrealistic.

  8               Because even in the community people do not ask

  9       for things like this.    They don't get things like this.

 10       They can't afford things like this.    They don't

 11       necessarily want all those things.

 12               And -- and this person is telling me that she

 13       wants all of this and she wants it now.     That's why I

 14       say she's unrealistic.

 15               She's not only unrealistic for the context in

 16       which she lives -- that is a prison, who has no history

 17       of providing any of these surgeries to any inmate --

 18       she's unrealistic even if she were in the community.

 19               And by the way, if she were in the community, she

 20       wouldn't get any of these because of her history of

 21       alcoholism and violence, etc., etc.

 22               So that's the answer to your question.   I think

 23       I've just answered your question twice.

 24          Q.   In your initial answer, Dr. Levine, you said that

 25       the genital surgery -- you exempted genital surgery from




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  1       your list and said that that is a -- quote --

  2       possibility.

  3               Do you recall saying that genital surgery is a

  4       possibility?

  5          A.   I do recall saying that.

  6          Q.   Okay.     So is someone who has been requesting

  7       genital surgery in a prison context in your view grossly

  8       unrealistic?

  9               Just -- I'm just asking about genital surgery.

 10          A.   Oh, no.     I'm saying given the fact that someone

 11       has gender dysphoria, the vast majority of people with

 12       gender dysphoria sometimes think about having -- they

 13       imagine having genital surgery.      That's not unrealistic.

 14               It may be a little unrealistic in terms of

 15       wanting it now given the context of a prison system and

 16       the fact that at that point no prisoner in the history

 17       of the United States has ever had genital surgery; so

 18       it's an uphill battle, so to speak.      It's up against

 19       tradition and policy in the history of correctional --

 20       the correctional profession.

 21               So -- but the fact that she has gender dysphoria

 22       and the fact that she thinks about having sex

 23       reassignment surgery and actually feels that she wants

 24       it and feels that she would benefit from it, that's not

 25       unrealistic.      That's not unexpected to hear from a




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  1       trans person -- especially a trans person in prison who

  2       is often in a very desperate state -- emotional state.

  3               I hope that answers your query.

  4          Q.   It does, thank you.

  5               I'll ask you then do you believe today that

  6       Ms. Clarke is an appropriate candidate for genital

  7       surgery?

  8          A.   As I have not seen Ms. Clarke since 22 months

  9       ago, I would have to reserve that judgment based upon my

 10       ability to see her, to talk with her extensively.

 11          Q.   So you can't say today whether she or is not an

 12       appropriate candidate for genital surgery?

 13          A.   Not within my -- not within my professional

 14       ethical concept of professionalism.

 15          Q.   Okay.    Let's look at some more portions of your

 16       report.    Let's see.

 17               Okay, I'm on Page 5 looking at a section titled

 18       Other Assessments.      Do you see that?

 19          A.   Yes.

 20          Q.   Okay.    And in the first paragraph under Other

 21       Assessments, the last sentence of that paragraph is:      In

 22       2018 claimed a corrections officer assaulted her in 2016

 23       at McDougal claiming it was sexual in nature.

 24               Did I read that correctly?

 25          A.   Yes.




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  1          Q.   Okay.     Tell me about this sentence, Dr. Levine.

  2          A.   I'm reporting what she told me.

  3          Q.   This is in a section entitled, Other Assessments.

  4               Do you see that?

  5          A.   Yes.

  6          Q.   Okay.

  7          A.   I don't know what you're asking me to tell you

  8       about that sentence.

  9          Q.   Well, I'm asking you if this is a self-report of

 10       Ms. Clarke to you or if this is in some kind of other

 11       assessment or material that you read?

 12          A.   I can't recall at the moment.    I'm sure there is

 13       a definitive answer to that question.      I just can't tell

 14       it to you at the moment.

 15          Q.   The sentence appears to reference a sexual

 16       assault of Ms. Clarke by a DOC employee; is that

 17       correct?

 18          A.   Yes.     I think -- I think if I recall correctly,

 19       she told me that at one of her prisons a very large man

 20       who was in charge of gang members told her that she was

 21       going to be the sexual servant of one of the correction

 22       officers, and that that eventually lead to the arrest of

 23       the correction officer and the imprisonment of the

 24       connection officer as a sex offender.

 25          Q.   Did --




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  1          A.   I presume that that was correct and -- and that

  2       she experienced that.

  3               I think that was even before that she came out as

  4       a trans person.

  5               This is something else, that I think she claimed

  6       that she was assaulted.     But I don't know the details --

  7       at least I don't recall any of the details from that as

  8       we sit here today.

  9          Q.   Let's take a look at the other description that

 10       you just referenced.     I believe that's on Page 11.     So

 11       I'm going to scroll there.

 12               Okay, I'm looking at the second full paragraph

 13       that begins:     Before the castration attempt.

 14               Do you see that?

 15          A.   Yes.

 16          Q.   Okay.    Before the castration attempt -- comma --

 17       VM was housed in Cheshire -- period.

 18               V-M is Veronica-May Clarke?

 19          A.   Yes.    I think I accurately described that in my

 20       report, yeah.

 21          Q.   I'll continue reading.   She was transferred to be

 22       in a medical facility.     She was there for three years,

 23       primarily in the general population.     There she was

 24       stabbed in the face with a pencil.     A 360-pound gang

 25       leader informed her that she was to be the sex partner




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  1       of a corrections officer who was delivering drugs

  2       surreptitiously to inmates.     Fearing for her safety she

  3       complied three -- dash -- four times until the officer

  4       was arrested then put in prison as a sex offender --

  5       period.

  6               Did I read that correctly?

  7          A.   Yes.    You get an A for reading, by the way.

  8          Q.   I hope so.    I went to law school.

  9               Is this the description that you were just

 10       talking about earlier?

 11          A.   This is what I was referencing, yes.

 12          Q.   Okay.    So it's your understanding that Ms. Clarke

 13       was sexually assaulted by a DOC employee at some point

 14       before she came out was transgender; is that right?

 15          A.   I think so.

 16          Q.   Okay.    And that that employee was subsequently

 17       arrested and served some time in prison; is that right?

 18          A.   That's right.

 19          Q.   Okay.    I'm going to go to Page 17; okay.

 20               This is in the conclusions section of your

 21       report, Dr. Levine.     On the top of this page you have a

 22       list of -- or in the middle of the list of diagnoses

 23       item D says:     Possible traumatic stress disorder due to

 24       being forced into prostitution in prison -- quote -- or,

 25       I'm sorry -- parentheses -- there is some question from




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  1       prison officials whether this actually occurred -- close

  2       quote.

  3                Do you see that?

  4          A.    Yes, but -- I am -- I see that.   But I don't

  5       know, is that talking -- is that a reference now to what

  6       happened after she transitioned or before?     I can't

  7       recall.

  8          Q.    Well, that's my question to you, Dr. Levine.

  9       This is in your report.     What is this in reference to?

 10          A.    It's a reference to the fact that there is some

 11       note in -- I read something in her notes that expressed

 12       doubt whether, in fact, as she exactly reported it, it

 13       happened.

 14                I think that there was a sexual assault by this

 15       corrections officer, I don't think is in doubt.

 16                I think whether her account of it is exactly

 17       correct, that's what I think it is about.     There might

 18       be a discrepancy between the legal proceedings of what

 19       actually happened to this man and what the person

 20       experienced at the hands of this man and the hands of

 21       the 360-pound other inmate.

 22                I'm just saying there is some question about the

 23       details.    I'm not saying she wasn't sexually assaulted.

 24          Q.    You're not saying that Ms. Clarke was not

 25       sexually assaulted by a DOC employee; is that right?




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  1          A.    That's right.

  2          Q.    Okay.    You have no reason to dispute that?

  3          A.    I don't dispute that, no.

  4          Q.    Did you make any effort to look into that?

  5          A.    Only through the -- only through the records.

  6          Q.    So you didn't take any steps to look into

  7       Ms. Clarke's sexual assault and whatever happened

  8       subsequently with the DOC employee who assaulted her?

  9          A.    No, I did not.

 10                You know, this is just one of numerous things

 11       that you might ask me; Did I -- I read the medical

 12       record.    I tried to summarize as best I could accurately

 13       the medical record.

 14                I didn't feel it was my role to verify everything

 15       that was in the medical record.

 16          Q.    Okay.    Yet you expressed some skepticism about

 17       whether this actually occurred in your report; is that

 18       right?

 19                MR. BELFORTI:    Objection as to form.

 20                You can answer, Dr. Levine.

 21                THE WITNESS:     I feel like I already answered

 22          it.    I already clarified I didn't -- I'm not

 23          doubting that she was sexually assaulted by this

 24          person.       I just said to you I'm not sure that

 25          her particular account is a hundred percent --




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  1          corresponds to what the documentation may show.

  2       BY MS. BILDNER:

  3          Q.    You didn't review any documentation specific to

  4       that sexual assault, did you?

  5          A.    No, I didn't.

  6          Q.    Later on in Item 2-D you wrote:     A periodic

  7       reminder of her vulnerability to subjugation at the

  8       hands of an inmate who ordered her into sexual servitude

  9       and cellmates who may want to sexually use her.       This

 10       alleged scheme with the corrections officer --

 11                THE REPORTER:   I'm sorry.   Could you read a

 12          little slower, please.

 13                MS. BILDNER:    Sure.   Sorry about that.

 14       BY MS. BILDNER:

 15          Q.    The second sentence of 2-D says:     This alleged

 16       scheme with the corrections officer represented her

 17       weakness, helplessness, and the lack of personal control

 18       as a trans woman in a male prison.

 19                Did I read that correctly, Doctor?

 20          A.    Yes.

 21          Q.    Okay.    A few moments earlier, however, you told

 22       me that your understanding is that this incident

 23       happened -- the sexual assault happened before

 24       Ms. Clarke came out as transgender in prison; is that

 25       right?




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  1          A.   Yes.

  2               MR. BELFORTI:   Objection as to the form.

  3               Please answer, Dr. Levine, if you can.

  4       BY MS. BILDNER:

  5          Q.   Was your answer yes, Dr. Levine?

  6          A.   Well, I may -- I may have used the wrong word

  7       here.

  8               I do think that being commanded to be the sexual

  9       partner to someone she didn't choose to be the sexual

 10       partner of reminded her of the weakness and the

 11       helplessness and lack of personal control of anyone.

 12               And as she is thinking about herself as a woman,

 13       and she may be used in terms of being anally penetrated

 14       or performing fellatio on somebody, that in her mind

 15       that was a kind of demeaning and womanly thing.

 16               And so perhaps -- perhaps I should have said as a

 17       -- as a small man, or as a feminine man, or as a man who

 18       sometimes gave people an indication that she was

 19       different than other -- than the average inmate.

 20               I guess I used the word trans perhaps not in an

 21       ideal fashion if, in fact, this happened before she came

 22       out as a trans person and if, in fact, this happened

 23       before she ever confessed to anyone that she was

 24       thinking about being trans.

 25               So I think the real issue here is the subjective




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  1       sense of weakness, of helplessness, of not having agency

  2       and control over what happens to her own body.

  3          Q.   Would you agree the inability to access the

  4       genital surgery would contribute to a sense of a lack of

  5       agency over Ms. Clarke's own body?

  6          A. Yes. If she sincerely and consistently desired

  7       this, it adds to her sense of helplessness and lack of

  8       agency over her own anatomic body, yes.

  9          Q. On page -- I'm sorry, we're going back a little

 10       bit. On Page 8, the second paragraph here begins:

 11       Ms. Clarke has a serious form of character pathology.

 12               Do you see that, Dr. Levine?

 13          A.   Oh, yes.

 14          Q.   What is "character pathology"?

 15          A.   Character pathology is a psychiatric concept that

 16       has to do with a stable organization of people's

 17       behavior over time; that is, not at one developmental

 18       phase in life but what they're like as a person; whether

 19       someone is trustworthy, whether someone is honest,

 20       whether someone is caring or un-empathic to other

 21       people, whether someone's kind or considerate, whether

 22       someone is a cheater, whether someone lies.

 23               It has to do with a stable behavioral trait that

 24       co-exists -- that exists over various developmental

 25       phases; childhood, adolescence, early adolescence,


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  1       middle adolescence, late adolescence, adult life, old

  2       age.

  3               People have character traits.   Each one of us has

  4       a set of character traits.

  5               But when the character traits are maladaptive and

  6       they cause problems for themselves and for other people

  7       we call that character pathology.     Now --

  8          Q.   Is character pathology a DSM term?

  9          A.   Character personality disorder is a synonym for

 10       that in DSM.

 11               And the most common form of diagnosis of

 12       character pathology is a mixed -- is a mixed character

 13       pathology.     Yes, it is -- it is.

 14               But I'm saying that character pathology is a

 15       concept that goes beyond a formal diagnosis DSM-5.

 16          Q.   A little bit later in the paragraph you write:

 17       Transitioning to a female identity, the latest attempt

 18       to find personal comfort is failing -- period.

 19       Typically inmates feel better when they come out as

 20       trans -- period.

 21          A.   Yes.

 22          Q.   Did I read that correctly?

 23          A.   A plus.

 24          Q.   Thank you.

 25               In fact, Dr. Levine, Ms. Clarke did tell you that




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  1       she felt better when she came out as transgender, didn't

  2       she?

  3          A.   Yes, temporarily.

  4          Q.   She told you that her psychological state has

  5       been ever so much better since she came out when

  6       compared to previous years before and during

  7       incarceration, didn't she?

  8          A.   She came out after she collapsed -- she said she

  9       emotionally collapsed from hiding her trans state; and

 10       that she was for a week so excited she couldn't sleep.

 11       And so during that time she was so, so much better.

 12               But then what happened, of course, is that she

 13       started presenting herself as being gravely distressed

 14       and needing immediate attention and making all sorts of

 15       demands; and then having these ideas that the reason

 16       she's in prison is rehabilitation.

 17               And then she had this idea that we should get rid

 18       of prisons entirely.   That is she was -- she was

 19       representing her inability to be realistic about her

 20       social situation.   And she presents herself as

 21       suffering, suffering, suffering.

 22               And so that is not exactly what the long-term

 23       outcome of a transition is supposed to do.    It's

 24       supposed to -- I am much more comfortable in my body now

 25       and I am happy with myself.   And yes, I would like to




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  1       take hormones; and yes, I would want someday to have

  2       surgery.

  3              But -- but she doesn't represent herself as

  4       having equanimity, she -- having peace.    She represents

  5       herself as suffering and demanding because she is in so

  6       much distress; and that you bastards in the Department

  7       of Correction are not paying attention to me.

  8              So I'm saying to you that before she came out in

  9       prison as trans -- before she was actually in prison for

 10       -- for attempted murder and murder, that she had already

 11       evidenced a serious form of maladaptive behaviors.      And

 12       those things are character traits.     They don't get

 13       better.

 14              You don't -- you don't really -- if you are a

 15       fundamentally dishonest human being and you change your

 16       gender, you don't become necessarily a fundamentally

 17       honest human being.   You change your gender, and your

 18       personality is pretty much the same.

 19              And this is -- this is one of the things that's

 20       unrealistic sometimes about prisoners.     They really want

 21       to change their personality dramatically.     And we hope

 22       that they're actually going to achieve it, you see.

 23              Because this has been an extremely violent and

 24       incredibly destructive human being, both

 25       self-destructive and destructive to other people.




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  1                And this is what psychiatrists who are -- have

  2       been experienced with a broad range of human behavior

  3       would call character pathology.

  4          Q.    You just brought up Ms. Clarke's criminal

  5       history, Dr. Levine; is that right?

  6          A.    (No response.)

  7          Q.    You were just referencing her criminal history?

  8          A.    Yes.

  9          Q.    Okay.    Is it the gender dysphoria treatment that

 10       Ms. Clarke gets today connected to the crime that

 11       Ms. Clarke committed in 2007?

 12          A.    The crimes -- the crimes that she committed in

 13       2007 and -- and her behavior before that time bears some

 14       historical relationship to her desire to live as a woman

 15       today and have the various ten treatments that she

 16       wants.

 17                In some historical life -- if you were her

 18       biographer, of course you would be talking about that

 19       and wondering how that plays into her gender dysphoria

 20       and her current wishes to -- to live her life as a

 21       woman.    Of course it would.

 22                But somehow in these legal proceedings that kind

 23       of life perspective seems irrelevant to many people.

 24          Q.    I wasn't asking you about her diagnosis,

 25       Dr. Levine.      I was asking you about her treatment.   So




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  1       I'll ask in a slightly rephrased way.

  2               Is the treatment that Ms. Clarke receives

  3       connected to the crime that she committed?

  4          A.   No.     Her treatment is related to her

  5       psychological state and her pain, her discomfort.     And

  6       her treatment is related to our attempt to ease her

  7       discomfort with herself.

  8               The origins of her comfort -- of the discomfort

  9       with herself is a separate question.     But the treatment

 10       is about trying to help this poor person.

 11          Q.   Okay.    So the treatment is about trying to treat

 12       Ms. Clarke today regardless of what crime she committed;

 13       is that right?

 14          A.   In a limited sense, that's right.

 15          Q.   Why in "a limited sense"?

 16          A.   Because if we are to undergo and helping her to

 17       understand why she's in such pain, we would have to

 18       understand her life history.

 19               And her criminal history and her noncriminal, but

 20       character pathology history are part and parcel of -- of

 21       her.    They're just -- we can't separate her motivations

 22       to live her life as a woman from the things that have

 23       happened to her and things that she has done in her

 24       life.

 25               So in a limited sense we are trying to treat her




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  1       gender dysphoria, to create a program that will enable

  2       her to feel comfortable in herself, with herself.

  3               But we know historically that she has a past.

  4       And that past, because she's a human being, enters into

  5       her memory bank, into her associations that creates

  6       feelings about -- feelings about the past come to her

  7       present, you see.

  8               There are -- they're not totally unrelated.     They

  9       may be legally unrelated, but they're not

 10       psychologically unrelated to her past.

 11               And so just to summarize my answer, the treatment

 12       that we are talking about finding for this inmate is

 13       about her current level of distress and suffering.      That

 14       distress and suffering bears some relationship to her

 15       past history -- period.

 16          Q.   Is it your testimony, Dr. Levine, that if

 17       Ms. Clarke had committed a different crime, that would

 18       alter the treatment that she should get for gender

 19       dysphoria?

 20          A.   No.   I mean, if she was in for stealing cars and

 21       she had gender dysphoria, you see, and if she was in for

 22       life; then we would want to know -- her stealing cars

 23       would have something to do with her need to create a

 24       different and a better sense of self.    And the gender

 25       dysphoria would be treated.




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  1          Q.   So in other words, the crime does not dictate the

  2       treatment?

  3          A.   Exactly.

  4          Q.   Okay.    Going back to your report -- we looked at

  5       this a bit earlier -- on Page 6 you have a section

  6       titled, Medical History While Incarcerated.

  7               Do you see that?

  8          A.   Yes.

  9          Q.   Okay.    What's the purpose of this section of your

 10       report?

 11          A.   The purpose is to review what is known based on

 12       the records of this person's physical status and

 13       psychological status, and what ails the person, and what

 14       treatments were necessary, and what psychological states

 15       of mood or anxiety states or traumatic states -- what

 16       kind of victimization did she experience.

 17               I'm just trying to understand who this person is

 18       in terms of their medical and psychiatric history as

 19       based -- as incomplete as that may be in any medical

 20       record system.

 21          Q.   So this section is intended to detail kind of

 22       significant medical history and mental health history

 23       for Ms. Clarke; is that a correct understanding?

 24          A.   I'm just trying to learn everything I can based

 25       on the information available to me about this person.




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  1          Q.   Okay.    And nowhere in this medical history while

  2       incarcerated section of your report do you mention

  3       Ms. Clarke's autocastration attempt, do you, Dr. Levine?

  4          A.   I thought we just -- you and I just reviewed

  5       that.

  6               I think if you -- you found two places in my

  7       report that -- that talked about that.

  8          Q.   Okay.    But nowhere in this section -- which is

  9       Ms. Clarke's medical history while incarcerated -- do

 10       you mention her autocastration attempt; right?

 11          A.   I don't know.

 12          Q.   Okay.    Well, let's take a look at the dates.   I

 13       think we discussed that the autocastration was in July

 14       of 2016; is that right?

 15               THE REPORTER:    I'm sorry.   I didn't get the

 16       answer.

 17       BY MS. BILDNER:

 18          Q.   What was your answer, Dr. Levine?

 19          A.   In this section that information is not present.

 20          Q.   Okay.    Let's talk a little bit about that

 21       autocastration attempt.

 22               Well, first of all, just can you please describe

 23       for me what you know about Ms. Clarke's attempt to

 24       castrate herself?

 25          A.   What I remember from the review of the medical




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  1       records is the ironic thing that after complaining about

  2       being trans, that she -- she had an appointment with a

  3       doctor to discuss her gender dysphoria, and prior to

  4       that event she -- the same day she castrated herself --

  5       or the day before she castrated herself --

  6          Q.   And what --

  7          A.   I -- she met -- she had a castration attempt.

  8       She actually didn't castrate herself in a medical sense.

  9          Q.   Okay.    And in terms of the substance of the

 10       attempt, you recall that Ms. Clarke attempted to remove

 11       her, I believe, right testicle?

 12          A.   That was her intention, was to remove one testis.

 13          Q.   Okay.    And so she took a pair of nail clippers to

 14       try to do this?

 15          A.   Yes.

 16          Q.   Okay.    And using those clippers she succeeded in

 17       removing -- I think removing the testicle from the

 18       scrotum; is that the correct medical description?

 19          A.   Yes.

 20          Q.   Okay.    And at that point she was in substantial

 21       pain; right?

 22          A.   She was in pain, yes.

 23          Q.   Well, I guess as a physician, what kind of pain

 24       would you expect cutting into your right testicle with a

 25       nail clippers to entail?




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  1          A.   Well, it's not one cut.    It must have been a

  2       series of cuts.    And it was probably intense.

  3               But actually I -- I think when she was

  4       transferred to the hospital, she wasn't in particular

  5       pain; she was just bloody.

  6               And I think the incision itself caused a great

  7       deal of pain, which stopped her from going further.

  8               The worst pain -- And I don't need to give you a

  9       medical lecture about pain.    I'm sorry.

 10          Q.   No, that's fine.

 11               So at some point your understanding is Ms. Clarke

 12       stopped because she was in too much pain; is that

 13       correct?

 14          A.   That's what she said, she was in too much pain.

 15               She was probably afraid.   And she saw great deal

 16       of blood, and that probably frightened her.

 17          Q.   And she was taken to a hospital -- an emergency

 18       department; is that your understanding?

 19          A.   Right.

 20          Q.   And after that she was taken to a prison

 21       infirmary where she recovered for a period of time --

 22          A.   I --

 23          Q.   -- is that your understanding?

 24          A.   -- think somewhere in my report I quoted what she

 25       said afterward, after she got back to the prison system,




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  1       how -- how stupid it was for her to do that.

  2          Q.   And why do you think she said that?

  3          A.   Perhaps because she thought -- she was

  4       embarrassed that she did it.

  5               I don't know.    I'm just quoting her -- I'm just

  6       quoting what was in the record.     She -- she expressed

  7       regret and she called it stupid.

  8          Q.   Dr. Levine, earlier we talked about gender

  9       dysphoria in terms of distress.

 10               Do you recall that conversation?

 11          A.   You know, you've asked me if I recall

 12       conversations that we've had.

 13               I want you to know I'm not demented.

 14          Q.   Don't take it personally.    It's a function of the

 15       deposition --

 16          A.   I have to -- I have to take it personally.     I

 17       don't understand why you keep asking me the same obvious

 18       answer -- obvious --

 19          Q.   Sure.    Well, we spoke earlier about gender

 20       dysphoria in terms of distress.

 21               So my question to you is:    Would you consider

 22       autocastration to be a sign of distress from gender

 23       dysphoria?

 24          A.   Yes.    I think it's usually a sign of -- that I'm

 25       not receiving the appropriate medical attention that I




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  1       feel I deserve.    I'm not being recognized for the pain

  2       that I'm in.    I'm special because I have gender

  3       dysphoria and I need some attention.    I'm in great

  4       distress over this weird thing that I'm experiencing

  5       that I hate my body.

  6               So I think what happens -- how prison systems

  7       have learned to take -- we don't like people -- and we

  8       don't get autocastration as often occurring because

  9       trans -- because prisons have special programs to

 10       recognize the transgender person.

 11               So I have come to view personally autocastration

 12       attempts as indicating that the prisoner feels that

 13       they're not getting sufficient medical attention,

 14       psychiatric attention, staff attention for their unique

 15       form of suffering.     And when that happens, the

 16       autocastration phenomenon, I think, disappears.

 17          Q.   When people are given sufficient attention to the

 18       suffering that's happening, autocastration disappears;

 19       is that what you just said?

 20          A.   Yes.   There's no reason to castrate one's self if

 21       one -- if one can eventually get attention,

 22       understanding, and hopefully the treatment that they

 23       think they need.

 24          Q.   Dr. Levine, in your professional opinion what

 25       kind of intervention would be appropriate after an event




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  1       such as this?

  2          A.   I think a much more intensive paying attention to

  3       the circumstances that lead up to the autocastration

  4       attempt, and letting the person know that we know that

  5       you're trans and we are going to do what we can to help

  6       you deal with this; that we recognize -- we see you.      We

  7       hear you.     We are going to offer -- we're offering our

  8       services to help you.

  9                 And now often these services have -- as come to

 10       be in 2022 there are special accommodations that prisons

 11       make.   For example, just giving access to female canteen

 12       items goes a long way to making a person feel seen and

 13       appreciated for whom they are currently.

 14          Q.   Would a psychotherapy intervention --

 15          A.   Yes --

 16          Q.   -- be appropriate after an event such as this?

 17          A.   -- yes.

 18          Q.   And what -- what would that look like?

 19          A.   It would look exactly like I've already described

 20       to you.     That is, you're going to meet somebody.   You're

 21       going to talk regularly about your personhood, including

 22       your gender -- your sexual identity, your life history,

 23       and your current sexual identity, and the component of

 24       your sexual identity we call gender identity.

 25               In other words, we're going to talk to you


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  1       regularly and get to know you as a person.

  2          Q.   Do you suggest -- I guess, would a psychiatric

  3       treatment plan be appropriate for someone after an

  4       attempted autocastration?

  5          A.   That's what I'm talking about.    That's just a

  6       synonym for what I'm talking about.

  7          Q.   Okay.    So you agree -- we agree that after an

  8       event such as this someone should have a psychiatric

  9       treatment plan for their gender dysphoria?

 10               MR. BELFORTI:    Objection as to the form.

 11               Answer if you can, Dr. Levine.

 12               THE WITNESS:    So I already said to you that

 13          mental health in many prisons, as far as I

 14          understand it, are crisis-oriented.

 15               And a castration attempt is a crisis.     We

 16          all agree this is a crisis.

 17               And, therefore, the prisons respond by

 18          putting them in a different setting where they

 19          can be observed, where people can be talked to.

 20               And whether that meets Dr. Levine's criteria

 21          for psychotherapy or not, it probably meets the

 22          prison's concept of how they manage crises.

 23       BY MS. BILDNER:

 24          Q.   What other kinds of interventions would be

 25       appropriate after a crisis such as this?




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  1          A.   I'm sorry, the first part of your question was

  2       what type -- what type?

  3          Q.   What other types of interventions would be

  4       appropriate after a crisis such as this?

  5          A.   Medication treatment, and interviews, and plans

  6       to continue those interviews, and to see if we can't

  7       address the desperation, the sadness, the foolishness --

  8       whatever it is that's troubling the person.

  9               We want to know what caused this castration

 10       attempt and we want to know how we can address that to

 11       prevent it.

 12               Now, what is one of the principles here from a

 13       psychiatrist's point of view is that a crisis represents

 14       both danger and an opportunity.     So the mental health

 15       establishes and recognizes the danger -- that is the

 16       crisis, the autocastration attempt.

 17               And the question is, herein lies the next -- the

 18       next step is:    What is the opportunity that we are going

 19       to provide this person to prevent the recurrence of this

 20       crisis?

 21               And my answer to that is, we put them into a

 22       special medical system in prison.     We talk to them.     We

 23       give them medicine if that seems to be by the evaluator

 24       appropriate.    And we continue keeping them on our radar

 25       screen.




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  1               And I -- you know, I think that's the kind of

  2       thing that happens in prisons.        It's a crisis.   So their

  3       systems -- the mental health systems are designed to

  4       respond to crisis.      There is a crisis.    They responded.

  5               Now, you see, if someone said:       What a stupid

  6       thing I did.    I'm really sorry I did at that; you know,

  7       that's -- that's sort of -- the mental health

  8       professional notes a sentence like that, you know.

  9               I mean, if the person said:       I wish -- I'm going

 10       to do it again; you know, or:       Next time I'm going to

 11       kill myself; they would respond differently.

 12               We rely on the words that the patients utter.

 13               THE REPORTER:    Excuse me.

 14               Can we take a break for a couple minutes?

 15               MS. BILDNER:    Oh, sure, yeah.    Sorry.   It's

 16          been a while.

 17               Okay, let's go off the record and take a

 18          break.

 19               (Recess taken at 3:23 p.m.)

 20                                    ---

 21               (Back on the record at 3:36 p.m.)

 22                                     ---

 23       BY MS. BILDNER:

 24          Q.   Okay, we're back on the record.

 25               Dr. Levine, I wanted to ask you --




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  1               THE REPORTER:    Excuse me.   There's somebody

  2          else here.     Kelsey?

  3               (Off the record.)

  4       BY MS. BILDNER:

  5          Q.   Okay, we're back on the record.

  6               Dr. Levine, I wanted to talk to you about again

  7       your own experience treating people with gender

  8       dysphoria.

  9               Have you had patients with gender dysphoria who

 10       found it difficult to come out as transgender?

 11          A.   I think every adolescent transgender person --

 12       probably 95 percent of them have difficulty coming out.

 13       Almost every gay and lesbian person has difficulty

 14       coming out.   And every trans person has a certain degree

 15       of difficulty -- maybe even larger than gay people.      But

 16       I'm not -- I can't really quantify that, yeah.

 17          Q.   And why do you say that almost every single

 18       transgender person would have a larger degree of

 19       difficulty coming out?

 20          A.   Well, coming out, as you probably know, has

 21       different -- there's coming out to the self, and there's

 22       coming out to another, and then there's coming out to

 23       one's family, and then there's the coming out process to

 24       one's work.

 25               And so coming out can't be summarized as easy or




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  1       difficult.      It depends on the context.

  2                So coming out to the self for a trans person is

  3       often difficult, depending on the family attitudes it's

  4       difficult, Depending on their friend group it's

  5       difficult, and depending on their work environment and

  6       the reason they live and so forth it's difficult.

  7                If they're church members -- if from conservative

  8       group it's difficult.

  9                So the answer to your question is it's difficult.

 10          Q.    You have patients in your practice or have you

 11       had patients in your practice who have struggled with

 12       the decision about whether to come out to themselves or

 13       to others about being transgender?

 14          A.    Yes.

 15          Q.    Have you had patients in your professional

 16       practice who have come out as transgender to themselves

 17       or others later in life?

 18          A.    Yes.

 19          Q.    Have you had patients in your professional

 20       practice who have attempted to come out as transgender

 21       and for various reasons gone back into the closet, so to

 22       speak?

 23          A.    You're not talking about detransitioning people;

 24       right?

 25          Q.    No, I'm not talking about detransition.




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  1          A.   You're talking about people like Veronica-May who

  2       claims to have lived two years as a woman and then

  3       returned to living as a man --

  4          Q.   Sure.

  5          A.   -- that was your -- that would be an example?

  6               Have I seen that before Veronica-May?     I've

  7       certainly seen that in the histories of inmates.         I

  8       don't think I see it as often in the community.      But I

  9       do see it in people more often in inmates, yes.

 10          Q.   Ms. Clarke was -- I believe is 46 years old.

 11               When Ms. Clarke was growing up in the 1970's, you

 12       were practicing as a psychiatrist; is that right?

 13          A.   That's true.

 14          Q.   And you were treating people with gender

 15       dysphoria at that time?

 16          A.   Starting in 1973 was my first patient.

 17          Q.   Okay.    Were transgender people well-known at the

 18       time?

 19          A.   No.

 20          Q.   Were transgender people well-known even to mental

 21       health professionals at the time?

 22          A.   Not in 1973.

 23          Q.   Would someone growing up in the 1970s who is

 24       transgender perhaps find it difficult to gain

 25       acceptance?




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  1          A.   Yes.    But people growing up in 1970 probably

  2       wouldn't know that they were transgender.        They would

  3       think that they were different.        They weren't sure how

  4       they were different.     And they would go through a phase

  5       where they thought they probably were gay or gay-to-be.

  6               That's 50 years ago, you know, and -- almost

  7       50 years ago.     The world has changed dramatically in

  8       50 years.

  9               And so, see, transgender is a menaced expression.

 10       It is not simply something within the self, it is

 11       something that comes from and has to relate to the

 12       culture.

 13               And so that's why your questions are really

 14       important about what it's like to grow up as a

 15       gender-atypical child in 1970 versus growing up as a

 16       gender-atypical child today.

 17          Q.   Dr. Levine, I am going to share my screen and go

 18       back to your report, Exhibit 3.

 19               Are you able to see that?

 20          A.   I do.

 21          Q.   Okay.    I'll go to Page 16.

 22               So I'm on Page 16 of your report in this first, I

 23       guess, continued paragraph.     I'm looking at a sentence

 24       that begins:     The results of surgery were far from

 25       guaranteed.




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  1               Do you see that?

  2          A.   Yes.

  3          Q.   Okay.    The results of surgery were far from

  4       guaranteed -- dash -- about 30 percent of surgeries

  5       required additional surgeries because of problems.

  6               Did I read that correctly?

  7          A.   That's right.

  8          Q.   And here you're talking about genital surgeries;

  9       is that correct?

 10          A.   Yes.

 11          Q.   And you're talking to Ms. Clarke about genital

 12       surgeries in the context of one of your conversations?

 13          A.   Yes.

 14          Q.   What is this statement about 30 percent of

 15       surgeries required additional surgeries?     What does that

 16       mean?

 17          A.   That means that there are complications and that

 18       -- that, you know, when one wants surgery, one keeps

 19       one's fingers crossed that everything will go fine.      And

 20       I'll have one anesthetic experience.     I'll recover and

 21       go home and live happy ever after.

 22               But given the results -- the published results of

 23       genital surgery back in those days -- many times they're

 24       -- that figure is based upon something from the

 25       literature where people often had to have minor returns




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  1       to fix something or they had complications.

  2               And so I just wanted -- when I was talking to

  3       Ms. Clarke, I just wanted to -- her to know that -- that

  4       it is not a slam-dunk.   Just because you actually get

  5       surgery doesn't mean that everything goes well.

  6               She was a little shocked by this, I wrote.     She

  7       was stunned by that, actually.

  8               So I just think, you know, it's the beginning

  9       phase of trying to appreciate how a person is thinking

 10       about what they want, you see.

 11               And, you know, I've already said to you and

 12       you've questioned me extensively about what is the basis

 13       of my unrealistic -- my describing her as unrealistic.

 14               She didn't seem to know at that time that there

 15       was a possibility that there was a complication to be

 16       contended with with surgery.

 17               Now, I don't expect her to know about 30 percent.

 18       But I do expect people to know that any surgical

 19       experience has complications.

 20          Q.   Dr. Levine, I was asking you specifically about

 21       this -- this 30 percent figure.

 22               You don't have a cite for the 30 percent figure

 23       in here, do you?

 24          A.   Yes, I realize I don't.   And it probably should

 25       have been cited.   But it came from my review of the




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  1       literature probably about another case, you know, in

  2       some other circumstance.

  3               It was my -- it's a deficiency of this report

  4       that I didn't cite that.

  5          Q.   Is there a cite for --

  6          A.   I can't tell --

  7          Q.   -- the 30 --

  8               THE REPORTER:     I can't --

  9       BY MS. BILDNER:

 10          Q.   -- Sorry, let me finish my question, Dr. Levine,

 11       thank you, for the record.

 12               My question was:     Is there a cite for the

 13       30 percent of surgeries required additional surgeries

 14       figure?

 15          A.   This is a basis -- There is somewhere a cite for

 16       that.   I didn't make this up out of the blue.     I took it

 17       from a surgical paper.

 18               I think it -- I searched out the complication

 19       rates of genital surgery, and there were a number of

 20       papers that came up.      And I'm quoting one of them.   I

 21       don't recall which one, no.

 22          Q.   So you don't recall what paper --

 23          A.   No, I don't --

 24          Q.   -- states that the 30 percent of surgeries

 25       require additional surgeries?




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  1          A.   -- I don't recall.

  2          Q.   And in fact, Dr. Levine, isn't -- you previously

  3       testified that you don't know if this number is

  4       currently accurate; is that right?

  5               MR. BELFORTI:   Objection as to the form.

  6               Answer if you can, Dr. Levine.

  7               THE WITNESS:    So these figures come from a

  8          surgeon or a surgical team looking at the

  9          surgical literature, you see, in reviewing

 10          multiple studies and reviewing the complications

 11          and the rates of any kind of additional incision

 12          or -- for example -- that is made.

 13               So for example, if there are post-operative

 14          urinary problems, they may need to intervene in

 15          the bladder in some way.

 16               One of my patient's left labias turned

 17          necrotic right after surgery; so they had to

 18          have an additional surgery to remove the

 19          necrotic left labia.

 20               These are not the kind of things that

 21          surgeons generally like to advertise.     But there

 22          are academic surgeons who review multiple

 23          papers.   And this 30 percent came from one of

 24          those review articles.

 25               But if I -- you know, I probably looked at




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  1          that paper in 2020 or 2019.      And I haven't -- I

  2          haven't looked at the surgical literature

  3          complication rate, I think, since that time.        So

  4          I just don't remember.

  5       BY MS. BILDNER:

  6          Q.   Your --

  7          A.   If we -- if we had to, we could look at the

  8       literature together and find articles.

  9          Q.   Okay.     So just to confirm your testimony,

 10       Dr. Levine, you're not sure today what surgical paper

 11       this cite comes from; is that right?

 12          A.   That's right.

 13          Q. And you're also not sure if the recent literature

 14       on surgical complications rate -- surgical complications

 15       would have the same rate; is that right?

 16          A.   Oh, I'm sure that every surgeon has a little

 17       different rate.

 18          Q.   Okay.

 19          A.   But this is kind of a summary statement.

 20          Q.   So you're --

 21          A.   The --

 22          Q.   -- not sure --

 23          A.   -- I think what I am sure about is that what

 24       people -- when they go into surgery, they need to expect

 25       that there's a possibility that there will be a


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  1       complication.       And some of those complications will

  2       require an additional surgical experience.         That's my

  3       point.

  4          Q.    Understood.    But whether that surgery

  5       complication rate is 30 percent or 20 percent or some

  6       other percent, sitting here today you can't tell me, can

  7       you?

  8          A.    I don't think you're really understanding what

  9       I'm saying to you.

 10          Q.    Let me -- I think my question was --

 11          A.    I was --

 12          Q.    -- relatively straightforward.     I'm just asking

 13       you:    Based on the conversation we just had, sitting

 14       here today you can't tell me if the complication rate

 15       for genital surgery is 30 percent or not, can you?

 16          A.    What I think you don't understand and why I can't

 17       answer your question is that surgeons have different

 18       complication rates.      And surgical teams don't

 19       necessarily public all of their complications.

 20                And so we're relying upon published complication

 21       rates from a number of studies.      And I'm trying to

 22       create a summary of -- I can't tell you what the Boston

 23       General Hospital complication rate is versus your

 24       Connecticut General Hospital versus Cornell Hospital.

 25       These are likely to be different because the surgical




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  1       techniques and the surgeons are different.

  2               All I'm looking for in this figure is to say it's

  3       from the literature, and a patient should not expect to

  4       have any kind of surgery -- especially a complicated

  5       genital reconstructive surgery -- without complications.

  6          Q.   Okay.    Dr. Levine, based what you know today --

  7       I'll stop the share for a second -- is Ms. Clarke

  8       an appropriate candidate for transfer to a women's

  9       prison?

 10          A.   What was the first part of the sentence?     Based

 11       on what?

 12          Q.   Based on what you know today is Ms. Clarke an

 13       appropriate candidate for transfer to a women's prison?

 14          A.   Based on what I know today is my memory of

 15       Ms. Clarke and I -- when I interviewed her in May of

 16       2020.

 17               I've already testified in answer to that question

 18       that I am not in the position of making a recommendation

 19       today about anything about her treatment without

 20       personally seeing her and -- for an extended period of

 21       time to help her and the prison system make up their

 22       mind whether she should be transferred.

 23          Q.   All right.

 24          A.   I'm trying to be honest here, and humble here,

 25       and not presumptuous that my knowledge based on an




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  1       interview that I did 23 -- 21 months ago gives me the

  2       right to make treatment recommendations.

  3          Q.   Okay.     Understood.

  4               I'd like to move on to discuss part four of your

  5       report.   I'll share my screen so you can see it; okay.

  6               So this starts at the bottom of Page 17 and goes

  7       through Page 18 and a little bit into Page 19 of your

  8       report; okay.      Oh, sorry, went too far.

  9               Okay.     So at the top of Page 18 you write:

 10       However, even professionals who believe that GCS

 11       improves or cures gender dysphoria now acknowledge

 12       uncertainty about its long-term mental health outcomes.

 13               Did I read that sentence correctly?

 14          A.   A plus.

 15          Q.   Then you cite several studies and sources in the

 16       remainder of this paragraph; right?

 17          A.   Yes.

 18          Q.   So these studies, I take it, are meant to

 19       illustrate uncertainty about genital surgery's long-term

 20       mental health outcomes; is that correct?

 21          A.   Yes.

 22          Q.   Okay.     Let's take a look at the studies.

 23               So the first one comes in this sentence:        The

 24       well-known 2011 study by Dhejne, D-H-E-J-E-N-E, et al,

 25       demonstrated a 19 times higher completed suicide rate




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  1       after SRS compared to the Swedish general population

  2       along with higher mortality from cardiovascular disease

  3       and cancer.

  4               Did I read that correctly?

  5          A.   Yes.

  6          Q.   Okay.    And this study -- the study that you

  7       referenced is the one titled Long-Term Follow-Up of

  8       Transsexual Persons Undergoing Sex Reassignment Surgery;

  9       Cohort Study in Sweden.

 10               Is that right?

 11          A.   That's right.

 12          Q.   We're talking about the same study?

 13               Okay.    So this study followed 324 transgender

 14       people in Sweden; right?

 15          A.   Yes.

 16          Q.   And those 324 transgender people in Sweden were

 17       born between 1973 and 2003; is that right?

 18          A.   I couldn't -- I trust you.

 19          Q.   Okay.    Do you have any reason to dispute that

 20       representation?

 21          A.   No.     I trust you're reading it accurately.

 22          Q.   Okay.    And this study compared transgender people

 23       who had gender-affirming surgery or gender-conforming

 24       surgery with transgender people -- I'm sorry -- with the

 25       general population.




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  1               Let me strike that and say that cleanly.

  2               This study compared transgender people who had

  3       gender-affirming surgery or gender-conforming surgery

  4       with the Swedish general population; is that accurate?

  5          A.   Yes.    It compared it with both female and male

  6       control groups born in the same month in the same year.

  7       Yes, that -- that was the control group.

  8               It did not include the people with gender

  9       dysphoria who did not have sex reassignment surgery.

 10               And just for your emphasis, those -- the number

 11       that you quoted is all of the people who had sex

 12       reassignment surgery in Sweden during those 30-year

 13       period.    Those are not the year of the birth, those are

 14       the year of the surgery.

 15          Q.   Yes.

 16          A.   All right.

 17          Q.   So as you just said, Dr. Levine, this study does

 18       compare people who had gender-affirming surgery with

 19       people who did not have gender-affirming surgery;

 20       correct?

 21          A.   That's right.

 22          Q.   Okay.    And, therefore, this article does not say

 23       that surgery is ineffective, does it?

 24          A.   The surgery is -- this study -- Actually, the

 25       authors of the study felt that the study improved




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  1       gender -- genital dysphoria.

  2                It just -- it's about the other psychiatric

  3       complications and the medical complications in the life

  4       story of these people as seen during the 30 years of

  5       observation.

  6          Q.    Right.   To be clear, Dr. Levine, this study does

  7       not say, for example, that people who receive surgery

  8       become more suicidal, does it?

  9          A.    No, no, that's not right.    It says that they are

 10       more suicidal -- dramatically more suicidal, profoundly

 11       more suicidal than both male and females in the general

 12       Swedish population.    And --

 13          Q.    Right.   Again --

 14          A.    -- when they say that there's a 19 times

 15       increased suicide rate -- that's a really high number,

 16       you see -- that's after sex reassignment surgery.

 17       That's after the final intervention that is thought to

 18       cure gender dysphoria.       And what we're having here is

 19       suicide and suicide attempts.

 20                So let's be very clear about what that 19.1

 21       means.    It does not mean -- it doesn't say that -- that

 22       it doesn't prevent suicide; it says these people commit

 23       suicide after the best treatment for transgenderism.

 24                That is in those days they thought that was the

 25       best treatment, surgery.




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  1          Q.   Okay.    Dr. Levine, I'll backup one step.

  2               So once again, this study does not compare

  3       transgender people who had surgery with transgender

  4       people who didn't have surgery, does it?

  5          A.   It does not do that.    That's one of the grave

  6       deficiencies of this study.     It's one of the reasons for

  7       skepticism about this whole -- whole transgender

  8       industry, yeah.

  9          Q.   Okay.    The study instead compares transgender

 10       people who had surgery with the general population;

 11       correct?

 12          A.   Right.

 13          Q.   And as such, it says nothing about whether

 14       surgery is effective or not; correct?

 15               MR. BELFORTI:    Objection as to the form.

 16               Answer if you can, Dr. Levine.

 17       BY MS. BILDNER:

 18          Q.   You can answer, Dr. Levine.

 19          A.   It is -- it demonstrates it's ineffective in

 20       creating the rest of one's life free of medical and

 21       psychiatric illness.

 22               It's demonstrating that it does not improve

 23       mental health to the point -- to the point that it

 24       prevents suicide.     It doesn't restore the suicide rate

 25       to the general population.




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  1               It means that there is no reason to say that

  2       genital surgery cures gender dysphoria.     That's what

  3       this study means.

  4          Q.   Dr. Levine, have you ever talked with Cecilia

  5       Dhejne -- I'm sorry, that's not how she pronounces her

  6       name -- about your interpretation of this study?

  7          A.   She thinks -- I've read what she's written about

  8       what I've said about her study.    She --

  9          Q.   And what --

 10          A.   -- she has written that I am against all sex

 11       reassignment surgery, which is not correct.     It is not

 12       an accurate characterization of me that I'm against all

 13       sex reassignment surgery.

 14               I have said that -- that this study is the best

 15       study that existed to date from -- in 2011.     And this

 16       study demonstrated based on her words that people after

 17       sex reassignment surgery need lifelong psychiatric care.

 18               So there is no way of saying that this study

 19       demonstrates that sex reassignment surgery -- those were

 20       the terms in those days -- that cures mental problems.

 21       In fact, it may, in fact, cure -- And here's what

 22       Cecilia would say, I think -- that it seems to help with

 23       genital dysphoria; but it doesn't take care of gender

 24       dysphoria, per se.

 25               There are many other forces that intervene in a




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  1       person's life that may cause them to continue to have

  2       psychiatric troubles, including -- including gender

  3       dysphoria.

  4                You need to understand that -- that suicide is a

  5       -- is a dreaded complication of medical intervention,

  6       because medical intervention is undertaken to help --

  7       from the patient's point of view is to help me from my

  8       depression.     I'm so depressed.   I'm so anxious.   I'm so

  9       impaired.    I hate my body.   Fix my body and I'll be

 10       happy.

 11                And then if you have an increased rate of

 12       suicide, it must indicate -- at least the hypothesis is

 13       that this is not a cure for gender dysphoria for some

 14       people.     And that's a lot of people.

 15          Q.    Dr. Levine, my question to you is whether you'd

 16       ever talked to the author of this study about your

 17       interpretation?

 18                So I'll take it that your answer is no, you have

 19       not talked to --

 20          A.    I have --

 21          Q.    -- the author of this study --

 22          A.    -- I have --

 23          Q.    -- about your interpretation?

 24          A.    -- I have never talked to her about our

 25       disagreements about the interpretation of her study.




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  1                I know we've had some kind of dialogue through

  2       publications, but not in person.

  3          Q.    So you agree that Dr. Dhejne vigorously disputes

  4       your interpretation of this study; correct?

  5          A.    I don't exactly know what she disagrees with me

  6       about.

  7                I think what she disagrees with me about is that

  8       this might be a -- this might be a scientific basis to

  9       hesitate to perform sex reassignment surgery.     That's

 10       what I think she disagrees with.

 11                She believes that despite what her findings are,

 12       that sex reassignment surgery is a very good thing.        In

 13       fact, she runs a clinic for this in Sweden.      She's the

 14       head of a clinic there.

 15                And, so -- so she may disagree.   I don't know

 16       exactly what she disagrees with me about other than what

 17       I just said.

 18                But I don't really think that because she did the

 19       study that her interpretation of the study is the last

 20       word, you see.

 21                Many of us, when we do a study, we get so

 22       invested in the study that we need an objective

 23       appraisal of some other people to tell us what the study

 24       means.    So...

 25          Q.    I'm going to go ahead and bring up the study.       So




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  1       I'll share my screen; okay.        Maybe we can shed some

  2       light on the source of your disagreement.

  3               This is the study we're talking about; right?

  4          A.   Yes.

  5          Q.   Okay.    If I go down to page --

  6               MR. BELFORTI:    Elana, are you going to have

  7          this marked?

  8               MS. BILDNER:    Oh, yes.    I'm sorry.   I should

  9          mark this.     This will be marked as Exhibit 4, I

 10          believe.

 11               (Plaintiff's Exhibit 4, 2011 Dhejne study,

 12          was marked for identification.)

 13       BY MS. BILDNER:

 14          Q.   And, Dr. Levine, this is the study that we are --

 15       we were just discussing, the 2011 Dhejne study.

 16               If you go down to the bottom of Page 2, on the

 17       left-hand column, the last sentence there -- or the last

 18       two sentences there are:     This study design sheds new

 19       light on transsexual persons' health after sex

 20       reassignment -- period.     It does not, however, address

 21       whether sex reassignment is an effective treatment or

 22       not -- period.

 23               Did I read this correctly?

 24          A.   A plus.

 25          Q.   Okay.     So I take it then your disagreement is




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  1       that Dr. Dhejne has said in her study that this does not

  2       address whether sex reassignment is an effective

  3       treatment or not and you believe otherwise; is that

  4       correct?

  5          A.   Notice that she didn't say it is effective for

  6       gender dysphoria, or genital dysphoria, or whether it

  7       was effective in improving mental health.    She just let

  8       the statement be:   Address whether sex reassignment is

  9       an effective treatment or not.

 10               That distinction that I am drawing you must

 11       consider very carefully.

 12               Is this an effective treatment for gender

 13       dysphoria in terms of gender dysphoria -- genital

 14       dysphoria?

 15               And if you follow people who've had this surgery,

 16       they will say that they feel much better now that they

 17       don't have -- we'll just talk about a penis, right -- if

 18       we follow them over time about their gender dysphoria,

 19       you see, and not focus on their genital dysphoria; we

 20       might get a different answer.

 21               And if you look at the data she has presented in

 22       this study about general mental health and the data that

 23       other people have said about the number of people on

 24       disability, for example, it looks like it's a very nice

 25       glib statement that you're quoting here.    But it doesn't




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  1       really address the issue that is at hand.

  2               Does sex reassignment surgery improve people's

  3       mental health?    Is that the same as making them happy,

  4       you see, that they had their surgery?      Or does mental

  5       health have a broader definition in terms of how we

  6       define mental health?

  7               Now, she presented suicide attempts, you know,

  8       and treatments for depression, and actual suicide

  9       events.    Those are indications of mental health and

 10       increase -- in some complicated way increase in the risk

 11       of automobile accidents and substance abuse and

 12       cardiovascular disease are also sometimes indications of

 13       mental health.

 14               So she is drawing attention to the fact that

 15       these people are needy people even after sex

 16       reassignment surgery.    But she insists that genital

 17       surgery is effective.

 18               But you'll notice she doesn't define it.

 19               So we disagree about this issue.    This word

 20       "effective" needs to be expanded.      What's it effective

 21       for?    What's it not effective for?

 22          Q.   Dr. Levine, again my question was more narrow.

 23       And I think your disagreement with her is possibly more

 24       narrow.

 25               When it comes to this paper, Dr. Dhejne says this




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  1       paper -- the study does not address whether surgery is

  2       effective.      Correct?   That's what she says?

  3               I'm sorry, Is that what she says here?

  4          A.   It does not, however, address whether it's

  5       effective.      But --

  6          Q.   And you think --

  7          A.   -- of course --

  8          Q.   -- that it does; correct?

  9          A.   I think we need to read the whole study before --

 10          Q.   Okay.    Well, in the interest of time I'm going to

 11       move on to the next study that you cite.

 12               And I'll go back to your report so you can see

 13       that; okay.

 14               So the sentence begins:      A more recent review of

 15       suicide among the contemporary Swedish population found

 16       the completed suicide rate to be 3.5 times higher than

 17       controls.

 18               Do you see that sentence?

 19          A.   Yes.

 20          Q.   Okay.    And you're referring to an -- I guess, the

 21       national Swedish database from a dataset from twenty --

 22       from June 2020; is that correct?

 23          A.   That sounds right.

 24          Q.   Okay.    I have this paper in Swedish.     But I can't

 25       find it in English.




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  1               Do you have this paper in English?

  2          A.   I do.

  3          Q.   Okay.    Well, I'd love to see a copy.

  4               Once again, based on my Swedish translation

  5       skills, is it fair to say that this dataset does not

  6       compare transgender people who had surgery with

  7       transgender people who did not have surgery?

  8          A.   That's right.    It's comparing it with the Swedish

  9       population.

 10          Q.   Okay.    The next study you cite is a 2019 study in

 11       the American Journal of Psychiatry by Bränström and

 12       Pachankis.

 13               Do you see that referenced here?

 14          A.   Yes.

 15          Q.   Okay.    Actually, I'm not sure -- are you citing

 16       the correction here or are you also citing the

 17       underlying study?

 18          A.   Well, they're a package.

 19          Q.   Okay.    And the study is titled, Reduction in

 20       Mental Health Treatment Utilization Among Transgender

 21       Individuals After Gender-Affirming Surgeries:     A Total

 22       Population Study.

 23               Is that right?

 24          A.   Yes.

 25          Q.   And I think we said that study came out in 2019;




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  1       correct?

  2          A.   It was published online in 2019.      It was

  3       published in print of August 2020.

  4          Q.   Okay.    And the correction -- Well, I'm sorry, you

  5       say this is a retraction; is that right?

  6          A.   It was a response to the reviewer, and it -- it

  7       -- we can argue about whether -- what the word

  8       "retraction" means.

  9               The authors were asked to respond to the seven

 10       letters to the editor and the two separate statistical

 11       analysis or reanalysis of their data, and they wrote a

 12       -- they wrote a subsequent article modifying their

 13       conclusions and recommending more research, and realized

 14       that their major conclusion was not justified on the

 15       basis of their data.

 16          Q.   Okay.    So let's take a look at --

 17          A.   I call --

 18          Q.   -- that correction.

 19          A.   -- I call that a retraction.

 20          Q.   Sure.    And the authors called it a correction,

 21       didn't they?

 22          A.   Yeah.    What's in a word?

 23          Q.   Let's take a look at the correction.

 24               MS. BILDNER:    Okay, I'd like to mark this --

 25          Are we up to 5 now?




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  1               THE REPORTER:    Yes.

  2               MS. BILDNER:    Okay, so we'll mark this

  3          Exhibit 5.

  4               (Plaintiff's Exhibit 5, Correction to

  5          Bränström and Pachankis was marked for

  6          identification.)

  7       BY MS. BILDNER:

  8          Q.   This is a correction to Bränström and Pachankis.

  9               Do you see this on your screen, Dr. Levine?

 10          A.   I do.

 11          Q.   Okay.    So let's look at this correction.

 12               At the bottom of the page it says:    Given that

 13       the study used neither a perspective cohort design nor a

 14       randomized controlled trial design, the conclusion that

 15       the longitudinal association between gender-affirming

 16       surgery and lower use the mental health treatment lends

 17       support to the decision to provide gender-affirming

 18       surgeries to transgender individuals who seek them is

 19       too strong.

 20               Is that correct?    Did I read that correctly?

 21          A.   Yes.

 22          Q.   Okay.    Now, once again, Dr. Levine, this study

 23       did not use a randomized controlled design, did it?

 24          A.   What is your -- No, it didn't.

 25          Q.   It did not.     Meaning it did not compare


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  1       transgender people who had surgery with transgender

  2       people who did not have surgery, did it?

  3          A.   That's what that means, yes.

  4          Q.   Okay.    Let's take a look at the next study you

  5       cite -- which I don't think is a study at all -- it's

  6       the Medicare decision letter.

  7               Back at your report, you say:   In 2016 Medicare

  8       undertook the most sophisticated review of the existing

  9       research literature on results of SRS and concluded that

 10       the data were inconsistent.

 11               Do you see that?

 12          A.   Yes.

 13          Q.   And you continue:   They decided not cover SRS for

 14       the nation but rather to consider coverage on a

 15       case-by-case basis.

 16               Is that right?

 17          A.   Yes.

 18          Q.   So you would agree with me that as with your

 19       previous sources, Medicare did not compare transgender

 20       people who had surgery to transgender people who did not

 21       have surgery, did it?

 22          A.   Ms. Bildner, you are going in a direction to

 23       establish that there is no randomized controlled study

 24       available, which is correct.

 25               This is the problem.    And the solution for the




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  1       problem is to have a follow-up study of everyone who has

  2       had sex reassignment surgery in a particular surgical

  3       setting.

  4              We know the limitations of -- We know the

  5       difficulties in creating a randomized controlled

  6       surgical study for genital surgery.    It's a methodologic

  7       problem that no one has yet agreed on how to solve.

  8              We all recognize that this is the necessary type

  9       of study or series of studies that would help us answer

 10       the question whether patients are benefitted from

 11       genital surgery in various predefined ways.    We don't

 12       have that information.

 13              What you just had me establish, you know, in

 14       looking at the correction, that it's nonrandomized; it's

 15       not -- it's -- it means it -- it only means that the

 16       field does not have this kind of information.    And

 17       therefore, we don't know the answer to the question.

 18              My point and the Medicare's point -- because

 19       Medicare only looked at the studies that were in

 20       existence until that time, you see.    None of those

 21       studies are randomized controlled studies.    And every

 22       one of those studies had very grave methodologic

 23       limitations from a scientific point of view.

 24              So the point is that we are not sure whether sex

 25       reassignment surgery benefits people in the long run,




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  1       and to what extent it benefits, and to what extent it

  2       may harm.

  3              This is what I've been saying to you in -- in my

  4       inadequately-stated reports.

  5              Of course you are right, there is no randomized

  6       controlled study available.

  7              The idea that -- in the 2011 Swedish study that

  8       every person who had sex reassignment surgery we had

  9       data on was an -- it was an amazing advance.

 10              And if -- if people said that this does not prove

 11       that it's effective or it doesn't prove it's

 12       ineffective, that's okay.

 13              What I'm saying, it's uncertain.    All my report

 14       is saying is the body of medical and surgical literature

 15       -- despite what people are busy advocating for sex

 16       reassignment surgery for prisoners and other people, you

 17       see -- the science does not know -- we simply do not

 18       know whether we're -- to what extent we're harming --

 19       what percentage of people we're ultimately harming, what

 20       percentage of people we are ultimately helping, and in

 21       what way we're helping, you see.

 22              Now, we do know that they die younger from

 23       various causes, including suicide.    That should give all

 24       of us around the table today some cause, some reason to

 25       pause, and to be respectful of what is not known.




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  1               And what is not known is whether sex reassignment

  2       surgery, in fact, improves people.    And if it improves

  3       some people, what are their characteristics?     And if it

  4       harms some people, what are their characteristics?

  5       These are simply unknown.   And that is what I've been

  6       trying to say in this report.

  7               But I recognize listening to you I haven't said

  8       it clearly enough so that everyone understands my

  9       position.   My position is it's uncertain.

 10          Q.   Dr. Levine, you've actually suggested a possible

 11       solution to the lack of randomized controlled studies

 12       for genital surgery, haven't you?

 13          A.   Yes, I have.

 14          Q.   You've suggested that we should conduct a

 15       randomized controlled study of people in prison and find

 16       out from that whether surgery is effective; is that

 17       correct?

 18          A.   No, you're not correct.   What I -- what I have

 19       said are two things that you may -- I'll just tell you

 20       two things that I have said.

 21               One is if people are going to have surgery --

 22       genital surgery, they ought to have very careful

 23       preoperative evaluation and their mental health should

 24       be measured.    And then they should have follow-up at

 25       designated intervals for a number of years -- perhaps




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  1       ten years -- with predetermined ways of evaluating their

  2       current mental health.

  3              And in other words, we can't do randomized

  4       controlled studies.     So what we should do is have

  5       careful follow-up studies of everyone who we deem to be

  6       an appropriate candidate from clinical judgment for sex

  7       reassignment surgery.

  8              So that's one thing I have suggested, follow-up

  9       of everybody.    And if you can't follow-up everybody,

 10       follow-up 90 percent of people because some people will

 11       be lost to follow-up in prospective studies.

 12              The second thing I've said about prisoners is

 13       that many of these prisoners who request sex

 14       reassignment surgery are prisoners for life.     And that

 15       provides us for a chance to have -- to -- when clinical

 16       judgment is made that this prisoner should have sex

 17       reassignment -- could have sex reassignment surgery and

 18       they're going to be in prison for the rest of their

 19       life, we have an opportunity to study what happens to

 20       those people.

 21              But it's an experiment to give a -- a prisoner

 22       sex reassignment surgery.    We're not supposed to

 23       experiment with prisoners.     I think that's against the

 24       federal law.

 25              But there is a natural clinical experience for a




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  1       life -- a person for life in prison.    So if we give them

  2       sex reassignment surgery, we need not to let them just

  3       disappear in the general population.

  4              We need to study those people, monitor their

  5       adaptation, see what happens to them so that based upon

  6       a series of five or six or ten people in a particular

  7       prison or a particular group of people being studied in

  8       various states, we then can use that information to make

  9       decisions for the next group of prisoners who have not

 10       had sex reassignment surgery who then want sex

 11       reassignment surgery, you see.

 12              I'm saying, let's use the opportunity we have and

 13       let's see what happens.    Let's not let this be a typical

 14       American phenomenon where we do sex reassignment surgery

 15       and the person disappears and we never see them again.

 16       We never know what happens to them, whether they live

 17       happily ever after, whether they're productive, whether

 18       they're disabled, whether they suicide, or whether they

 19       murder.    I don't know, you see.

 20              In Sweden -- in the Scandinavian countries they

 21       have follow-up on everybody; they have data.    In America

 22       we have no data.

 23              Prisons for life -- prisoners give us data.

 24       That's what you're quoting, I think.    That's what I

 25       believe.   That's what I have said.




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  1          Q.   Yes.     I'm referencing your article and

  2       reflections on the legal battles over prisoners with

  3       gender dysphoria.      You wrote that in 2016?

  4          A.   I'm glad you read it.        Thank you.   Yes.

  5          Q.   And in that article you suggest that it would be

  6       scientifically preferable to select prisoners for SRS by

  7       an agreed-upon methodology perhaps randomized to SRS and

  8       no SRS to ensure that each operated-upon person's life

  9       course is carefully documented.

 10               Is that what you were referring to?

 11          A.   Yes.     And that's a very nice summary.         Thank you.

 12          Q.   Okay.     Let's go back to the last source you cite

 13       -- sorry, I need to open your report again.

 14               Okay, so we're just going to let -- I've gone

 15       through -- we've gone through the 2011 study.            We've

 16       gone through the Swedish dataset from 2020.          We've gone

 17       through the 2019 study correction, the 2016 Medicare

 18       letter.

 19               The last source you cite here is in the last

 20       sentence.      Do you see that?

 21          A.   I'm sorry, would you --

 22          Q.   I'll read it aloud.

 23          A.   Yeah.

 24          Q.   Yeah.     In the most recent -- the last sentence of

 25       the paragraph on Page 18:         In the most recent study




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  1       among US Veterans, transgender patients ages 18 to 39

  2       had a risk of suicide death more than three times that

  3       of their cisgender peers, while the transgender patients

  4       65 years and older had a risk of suicide death more than

  5       nine times that of their cisgender peers.

  6               Did I read that correctly?

  7          A.   You still get a good grade.

  8          Q.   So this study is the Boyer, et al, 2021 study

  9       entitled:   Suicide, Homicide, and All-Cause Mortality

 10       Among Transgender and Cisgender Patients in the Veterans

 11       Health Administration.

 12               Is that right?

 13          A.   Yeah.

 14          Q.   Okay.    And this study -- Well, I can open it up.

 15       How about that.

 16               MS. BILDNER:     Okay.   I'd like to mark this

 17          as Exhibit 6.

 18               (Plaintiff's Exhibit 6, Suicide, Homicide,

 19          and All-Cause Mortality Among Transgender and

 20          Cisgender Patients in the Veterans Health

 21          Administration article was marked for

 22          identification.)

 23       BY MS. BILDNER:

 24          Q.   This is the study we were just discussing

 25       Dr. Levine; is that right?




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  1          A.   I think so.

  2          Q.   By Taylor Boyer and others?

  3          A.   Yes.

  4          Q.   Okay.     And so this study looked at VHA electronic

  5       health records from October 1st of '99 to December 31st

  6       of 2016; is that right?

  7          A.   That's what it says, yes.

  8          Q.   And it looked at the records of transgender

  9       patients and cisgender patients; is that right?

 10          A.   Uh-huh.

 11          Q.   32,441 of them altogether; is that correct?

 12          A.   Yes.

 13          Q.   And this study did not separate the transgender

 14       population by treated or untreated, did it?

 15          A.   I don't think so.

 16          Q.   All right.     And some of the --

 17          A.   You know, that depends on what you mean by

 18       "treated."

 19               You see, if it's in the VA system -- I think I'm

 20       really asking you, do you mean surgically treated or not

 21       surgically treated?      Because they've been treated in

 22       some other way, yeah.

 23          Q.   Sure.     This study does not separate the

 24       transgender population into surgically treated and

 25       nonsurgically treated; correct?




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  1          A.   Right.

  2          Q.   So some of the transgender people in this study

  3       may have had surgery while others may not have; right?

  4          A.   Right.

  5          Q.   And once again, Dr. Levine, this study does not

  6       compare transgender people with surgery to transgender

  7       people without surgery; correct?

  8          A.   I'm hesitating to answer this because you're

  9       being repetitive.

 10               I've already made the point that if you're

 11       pointing this out as a deficiency of the study, all of

 12       these -- all studies have -- there is no study that

 13       meets the criteria that you want, you see.      So --

 14          Q.   Okay.    So --

 15          A.   -- I mean, you can quote any study you want.       You

 16       could ask me the same question.      And the answer will

 17       always be the same:      It doesn't have the right

 18       comparison to -- to get a stronger view about the

 19       conclusion.

 20               Because really what you're asking about is, is

 21       there harm to not -- is the harm of not treating greater

 22       than the harm of treating?      And the answer is:   We don't

 23       know.

 24          Q.   Right.    This study says nothing about that either

 25       way; correct?




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  1          A.   This study says what I said it says.     It says

  2       that if you have a diagnosis of transgenderism in the

  3       electronic medical records of a huge system and -- and

  4       they record the death by suicide, they will record more

  5       suicide in young people and older people who have this

  6       diagnosis.     That's what --

  7          Q.   Regardless of surgery --

  8               THE REPORTER:   I'm sorry, I didn't that.

  9       BY MS. BILDNER:

 10          Q.   The question was:   Regardless of surgery;

 11       correct?

 12          A.   Yes.   It's very well-known even -- it's very

 13       well-known throughout the general population from

 14       teenagers on there's much more suicidal preoccupation in

 15       trans human -- trans identified human beings than there

 16       are in cisgender human beings.

 17               And there's some indication that there is

 18       actually more suicidal ideation in trans individuals

 19       than in homosexual individuals.    But the data about that

 20       is not clear because there's a lot of suicidal ideation

 21       in the coming-out process in gay and lesbian people as

 22       well.

 23               So I think you've established very clearly that

 24       there's the absence of the kind of study that you would

 25       like to have in medical literature.    And I actually




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  1       agree with you.      I would like to see that study as well.

  2          Q.    Okay.    I'm going to go back to your report,

  3       Dr. Levine.      So back to Exhibit 3.

  4                Okay.    I'll share my screen in a moment.     I'm

  5       still on Page 18 of your report of Exhibit 3.         I'm

  6       looking at the middle paragraph of this page.         There is

  7       a sentence that states:      Veronica-May Clarke is an

  8       example of the inherent instability and changeability of

  9       various aspects of her identity, religious, vocational,

 10       marital, orientation, and gender identity.

 11                Do you see that?

 12          A.    Yes.

 13          Q.    Okay.    And I assume I read that correctly since

 14       you didn't correct me.

 15                What do you mean by that statement, Dr. Levine?

 16          A.    I'm always taken a little aback by that question.

 17       I try very much to be very clear about what I write.

 18                During the course of one's life -- a life history

 19       perspective, this person has had many more changes in

 20       things that we call identity than the average human

 21       being.     She's had religious identity changes.      She's had

 22       vocational changes.      She's had marital relational

 23       change -- she's had relational changes including marital

 24       changes.    She's a very -- she was a very unstable

 25       husband.    She's had orientation changes, you see.




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  1               And now she's had a solidification of her gender

  2       identity, which was not as clearly established until she

  3       was in prison for many years.

  4               So I'm just noticing that this personality --

  5       this human being -- has demonstrated a little more

  6       instability or a little more changeability in dimensions

  7       of her -- her identity -- and this is -- there are many

  8       aspects of identity, and I'm only focusing on five of

  9       them -- than the average human being that we recognize.

 10               And she's even had more -- she has had -- she's

 11       inherently changeable.     She has demonstrated a great

 12       changeability in her life, more so than if you have

 13       children that you would want your children to have.

 14          Q.   You said that her gender identity solidified.      Is

 15       that the word that you used?

 16          A.   Yes.    I could have said consolidated.   She's

 17       consolidated.     She has settled upon, you know, in the

 18       last seven, eight years a gender identity that we call a

 19       trans identity.

 20          Q.   So am I correct, Dr. Levine, that by religious

 21       you're referring to Ms. Clarke's interest in other

 22       religions; is that right?

 23          A.   Yes.    I am referring to the things she's checked

 24       on her various, you know, forms she's filled out over

 25       the years.




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  1          Q.   Vocational refers to the fact that she became an

  2       electrician, or something else?

  3          A.   It refers to the sum of things that she did

  4       pursuing life.

  5               She became -- she became an electrician.      That

  6       was wonderful.    That was wonderful that she became an

  7       electrician.    It was finally a stable trade that she

  8       could have -- were it not for her tragedies, she could

  9       have had a lifelong stability as an electrician if she

 10       got along with people.

 11               But apparently as long as she was working as an

 12       electrician, she was doing pretty well.

 13          Q.   And the term marital refers to the fact that

 14       Ms. Clarke was married and then divorced; is that right?

 15          A.   It was -- it refers to her relationships with

 16       other people, her intimate relationships with other

 17       people.   The marriage is just the most dramatic and

 18       horrible side of her life history with relationships.

 19          Q.   So the marital refers to the fact that she had

 20       relationships with different people; is that correct?

 21          A.   That she had -- she had heterosexual

 22       relationships.    She had homosexual relationships.     She

 23       was violent in every one of those relationships,

 24       including her marriage -- particularly her marriage, of

 25       course.




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  1             Q.   So the use of the word marital here encompasses

  2       something related to violence?

  3             A.   I should have used the word relational.    And I

  4       should have then put in parenthesis, including marriage.

  5                  I wasn't referring here to her violence; I was

  6       referring to the changeability over time of this person.

  7       That's all I'm referring to.

  8             Q.   Okay.    And orientation refers to the fact that

  9       Ms. Clarke is bisexual; is that correct?

 10             A.   No.     It refers to the fact that Ms. Clarke at

 11       various times defined herself in different ways.        We may

 12       objectively look at her life and say she was bisexual.

 13       But at any given time she might not have said that.

 14                  You see, sexual identity is a series of

 15       self-labels.        We from the outside label people's sexual

 16       identity based on what we know about them.

 17                  But one can change one's identity -- one can

 18       change one's sense of one's orientation -- and commonly

 19       do.    People do change their sense of self in terms of

 20       that orientation component of sexual identity.

 21                  So her concept of herself has changed.

 22                  Now, if you see her at any time and ask her about

 23       that, you might get one answer or another.        But in

 24       retrospect, she may have a -- she may have a

 25       retrospective view of her life history and that she




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  1       would say:    Well, I've always been trans, or I've always

  2       been bisexual.     But if you would have seen her at 13 or

  3       17 or 22, or 28; she might have told you a different

  4       thing.

  5                There is a whole idea of can anyone -- is anyone

  6       telling you truth when they tell you about their

  7       history, especially about these kind of very -- somewhat

  8       stigmatized behaviors.

  9          Q.    Ms. Clarke told you in your interview -- and I'm

 10       going to Page 11 here -- that -- and I assume this is a

 11       direct quote -- all my life I have been attracted to

 12       both sexes.

 13                Do you see that on the bottom of Page 11?

 14          A.    Yes -- no, I don't see it; but I'm trusting you

 15       -- yeah, I see it, yeah.

 16          Q.    And in fact, at various other points in your

 17       interview and in your records Ms. Clarke referred to

 18       herself as bisexual, didn't she?

 19          A.    I presume she is.

 20                But what I'm saying is that at any given time --

 21       like when I'm interviewing her -- she could say a thing

 22       like:    All my life I've been attracted to both sexes.

 23                But all of her life she didn't behave sexually

 24       with both sexes.    You know, when she was living with a

 25       gay man, she probably would have said she was gay.




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  1              And so in retrospect, in looking back over the

  2       course of her life she could say:    All my life I've been

  3       aware I've been attracted to both sexes.

  4              So orientation has two dimensions, which I think

  5       you're aware of, Ms. Bildner.   And that is there's an

  6       erotic dimension, which is what I think about what I'm

  7       attracted to; and then there's a behavioral dimension to

  8       orientation as to who -- which class of individuals do I

  9       have sex with.

 10              So one can have an incongruity between what is

 11       the erotic dimension of orientation and the behavioral

 12       dimension.

 13              So if she is accurate in saying that all of her

 14       life she's known herself to be a bisexual person, that

 15       may be true in terms of what she knows herself to be.

 16              But her behavior is a different story, you see.

 17       And all of her life she didn't represent herself to her

 18       parents or to her wife as bisexual, you see.

 19              But if she's only talking about her -- her erotic

 20       component, that is a private subjective component, the

 21       psychological component, she may or may not be accurate

 22       in what she told me.

 23              Now, even Dr. Brown notices that -- said in the

 24       end of his report that this is -- he's aware that people

 25       don't always tell us the truth, especially about




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  1       intimate matters about sexuality.

  2               So there are limitations to what I can tell.

  3       This is based on the person's self-report.     This person

  4       has behaviorally behaved with both sexes, not simply

  5       because that he's bisexual.

  6               It's just more complicated -- it's more nuanced

  7       than you're -- I think we're trying to make it out to be

  8       here.

  9          Q.   I'm trying to understand your comment,

 10       Dr. Levine, that -- about inherent instability.    So is

 11       it your opinion that someone who is attracted to and

 12       behaves with both sexes is inherently unstable?

 13          A.   It is my opinion that Veronica-May Clarke in

 14       general as a person has been inherently unstable in

 15       multiple dimensions.

 16               I am not imputing the reputation or the -- or the

 17       instability of everyone who is bisexual.    I'm talking

 18       about this particular person.    Please, let's confine

 19       ourselves to this.

 20          Q.   Okay.    And so it's not your opinion, Dr. Levine,

 21       that everyone who changes vocation is inherently

 22       unstable, I gather?

 23          A.   You gather correctly.

 24          Q.   It's not your opinion that everyone who changes

 25       religions is inherently unstable, is it?




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  1          A.   Religious...

  2               We're talking about a dimension of a self,

  3       religious feelings, vocational behavior -- vocational

  4       capacities and interests.   This is -- these are

  5       dimensions of the self.

  6               Everybody has some degree of evolution in their

  7       20's -- I have written about 27 dimensions of the self.

  8       So every dimension of the self has an evolutionary

  9       capacity.

 10               So I, of course, would never say -- if you would

 11       read what I have written about this, I would never imply

 12       what you're implying in your question; that I believe if

 13       someone changes their vocation or changes their

 14       religion, they are somehow inherently pervasively an

 15       unstable character.

 16               Nicholas -- now Veronica-May Clarke -- over the

 17       course of her 45 years has demonstrated sufficient

 18       evidence for me to say this is a person who has a

 19       certain degree for much of her life an inherent

 20       instability; an instability of control of herself, an

 21       instability of her interests, an instability of her

 22       behaviors, an instability of her integrity.     So...

 23          Q.   What about when it comes to gender identity,

 24       Dr. Levine?   Is it your opinion that someone who is

 25       transgender is inherently unstable?




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  1          A.   No.     It's possible to have a lifelong stability

  2       of a transgender identification.

  3          Q.   I'll stop sharing.

  4               Dr. Levine, you mentioned earlier that you have

  5       reviewed a report by a consultant to the Department of

  6       Correction that was written since you wrote this report;

  7       is that right?

  8          A.   I did mention that.

  9          Q.   Okay.    And that consultant's name is Dayne

 10       Bachmann; is that right?

 11          A.   I remember the last name, not the first, yeah.

 12          Q.   Okay.    So what do you understand about

 13       Mr. Bachmann's role at DOC?

 14          A.   I think he was a newly-hired social worker who --

 15       the only records I had were the basis of a one-hour

 16       interview with the patient.

 17               And he demonstrated a certainty that -- that the

 18       person's transgender -- his gender dysphoria would be

 19       helped immensely by having sex reassignment surgery.

 20          Q.   Okay.    I'm going to share my screen.

 21               Is this the report that you were just referring

 22       to, Dr. Levine?

 23          A.   Yes.

 24          Q.   Okay.

 25               MS. BILDNER:    I'd like to mark this as --




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  1          I'm sorry, are we on 6 or 7?

  2               THE REPORTER:   Exhibit 7.

  3               MS. BILDNER:    Thank you.   I'm always bad

  4          with numbers.

  5               Okay, I'd like to mark this as Exhibit 7.

  6               (Plaintiff's Exhibit 7, Standard Progress

  7          Note of Dayne Bachmann, was marked for

  8          identification.)

  9       BY MS. BILDNER:

 10          Q.   This document is titled, Standard Progress Note.

 11       And you understand this to be a progress note authored

 12       by Dayne Bachmann, Dr. Levine?

 13          A.   You know, the "progress note" confused me because

 14       progress notes usually are written in -- in the course

 15       of a longer-term psychotherapeutic relationship, you

 16       see.

 17               "Progress report" implies:     Well, I saw the

 18       person originally and this was their state; and now this

 19       is the progress that has been made.

 20               But the only information I got was one progress

 21       note, which seemed like an evaluation done for the

 22       purposes of deciding whether this is a candidate for sex

 23       reassignment surgery.

 24               So I don't know if this is a progress -- whether

 25       this is just a mislabel, Standard Progress Note; because




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  1       it says psychiatric diagnosis evaluation just above that

  2       note.   And so it sounded to me like this was a one-time

  3       thing; but it's labeled progress note.      So I was just a

  4       bit confused.

  5          Q.   Do you know Mr. Bachmann, Dr. Levine?

  6          A.   Oh, no.     No, I don't.

  7          Q.   Do you know anything about Mr. Bachmann?

  8          A.   Only what's on this paper.

  9          Q.   So you reviewed nothing about Mr. Bachmann other

 10       than this document titled, Standard Progress Note; is

 11       that correct?

 12          A.   That's correct.

 13          Q.   Okay.     So in the first paragraph of this note

 14       starting at the end of the second line it says:       As we

 15       have discussed in detail, this surgery is a fundamental

 16       need and vital to alleviating her gender dysphoria.

 17       This significant medical intervention is essential to

 18       her transition.      It will not only increase her external

 19       and internal sense of self, it will inevitably bolster

 20       her confidence and self-esteem.      For many trans

 21       identified individuals this is crucial to their

 22       well-being and quality of life.

 23               Then it says:     Ms. Clarke's expectations around

 24       this procedure are completely reasonable, realistic, and

 25       well-aligned with her needs.




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  1               What do you think of that, Dr. Levine?

  2          A.   I would say that Dayne Bachmann has made up -- I

  3       don't know his -- is it a Mr. or Ms. Bachmann; do you

  4       know?

  5          Q.   I believe mister.

  6          A.   Mister.   I would say that while he's very

  7       impressively certain, and I hope it's based on more than

  8       an hour's interview, and I hope that Mr. Bachmann is

  9       aware of the literature about the outcome studies.      And

 10       so I was a little shocked at the certainty.

 11               But I do realize that mental health professionals

 12       have different attitudes towards this -- these kind of

 13       treatments.   And many people -- Education happens in a

 14       kind of chain of trust that people above you teach you

 15       how -- what the ideal treatment for a condition is.

 16               And when people learn, for example, in graduate

 17       school what the treatment of depression is and gender

 18       dysphoria is, they're told what the ideal treatment is.

 19       That's what they bring to the clinical setting.      And so

 20       they perceive things based upon their knowledge and

 21       their beliefs.

 22               So I would say that Mr. Bachmann has a set of

 23       beliefs that sex reassignment surgery is a really

 24       helpful thing, that it helps almost anyone that they

 25       perceive to be gender dysphoric, and that...




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  1                  I would just say, wow, to this.       Wow about the

  2       certainty about this.

  3                  In a world that's filled with uncertainty it's

  4       very reassuring to see people who know the answers to

  5       unanswered questions.

  6                  So listen, I don't mean -- I'm not disrespectful

  7       of Mr. Bachmann's opinion.        After all, I haven't seen

  8       this patient for a very long time.        I don't know what

  9       Mr. Bachmann knows about his past.

 10                  And I can just tell you that in the treatment of

 11       transgenderism for many people, the only important thing

 12       is -- is whether or not the person has gender dysphoria

 13       because they believe the only treatments for it really

 14       are hormones and surgery.

 15                  And so I believe that Mr. Bachmann has given you

 16       his sincere opinion based upon his knowledge and based

 17       upon his experience of this patient.           I hope it's for

 18       more than one hour.        But based on this progress note, it

 19       is an opinion that was made after 60 minutes with the

 20       patient.

 21             Q.   Later on --

 22                  THE REPORTER:   I'm sorry.   You blocked out

 23             there.

 24                  MS. BILDNER:    Sorry about that.

 25       ///




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  1       BY MS. BILDNER:

  2          Q.   Later on in the third paragraph down Mr. Bachmann

  3       writes:   Ms. Clarke has met the WPATH standards of care

  4       criteria for surgery.   I have discussed risks, benefits,

  5       limitations, and alternatives of surgery with her and I

  6       feel she has as an excellent understanding.      I've

  7       assessed Ms. Clarke's readiness for surgery and I fully

  8       support her decision to move forward.

  9               What do you think of that, Dr. Levine?

 10          A.   I'm going to answer that question -- I'm really

 11       answering this question, but I have to -- I have to tell

 12       you something else.

 13               I am -- I haven't had a paper accepted for

 14       publication; it's in the process of being posted

 15       probably within the next two weeks on informed consent

 16       for individuals with transgender identities.

 17               And the paper -- I have several co-authors.     It's

 18       going to be in the Journal of Sex and Marital Therapy.

 19       And it is a discussion of informed consent and the

 20       processes that enable a person -- a doctor to actually

 21       satisfy the ethical responsibilities that he has/she has

 22       to make sure the person is informed.

 23               I contrast informed consent for gender identity

 24       disorder interventions with informed consent for

 25       appendectomies or surgical procedures.    Those things are




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  1       written perfunctory documentations that protect the

  2       doctor from lawsuit in case of complication.

  3              In informed consent processes for transgender

  4       people -- especially for surgery, what we're trying to

  5       do is not protect the institution or the doctor; we're

  6       trying to protect the patient so -- to make sure that

  7       they understand.

  8              If this person -- if this person, Mr. Bachmann,

  9       in one hour made the diagnosis, you see, and estimated

 10       within one hour that this person was fully informed and

 11       understood the alternatives and the risks and benefits;

 12       I would say that this qualified as an awfully efficient

 13       informed consent process.

 14              And the informed consent process may meet the

 15       standards of WPATH, because they don't really -- they

 16       just think the person needs to know what the dangers

 17       are, you see, and -- but they don't have a chance to

 18       discuss it.   They don't have a chance to sleep on it,

 19       you see.

 20              And so I would say that this was a rather

 21       efficient evaluation, not only of the diagnosis, not

 22       only of the person's readiness for surgery, but of the

 23       person's understanding of the possibilities of harms and

 24       the possibilities of benefits, and understands the

 25       scientific limitations of what we know about the harms




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  1       and the benefits.

  2               So I would say that -- that this was awfully

  3       efficient in making these conclusions.

  4               I wouldn't imagine that Mr. Bachmann is

  5       well-acquainted with the literature.     I think he's

  6       probably more well-acquainted with a paragraph in the --

  7       in WPATH, its Seventh edition of Standards of Care.

  8               And so I'm not disagreeing with Mr. Bachmann.

  9       I'm just not certain he has done enough homework to meet

 10       this conclusion.    But I believe he believes his

 11       conclusions.

 12               And listen, if he's the person who makes the

 13       decision in Connecticut in this prison, if he's -- if

 14       that's the guy that the policy has -- I mean, the people

 15       hired him for, we rest upon his decision; right?

 16               Whether it's a good decision or not a good

 17       decision, I'm saying we won't know until the surgery is

 18       done or the surgery is not done, you see.      And then we

 19       have the kind of follow-up that I outlined for you.

 20          Q.   Okay.

 21          A.   I hope that is a direct answer to your question.

 22          Q.   Well, I have hopefully good news for you,

 23       Dr. Levine.     I am almost done here.   I'd like to take a

 24       quick break now and maybe we can reconvene in ten

 25       minutes.




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  1               Is that okay with you, Dr. Levine, and Jamie as

  2       well?

  3          A.   Yes.

  4               MR. BELFORTI:   Good for us.       Thanks.

  5               MS. BILDNER:    Great.

  6               (Recess taken at 4:59 p.m.)

  7                                       ---

  8               (Back on the record at 5:03 p.m.)

  9                                       ---

 10               MS. BILDNER:    Okay.     We're back on the

 11          record.

 12               Thank you, Dr. Levine.        That concludes my

 13          questions for you today.

 14               And I will send the exhibits to you, Vicky,

 15          and to the AG's office as well.

 16               THE WITNESS:    Okay.

 17               MR. BELFORTI:   I have no questions.         Thank

 18          you.

 19               THE REPORTER:   Okay, thank you.

 20               Do you have a standing order or do you need

 21          to state your order on the record?

 22               MR. BELFORTI:   Yes, we'd just like an

 23          electronic copy.

 24               MS. BILDNER:    Same please, yes, just an

 25          e-tran would be great.




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  1              THE REPORTER:   Okay.     Thank you.

  2              (The deposition concluded at 5:05 p.m.)

  3                                  ---

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  1                         CERTIFICATE OF DEPONENT

  2

  3              I, STEPHEN B. LEVINE, M.D., do hereby certify the

  4       foregoing testimony given by me on March 9, 2022, is

  5       true and accurate to the best of my ability.

  6

  7

  8       DATE                          STEPHEN B. LEVINE, M.D.

  9

 10

 11       At                               in said county of

 12                            , this           day of

 13                           , 2022, personally appeared STEPHEN

 14       B. LEVINE, M.D., and he/she made oath to the truth of

 15       the foregoing answers by him/her subscribed.

 16

 17

 18

 19       Before me,                                     , Notary

 20       Public.

 21

 22

 23       My commission expires:

 24

 25


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  1                            CORRECTION SHEET

  2

  3       Please note any error(s) and/or corrections thereof on

  4       this sheet.   The rules require a reason for any change

  5       or correction.   This must be accomplished within 30 (30)

  6       days from date on Correction Sheet.

  7       RE: Case No. 3:19-cv-575-VLB, VERONICA-MAY CLARKE vs.
          ANGEL QUIROS, DR. GERALD VALETTA, RICHARD BUSH, and
  8       BARBARA KIMBLE-GOODMAN; Deposition of STEPHEN B. LEVINE,
          M.D. taken March 9, 2022:
  9
          PAGE   LINE   NOW READS   SHOULD READ   REASON FOR CHANGE
 10

 11

 12

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 14

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 24       DATE                            STEPHEN B. LEVINE, M.D.

 25


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  1                         CERTIFICATE OF REPORTER

  2              I, Victoria L. Germani, RPR, LSR, and Notary

  3       Public duly commissioned and qualified within and for

  4       the State of Connecticut; do hereby certify that

  5       pursuant to Notice there appeared before me remotely on

  6       March 9, 2022, at 9:34 a.m., the following named person,

  7       to wit: STEPHEN B. LEVINE, M.D., who was by me duly

  8       sworn remotely to testify to the truth and nothing but

  9       the truth; that he/she was thereupon carefully examined

 10       upon his/her oath; and his/her examination reduced to

 11       writing under my supervision; and that the deposition is

 12       a true record of the testimony given taken to the best

 13       of my ability.

 14              I further certify that I am neither attorney nor

 15       counsel for, nor related to nor employed by any of the

 16       parties to the action in which this deposition is taken;

 17       and further that I am not a relative or employee of any

 18       attorney or counsel employed by the parties hereto, or

 19       financially interested in the action.

 20              IN WITNESS THEREOF, I have hereunto set my hand

 21       this 14th day of March, 2022.

 22

 23

 24                        t.
                     Victoria
                          .
                             ~          ~
                              L. Germani,
                                   .
                                          .·
                                         • Notary Public
                    My Commission expires April 30, 2025
 25




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